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         Transcript of Vadim Lantukh
                  Thursday, July 14, 2022

                Lucasys Inc. v. Powerplan, Inc.




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                      Reference Number: 118713
Vadim Lantukh                                                                7/14/2022
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  1                       IN THE UNITED STATES DISTRICT COURT

  2                       FOR THE NORTHERN DISTRICT OF GEORGIA

  3                                        ATLANTA DIVISION

  4    LUCASYS, INC.,

  5          Plaintiff,

  6    V.                                  Civil Action File No.

  7    POWERPLAN, INC.,                    No. 1:20-cv-2987-AT

  8          Defendant.

  9    ______________________/

 10

 11                         DEPOSITION OF VADIM LANTUKH

 12                         DATE:    Thursday, July 14, 2022

 13                         TIME:    9:00 a.m. - 4:58 p.m.

 14                         LOCATION:      500 14th Street, Northwest.

 15                         Atlanta, Georgia         30318

 16                         REPORTED BY:       Tamika Burnette, RPR, CSR

 17                         No. 2870

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  1                           APPEARANCES

  2

  3         For the Plaintiff:

  4         ROBBINS ALLOY BELINFANTE LITTLEFIELD, LLC

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  9
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            Cleveland, Ohio 44114
 12         Stephen.fazio@squirepb.com
            (216) 479-8403
 13

 14    Also Present:

 15    Daniel Chang, Lucasys

 16

 17

 18

 19

 20

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 22

 23

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  3    WITNESS:               EXAMINATION:                          PAGE:

  4    VADIM LANTUKH          MS. FAZIO                                6

  5

  6                              EXHIBITS

  7                       (Exhibits are attached hereto.)

  8    EXHIBIT:                DESCRIPTION:                                  PAGE:

  9    EXHIBIT NO. 1           MUTUAL NON-DISCLOSURE AGREEMENT                 60

 10    EXHIBIT NO. 2           E-MAIL CHAIN                                    63

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 17    EXHIBIT NO. 9           LUCASYS FORECAST                              157

 18    EXHIBIT NO. 10          LUCASYS FORECAST                              162

 19    EXHIBIT NO. 11          CONFIDENTIAL ROUTING SLIP                     167

 20    EXHIBIT NO. 12          RFP RESPONSE AND CONTRACT PRICING 180

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  5    EXHIBIT NO. 19         AEP TAX FIXED ASSET SYSTEM            212

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  1                           PROCEEDINGS

  2                           ---oOo---

  3

  4                      THE VIDEOGRAPHER:        All right.    Good

  5    morning.    This begins Media Unit No. 1 of the

  6    video-recorded deposition of a Vadim Lantukh, taken in

  7    the matter of Lucasys, Inc., versus PowerPlan, Inc.

  8                      Today is Thursday, July 14, 2022, and our

  9    time now is 9:33 a.m. Eastern Standard Time.              This

 10    deposition is being conducted at Robbins Alloy

 11    Belinfante Littlefield in Atlanta, Georgia 30318.

 12                      My name is Duke Stephenson.          I'm the

 13    videographer, and our court reporter today is Tamika

 14    Burnette.     We both represent TrustPoint.One-Alderson.

 15                      Will counsel please introduce themselves,

 16    after which will the court reporter please swear in the

 17    witness?

 18                      MR. FAZIO:     Stephen Fazio of Squire Patton

 19    Boggs US LLP on behalf of defendant, PowerPlan.

 20                      MR. ALLOY:     Jason Alloy on behalf of the

 21    plaintiff.

 22                                 (Witness sworn.)

 23

 24

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  1                                 VADIM LANTUKH,

  2                      The witness herein, after having been first

  3                      duly sworn to tell the truth, the whole

  4                      truth, was examined and testified as

  5                      follows:

  6

  7                                 EXAMINATION

  8    BY MR. FAZIO:

  9          Q.   Good morning, sir.

 10          A.   Good morning.

 11          Q.   Could you state your name for the record,

 12    please?

 13          A.   Vadim Lantukh.

 14          Q.   Lantukh.

 15                      Sir, good morning.         I'm Steve Fazio.        We've

 16    met off the record.       We've met a couple times in the

 17    past.

 18                      Have you ever had your deposition taken

 19    before?

 20          A.   I have not.

 21          Q.   Okay.    We'll cover just a couple of ground

 22    rules then, so we're on the same page.              As you can see,

 23    we have a court reporter here.            The court reporter is

 24    going to write down everything that we say; all the

 25    questions I ask and all the answers you give.               Because

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  1    of that, and to keep her sane today, it's helpful if you

  2    wait until I'm done asking a question before you start

  3    answering, and I will do my best to wait until you're

  4    done answering before I start asking the next question.

  5                      Is that fair?

  6          A.   Yes.

  7          Q.   It's important that you answer all of my

  8    questions fully and completely today.

  9                      Do you understand that?

 10          A.   Yes.

 11          Q.   Okay.    And if you don't understand a question I

 12    ask, please feel free to ask me to clarify it.               If you

 13    answer a question that you don't understand, I and the

 14    jury will assume that you did, in fact, understand it.

 15                      Is that clear?

 16          A.   It is.

 17          Q.   Okay.    If you need a break at any time, just

 18    let me know.      The only thing I ask is that we don't take

 19    breaks while the question is pending.               And if possible,

 20    if you can give me a few minutes warning so we can

 21    finish up whatever we're working on.

 22          A.   Okay.

 23          Q.   Is that fair?

 24          A.   Yes.

 25          Q.   Did you do anything to prepare for today's

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  1    deposition?

  2          A.   I did.

  3          Q.   Okay.    What did you do to prepare for today's

  4    deposition?

  5          A.   I met with Robbins firm.

  6          Q.   And when did you meet with the Robbins firm?

  7          A.   I met with Robbins firm on Monday and Tuesday

  8    of this week.

  9          Q.   Okay.    And approximately how long in each of

 10    those meetings did you meet?

 11          A.   Each one was a couple hours.

 12          Q.   Okay.    Was there anybody else present at the

 13    meetings besides you -- well let me ask -- strike that.

 14                      Who from the Robbins firm was present?

 15          A.   Jason Alloy and Joshua Mayes.

 16          Q.   Okay.    Was there anybody else present at the

 17    meetings?

 18          A.   At one of them, yes.

 19          Q.   Okay.    Who was present at the other meeting?

 20          A.   The other Lucasys employees.

 21          Q.   Okay.    What employees -- what -- can you name

 22    the individuals for me?

 23          A.   Yes.    It's Daniel Chang, Stephen Strang, and

 24    Gabriel St. James.

 25          Q.   And what day did that meeting occur on?

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  1          A.   Monday.

  2          Q.   And both meetings were approximately two hours?

  3          A.   About two hours, two or three hours.

  4          Q.   Okay.    And did you look at any documents in

  5    either of those meetings?

  6          A.   I believe we had documents before us, but I

  7    don't recall.      Yeah, we probably flipped through some

  8    documents.

  9          Q.   Okay.    Do you recall specifically what

 10    documents you looked at?

 11          A.   It was a whole binder full, so a lot of

 12    documents.

 13          Q.   Okay.    Are there any that you can identify for

 14    me sitting here today?

 15          A.   A lot of communications.

 16          Q.   Okay.

 17          A.   I don't know that -- e-mails, Slack messages.

 18          Q.   Okay.    Between who and whom?

 19          A.   I think primarily Lucasys employees, but I

 20    think maybe there were some customer communications that

 21    I recall, as well.

 22          Q.   Okay.    What customers communications do you

 23    recall?

 24          A.   I don't recall specifically.             I just remember

 25    that it was -- they were not all -- so, our internal

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  1    communications are Slack, and then external are e-mail,

  2    and so I recall that they were both Slack and e-mail

  3    messages.

  4          Q.   Okay.

  5          A.   Yeah.

  6          Q.   But you recall looking at some customer

  7    communications?

  8          A.   E-mails.

  9          Q.   E-mails?

 10          A.   Yeah.

 11          Q.   Okay.

 12          A.   I recall looking at e-mails, which maybe would

 13    have been with customers, that's correct.

 14          Q.   Okay.    And so, which customers were those

 15    e-mails related to?

 16          A.   I don't remember specifically.            I know the

 17    focus has been on the customers where we've either lost

 18    contracts or our relationship has been diminished, so

 19    the -- if the question is specifically regarding what

 20    documents, I don't recall specifically, but I know which

 21    customers are at issue.

 22          Q.   Okay.    Well, my question was:          The documents

 23    that you looked at, do you recall which customers they

 24    related to?

 25          A.   Generally, but not individually.            That's what

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  1    I'm trying to describe.

  2          Q.   Okay.    Did you review any documents, PowerPlan

  3    documents?

  4          A.   I don't believe so.

  5          Q.   Okay.    Have you ever seen any PowerPlan

  6    documents that bear the label "attorneys' eyes only" or

  7    "outside counsel's eyes only"?

  8          A.   No.

  9          Q.   Aside from your counsel, have you spoken to

 10    anybody else about your deposition?

 11          A.   I spoke to -- I'm sorry, apart from who?

 12          Q.   From your lawyers.

 13          A.   From my lawyers --

 14          Q.   Yes.

 15          A.   -- okay.

 16                      So I spoke to other Lucasys employees.

 17          Q.   Okay.    Who did you speak to?

 18          A.   I mean, the employees that were in the room.

 19          Q.   I'm not asking about the specific meeting you

 20    had with your counsel.

 21          A.   Okay.

 22          Q.   I'm saying --

 23          A.   I'm sorry.

 24          Q.   -- aside from that meeting --

 25          A.   Yeah.

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  1          Q.    -- and aside from communications you had with

  2    your lawyers --

  3          A.    Yes.

  4          Q.    -- have you talked about the deposition with

  5    anybody else?

  6          A.    Yes, with my wife.

  7          Q.    Okay.

  8          A.    Yes.

  9          Q.    Anyone else?

 10          A.    That's it.

 11          Q.    Okay.

 12          A.    Yeah.

 13          Q.    Have you reviewed any deposition transcripts in

 14    this case?

 15          A.    I believe so.

 16          Q.    Okay.

 17          A.    Yes.

 18          Q.    What deposition transcripts do you believe

 19    you've seen?

 20          A.    I believe I have seen -- I believe I've seen

 21    the deposition transcript of Mr. Burts, or at least the

 22    one that was redacted.         I believe I have seen the

 23    deposition transcript of Mr. Cohen.                  I'm trying to

 24    think.     I believe I sat in on one deposition,

 25    Mr. Yankovitch.      If there were more, they're not coming

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  1    to me at the moment.

  2          Q.   Okay.

  3          A.   Yeah.

  4          Q.   And did you review any of those deposition

  5    transcripts in preparation for today?

  6          A.   No.   No, I did not.

  7          Q.   Did you do anything else to prepare for today's

  8    deposition, that we haven't talked about?

  9          A.   I just sat and tried to refresh my memory of

 10    the last four years of Lucasys to the best that I could

 11    recall.

 12          Q.   Okay.    And how did you do that?

 13          A.   Chronologically, I guess.           In my mind, I just

 14    went over what I could recall from the founding of the

 15    company to today.

 16          Q.   And did you do that with anyone else, or was it

 17    just you?

 18          A.   No.   Just me.

 19          Q.   Okay.    Did you look at any documents while you

 20    were doing that?

 21          A.   I did not, no.       I wanted to do that from

 22    memory.

 23          Q.   So this was strictly an exercise of your stroll

 24    down Memory Lane, so to speak?

 25          A.   That's correct.

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  1          Q.   When did you do that?

  2          A.   I did that yesterday.

  3          Q.   How long did you spend doing that?

  4          A.   I think I sat down for about an hour to focus

  5    on that.

  6          Q.   Let's talk a little bit about your background.

  7                     Where did you attend high school?

  8          A.   I went to Milton High School in Alpharetta

  9    Georgia.

 10          Q.   Okay.    And is that where you grew up?

 11          A.   Well --

 12          Q.   Or did you attend all four years of high school

 13    there?

 14          A.   All four years of high school, yes, I did.

 15          Q.   Okay.    And when did you graduate from high

 16    school?

 17          A.   2004.

 18          Q.   And what did you do after high school?

 19          A.   After high school, I went to Georgia Tech.

 20          Q.   Okay.    And did you graduate from Georgia Tech?

 21          A.   I did.

 22          Q.   Okay.    And what year did you graduate?

 23          A.   2007.

 24          Q.   And you got a degree in industrial engineering;

 25    is that correct?

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  1          A.   That is correct.

  2          Q.   Can you tell me, what is industrial

  3    engineering?

  4          A.   Industrial engineering, in its basic form, is

  5    the study of systems and processes and the optimization

  6    of systems and processes.          So, a wide variety of

  7    applications.

  8          Q.   And did you have a particular focus in your

  9    studies?

 10          A.   I did not.

 11          Q.   Okay.    And so, describe for me a little bit of

 12    sort of the curriculum that you went through?

 13          A.   Certainly.     So, the core curriculum was heavy

 14    engineering; math and science focused.              A lot of

 15    statistics.     A lot of -- yeah, math and science;

 16    statistics and technology, computer science, classes

 17    that we took.

 18          Q.   Did you have any accounting or tax training

 19    while you were at Georgia Tech?

 20          A.   No, I did not.

 21          Q.   Okay.    And tell me a little bit about the

 22    computer science training you got at Georgia Tech.                   What

 23    kind of courses did you take?

 24          A.   I recall taking a course in Java.            Or really,

 25    it was an object-oriented class, generally, but the

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  1    course used the Java programming language during the

  2    instruction.     I recall taking a course focused on

  3    databases, so understanding databases; querying,

  4    building, manipulating databases.

  5                     I do recall taking -- maybe this goes to

  6    your last question.       I took classes from the school of

  7    business, like elective classes, that were -- may have

  8    been accounting or finance focused.

  9          Q.   What did you do after graduation from Georgia

 10    Tech?

 11          A.   So throughout my time at Georgia Tech, I was

 12    also working --

 13          Q.   Okay.

 14          A.   -- including full time.           So I continued working

 15    full time after Georgia Tech.

 16          Q.   Okay.    Where were you working full time?

 17          A.   While I was at Georgia Tech, I worked full time

 18    for Loreal, the cosmetics company.             I was doing -- I was

 19    building an inventory database for their, kind of, R&D

 20    center.

 21                     I also worked for a company called

 22    Chartwell.     Chartwell's a research organization for

 23    utilities, focussing on the utility industry generally,

 24    but providing information for utilities and doing

 25    conferences for utilities.

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  1          Q.   Tell me what -- the inventory database that you

  2    were building, how -- what was the -- what was the

  3    database that it was -- was it an Oracle database?                   SQL

  4    server?    What kind of database was it, if you recall?

  5          A.   Yeah, this is a real -- this is a stroll down

  6    Memory Lane, for sure.        I recall that the final product

  7    was delivered in Access, so the users were using

  8    Microsoft Access, but I don't recall the technologies

  9    that were used to develop it.

 10          Q.   Okay.    And tell me a little bit more about your

 11    role at Chartwell.       What did you do at Chartwell

 12    specifically?

 13          A.   So, at Chartwell, I was their technology

 14    person, right, so Chartwell was a small organization

 15    while I was there, so I did all things technology

 16    related.    So I maintained their website, maintained

 17    their online document library, did technical functions

 18    for their conferences.

 19          Q.   Did you do any substantive work around the

 20    utilities industry while you were at Chartwell, or was

 21    it more support role?

 22          A.   I'm not sure I understand the distinction.

 23          Q.   Well, so did you -- tell me a little bit more

 24    about what Chartwell actually does.                 They throw -- they

 25    put on conferences?

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  1          A.   Conferences, research papers, things like that.

  2          Q.   Okay.    What kind of research do they do?

  3          A.   So, they're targeted for the utilities, so

  4    things like customer communications.                  I don't recall,

  5    but focused on the industry and the way the industry is

  6    evolving and what utilities need to be aware of in terms

  7    of that evolution.

  8          Q.   And how long were you working at Chartwell?

  9          A.   A little over a year.

 10          Q.   And in that year that you were there, did you

 11    ever contribute to or draft a research paper?

 12          A.   I believe I did some edits, too.                But no, I was

 13    not the author of any research papers.

 14          Q.   Did you present at any conferences?

 15          A.   Not while I was at Chartwell.

 16          Q.   Okay.

 17          A.   Yes.

 18          Q.   We're talking specifically about Chartwell.

 19          A.   Yes.    Yes.

 20          Q.   And the editing that you did on these research

 21    papers, it was substantive in nature or no?

 22          A.   Can you help me understand what --

 23          Q.   So that when you edited -- you edited a paper,

 24    were you correcting punctuation and grammar, word

 25    choice, or were you making substantive recommendations?

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  1          A.   I think my exercises there were more learning

  2    experiences about the industry --

  3          Q.   Okay.

  4          A.   -- more than anything else, so reading the

  5    research papers, informing about the content, but no I

  6    wasn't contributing to the subject matter, just doing

  7    the grammar and word choice edits.

  8          Q.   When you were at Loreal and Chartwell, did you

  9    have any responsibility for any accounting issues?

 10          A.   I don't believe so.

 11          Q.   Okay.    How about tax issues?

 12          A.   No, I don't think so.

 13          Q.   Why did you stop working for Loreal?

 14          A.   I stopped working for Loreal -- my course load

 15    prevented me from continuing to work for Loreal at that

 16    time.

 17          Q.   And when did you leave Loreal?

 18          A.   It would have been sometime while I was in

 19    college.    I don't recall.

 20          Q.   And did you take a job after you left Loreal?

 21          A.   I may have done a part-time internship.             I do

 22    recall working in a warehouse while I was in college --

 23          Q.   Okay.

 24          A.   -- so probably a part-time internship.

 25          Q.   Did you work for Medtron -- a company called

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  1    Medtronic?

  2          A.   Yes.    Yes, yes, yes.       It was not called that

  3    when I worked there --

  4          Q.   Okay.

  5          A.   -- but yes, that was the warehouse job --

  6          Q.   Okay.    And --

  7          A.   -- I'm thinking of.

  8          Q.   -- what did you do for them?

  9          A.   I did time studies of throughput in a

 10    warehouse.

 11          Q.   Was that a full time, part time job?

 12          A.   Part time.

 13          Q.   And what's a time study?

 14          A.   A time study is an analysis of how many

 15    packages effectively go down one conveyor in a given

 16    amount of time, how efficient that process is, yeah.

 17          Q.   Did you do anything else for Medtronic other

 18    than the time study, that you can recall?

 19          A.   I may have had other minor duties.            It was an

 20    internship.

 21          Q.   No substantive responsibility for accounting

 22    issues?

 23          A.   No.

 24          Q.   No substantive responsibility for tax issues?

 25          A.   That is correct.

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  1          Q.   Okay.    And didn't do any software development

  2    while you were there?

  3          A.   Not for the company.

  4          Q.   Explain to me what you mean by that?

  5          A.   Well, I mean that I was taking classes that may

  6    have included software development.

  7          Q.   Yeah, I'm asking you about your

  8    responsibilities at Medtronic exclusively, so --

  9          A.   That's correct.

 10          Q.   Okay.

 11          A.   Yes.

 12          Q.   And you said it was an internship?

 13          A.   It was.

 14          Q.   Okay.    And so the internship ended?

 15          A.   That's correct.

 16          Q.   Did you have an opportunity to continue there?

 17          A.   I did.

 18          Q.   And did you elect to do that, or no?

 19          A.   I elected not to do that.

 20          Q.   And so what did you do after that?

 21          A.   I believe that that internship was toward the

 22    end of my college studies, and I believe that the

 23    internship ended with my graduation, is the best of my

 24    recollection -- or somewhere very close to my graduation

 25    date.

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  1          Q.   Okay.    And what did you do after you graduated?

  2          A.   I went to work for PowerPlan.

  3          Q.   And how is it -- well, tell me when -- so that

  4    would have been 2007 that you started with PowerPlan?

  5          A.   That is correct.

  6          Q.   Okay.    When you first started at PowerPlan,

  7    what position did you hold?

  8          A.   So, PowerPlan did not give out titles when I

  9    started.    I believe my business card said "consultant."

 10    And I believe, outside of the founders of the company,

 11    everybody in the company had a business card that said

 12    "consultant."      That changed while I was at PowerPlan.

 13          Q.   Okay.    Well, let's talk about your initial

 14    position.

 15                     Who was your supervisor when you were there

 16    initially?

 17          A.   I worked primarily directly with Pat Pelling.

 18          Q.   Okay.    And what were your responsibilities when

 19    you first started with PowerPlan?

 20          A.   So, the first few months, I recall kind of

 21    getting a hodge podge of assignments from a lot of

 22    different people.       I think they were just tasks that

 23    needed to be done.       And so that was before I started

 24    working with Pat directly.          And I don't recall

 25    specifically.      I remember, for example, having to edit

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  1    the way, like, a report looked, right, where the columns

  2    were and things like that.          So I remember doing that

  3    very, very early.       But a couple of months in, I began to

  4    work with Pat Pelling.

  5          Q.   Okay.    And when you started working with Pat,

  6    your responsibilities changed?

  7          A.   They did.

  8          Q.   And tell me what -- how did it change?

  9          A.   Pat tapped me on the shoulder and said, I need

 10    you to work in tax.

 11                     And that meant the side of the business

 12    that provides tax products and services to the tax

 13    organization of utilities, and so I spent a lot of time

 14    converting utility data from Accufile to PowerTax that

 15    first year.

 16          Q.   Okay.    And approximately how long were you in

 17    this role where you were working directly with Pat?

 18          A.   So I was in the tax organization the rest of my

 19    time at PowerPlan.       During that time, I think Pat --

 20    Mark and Pat had sold the company and kind of

 21    transitioned out slowly, and so there was a transition.

 22    And at some point different lines of reporting were

 23    established.

 24          Q.   And so for this first year you were working

 25    with the tax group --

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  1          A.   Yes.

  2          Q.   -- you said you were primarily working with

  3    converting data from Accufile into -- is it -- it was --

  4    would be PowerTax?

  5          A.   Correct.

  6          Q.   Okay.    What other sorts of things were you

  7    doing during that first year?

  8          A.   So those -- I -- I believe I was almost solely

  9    focused on that for at least a years' time.               So there

 10    were quite a few conversions that we were doing.

 11          Q.   And at that -- some point, your role started to

 12    change?

 13          A.   Yes.    So -- well, I would say it started to

 14    expand.

 15          Q.   Okay.

 16          A.   So, at some point, I also started to help with

 17    deferred taxes.

 18          Q.   And how did that come to pass?

 19          A.   I don't recall specifically.             It must have been

 20    a project where I was staffed on a project that had to

 21    do with deferred taxes.

 22          Q.   And were deferred taxes at that time handled

 23    within the PowerTax module?

 24          A.   So, the PowerTax module is kind of -- has some

 25    modules, I would say, and so deferred taxes is a

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  1    sub-component of the PowerTax module.

  2          Q.   And during this time you're working getting all

  3    these data sets converted from Accufile to PowerTax, you

  4    became very familiar with the data schema for PowerPlan

  5    software; is that fair?

  6          A.   For Accufile and PowerTax, yes.

  7          Q.   Okay.    And did you become very familiar with

  8    the operation of the PowerTax system?

  9          A.   Certainly with my interactions with the end

 10    users, I understood how the users were operating the

 11    system.

 12          Q.   Did you come to have an opportunity to

 13    understand the logic that underlies the PowerTax

 14    software system when you were working at -- when you

 15    were first working at PowerPlan?

 16                     MR. ALLOY:      Object to form.

 17                     You can answer.

 18                     THE WITNESS:       I understood the work flow

 19    within the application, the way that a user would go

 20    through the application to form their business

 21    functions.

 22    BY MR. FAZIO:

 23          Q.   Okay.    Was there a point in time where you --

 24    so you described data conversion responsibilities, and

 25    then you said you were asked to help with deferred

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  1    taxes.

  2                     What sort of help were you giving on the

  3    deferred tax side?

  4          A.   Yeah.

  5          Q.   Explain to me what you mean.

  6          A.   Sure.    So, deferred tax projects typically

  7    included data cleansing and data alignment.                 The whole

  8    premise of deferred taxes is to align tax records with

  9    book or GAAP -- G-A-A-P -- records, strike a difference,

 10    and compute a liability, a deferred tax liability on

 11    that difference.

 12          Q.   So you were helping with customers to be able

 13    to do that?

 14          A.   That's correct.

 15          Q.   And is that something that was done inside the

 16    PowerPlan system at that time, or outside, or a

 17    combination of the two?

 18          A.   Well, let's see.        The data alignment was

 19    strictly working with the data, but then the results

 20    would go somewhere into a database.                 Yes, that's

 21    correct.

 22          Q.   And so you described this sort of data

 23    conversion process.       You got involved in deferred tax

 24    work.

 25          A.   (Nodding yes.)

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  1          Q.   Did your role at PowerPlan change further from

  2    that while you were employed there?

  3          A.   It did.    So, I would say that with all of the

  4    time that I had spent with the customers, I was

  5    traveling weekly and performing services at the customer

  6    site, so it's this opportunity to engage with the

  7    customers directly.       I had a good understanding of their

  8    business, their processes, and their requirements.                   And

  9    so, over time, I was doing less work, I would say, in

 10    the software and more work consulting with their

 11    customers -- with the customers about, kind of, what

 12    decisions they ought to be making in their business, as

 13    it regards their -- to their data.

 14          Q.   What customers did you work with while you were

 15    at PowerPlan?

 16          A.   Oh, boy.     I think I was engaged in dozens of

 17    different projects while I was at PowerPlan.

 18          Q.   Did you have any that you were -- you

 19    considered sort of your primary customers or your

 20    primary clients, or you did larger projects for?

 21          A.   The projects certainly differed in scope and

 22    size.   That, I don't know if I would -- I'm not sure I

 23    understand what you mean by "larger."

 24          Q.   Well, tell me, what customers did you work

 25    with, that you can recall, from PowerPlan.

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  1          A.    Okay.   Certainly.

  2                      So, I recall that I worked with Southern

  3    Company.     I recall that I worked with First Energy.               I

  4    recall that I worked with -- early on, I did a

  5    conversion for Louisville Gas and Electric.              While I was

  6    at PowerPlan, I worked for NextEra, at PowerPlan.               Tampa

  7    Electric.     Somehow, I worked with a lot of East Coast

  8    clients, now that I'm thinking about it now.              There were

  9    many.

 10          Q.    Did you work with AEP while you were at

 11    PowerPlan?

 12          A.    I think I worked more with NiSource.           I worked

 13    in Columbus a lot, but I worked with NiSource, so I

 14    probably had been at AEP while I was at PowerPlan.

 15          Q.    How about SUEZ?

 16          A.    I had never worked with SUEZ at PowerPlan.

 17          Q.    Liberty?

 18          A.    No.

 19          Q.    You mentioned that at some point, you got a

 20    title.     When you finally got a business card with a

 21    title on it, what did it say?

 22          A.    It said director of professional services.

 23          Q.    Okay.   And what were your responsibilities as a

 24    director of professional services?

 25          A.    I think it was maybe just formalizing the

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  1    things that I had been doing anyway, which -- helping to

  2    coordinate not just my own projects, but projects of

  3    other individuals.       There was a managerial component to

  4    it.

  5          Q.   So who were you managing?

  6          A.   I think at one -- at the time that I had left

  7    PowerPlan, I had -- I don't remember the exact work

  8    structure, but I had responsibility for tax-fixed asset

  9    and deferred tax services, so anybody in that umbrella

 10    of an organization.

 11          Q.   So at that time, was PowerPlan sort of broken

 12    -- did it have a professional services organization at

 13    the time you were there?

 14          A.   Yeah, I believe they had just started

 15    formalizing and calling it that --

 16          Q.   Okay.

 17          A.   -- at the end of my time there.

 18          Q.   Okay.    And so your -- when you became -- were

 19    you a director of professional services, or the director

 20    of professional services?

 21          A.   Oh, I was a director of professional services.

 22          Q.   Okay.

 23          A.   There were many.

 24          Q.   Okay.    And your area was focused on tax

 25    specifically?

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  1          A.   That's correct.

  2          Q.   Okay.    In your time at PowerPlan, did you have

  3    any responsibility for product development?

  4          A.   I did not.

  5          Q.   Okay.    Did you participate at all in the

  6    development of any of the PowerTax products?

  7          A.   I did not.

  8          Q.   Did you have access to the source code for the

  9    PowerTax products or the PowerPlan software while you

 10    were there, while you were employed at PowerPlan?

 11          A.   Did I have access to it?           I believe the source

 12    code was easily accessible to all employees, but I

 13    didn't need it for my function.

 14          Q.   Okay.    So you would not -- in your -- to

 15    perform your tasks, you would not access the source code

 16    on a regular basis?

 17          A.   That is correct.

 18          Q.   Do you recall any circumstances in which you

 19    would have accessed the source code while you were at

 20    PowerPlan?

 21          A.   I don't recall, no.

 22          Q.   So there was never a point in time when you had

 23    responsibility for maintaining the PowerTax source code?

 24          A.   That's correct.       I did not have responsibility

 25    for maintaining the PowerTax source code.

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  1           Q.   Prior to being employed at PowerPlan, had you

  2    ever been exposed to any of the PowerPlan software

  3    products?

  4           A.   I had not.

  5           Q.   Aside from the -- your time at Chartwell, would

  6    it be fair to say that prior to working at PowerPlan,

  7    you had no professional experience working with

  8    utilities?

  9           A.   Outside of the time at Chartwell?

 10           Q.   Yes.

 11           A.   That's correct.

 12           Q.   And it's fair to say that prior to working at

 13    PowerPlan, you had no professional experience in

 14    addressing tax issues for any type of customer?

 15           A.   That's correct.

 16           Q.   Would you agree that while you were at

 17    PowerPlan, you learned the data schema that underlies

 18    the PowerTax products?

 19           A.   I became familiar with the database schema,

 20    yes.

 21           Q.   And were you also familiar with the front-end

 22    interfaces used in the PowerTax software?

 23           A.   Yes.

 24           Q.   And having that familiarity was necessary for

 25    you to perform your professional responsibilities while

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  1    you worked at PowerPlan, true?

  2          A.   At times, yes.

  3          Q.   At the conclusion of your time working at

  4    PowerPlan, did you consider yourself to be an expert in

  5    the PowerTax product?

  6                     MR. ALLOY:      Objection, but you can answer.

  7                     THE WITNESS:       No.    I would consider myself

  8    to be an expert in utility tax fixed assets.

  9    BY MR. FAZIO:

 10          Q.   Okay.    And that was expertise that you gained

 11    at PowerPlan, correct?

 12          A.   Working with the customers, that's correct.

 13          Q.   Is there any module of the PowerPlan software

 14    that you considered yourself to be an expert in, as of

 15    the time you left PowerPlan?

 16                     MR. ALLOY:      Same objection, but you can

 17    answer.

 18                     THE WITNESS:       I don't think there was ever

 19    a designation like that, no.           There's no module or -- I

 20    would not provide an expert designation on a module at

 21    PowerPlan.

 22    BY MR. FAZIO:

 23          Q.   So, I'm not asking you about a designation.

 24    I'm asking what you considered yourself to be.

 25                     Did you consider yourself to be an expert

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  1    in any of the PowerPlan software modules?

  2          A.   I would not use that word, no.

  3          Q.   What word would you have used to describe your

  4    level of expertise at the time you left PowerPlan?

  5          A.   I would say that I was familiar with some of

  6    the modules at PowerPlan.

  7          Q.   And just tell me again which of the modules

  8    that you would have -- you consider yourself to be

  9    familiar with?

 10          A.   PowerTax, and I include tax depreciation,

 11    deferred tax subcomponents there.             And I had some

 12    familiarity with the asset accounting modules at

 13    PowerPlan.

 14          Q.   Which specific modules?

 15          A.   I don't know what they're called now.             While I

 16    was there, it was called the CPR, as I understood that

 17    module.

 18          Q.   And you -- when you were serving as a director

 19    of professional services, who was your supervisor?

 20          A.   I think it was Lee Watkins.

 21          Q.   Is Lee a man or a woman?

 22          A.   She's a woman.

 23          Q.   Was Lee your supervisor throughout the time you

 24    were director of personal services?

 25          A.   I believe so.

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  1          Q.   And you stayed with PowerPlan until 2013, true?

  2          A.   That is correct.

  3          Q.   Why did you leave PowerPlan?

  4          A.   I saw my focus kind of diverging from the

  5    company's focus.

  6          Q.   In what sense?

  7          A.   So I had -- I had -- I was interested in doing

  8    consulting work for utilities.            That was more business

  9    consulting and strategic consulting, and PowerPlan was

 10    shifting to be a pure play technology company.               And so I

 11    felt like at PowerPlan I was limited in my toolset in

 12    terms of how I could help customers, right, like I only

 13    had a hammer, so to speak, and I knew that the problems

 14    were bigger than a hammer could solve.

 15          Q.   And so you decided to leave in March 2013.

 16                     Did you leave PowerPlan on good terms?

 17          A.   I did.

 18          Q.   Did you consider your colleagues at PowerPlan

 19    to be friends?

 20          A.   I had friends at PowerPlan, yes.

 21          Q.   Who were your friends at PowerPlan?

 22          A.   Well, at the time, I was close to a number of

 23    employees.     I don't know that I -- that many of those

 24    relationships have survived to today, but yeah, anybody

 25    that I worked closely with at the time.

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  1          Q.   Do you have anyone that you consider to be a

  2    personal friend today that still works at PowerPlan?

  3          A.   No.

  4          Q.   So, at the time you left PowerPlan, can we

  5    agree that everything that you knew about the tax issues

  6    facing utility customers, as of March 2013 when you left

  7    PowerPlan, you had learned that through your employment

  8    at PowerPlan; is that true?

  9          A.   I think there's a narrow scope of knowledge

 10    that I had when I left PowerPlan that was focused on the

 11    areas where PowerPlan was providing solutions.               I would

 12    not say that that is the same scope of knowledge that I

 13    have today, for example.

 14          Q.   I'm asking you about March of 2013 when you

 15    left.

 16          A.   Could you repeat the question, then?

 17          Q.   Yes.

 18                      The question was:        At the point you left

 19    PowerPlan in 2013, everything that you knew about the

 20    tax issues facing utility customers, up to that point,

 21    you had learned as a PowerPlan employee?

 22          A.   I would say I had learned while I was a

 23    PowerPlan employee, so in the same time span.

 24          Q.   So what made you decide to join -- so, in 2013,

 25    you leave PowerPlan and you join Regulated Capital

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  1    Consultants; is that correct?

  2          A.   That's correct.

  3          Q.   Okay.    What made you go to RCC?

  4          A.   I believed that RCC would give me the

  5    opportunity to provide those broader strategic

  6    consulting services to the industry.                So I was looking

  7    for a place that was still focused on the industry, was

  8    broader in its application of solutions to the industry,

  9    and I have a great deal of respect for

 10    Jonathan Williams, the founder of RCC.

 11          Q.   What was your first role at RCC?

 12          A.   I believe I was the first non-founding employee

 13    at RCC, so I had to wear a lot of hats.

 14          Q.   How many people were employed at RCC with -- at

 15    the time that you joined?

 16          A.   So, it was the founders, Jonathan and Christie.

 17    I believe they may have just started contracting with

 18    some other individuals in the industry.                I believe if I

 19    wasn't the first, I may have been the second.                So yeah,

 20    three or four, max.

 21          Q.   And did you have a title?

 22          A.   I did not.

 23          Q.   Okay.    What were your responsibilities when you

 24    first started out?

 25          A.   My first day, I got on a 6:00 a.m. flight to

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  1    New York City to have meetings at Consolidated Edison.

  2           Q.   Let's take a step back from the specifics of --

  3    when you were talking to the founders of RCC about what

  4    your role would be, what did they tell you about what

  5    you were going to be doing with them?

  6           A.   They said, Vadim, here's an opportunity to help

  7    utilities.

  8           Q.   Okay.   And did they describe to you how you

  9    were going to go about helping utilities?

 10           A.   I don't recall specific conversations.            It was

 11    identifying the utility business problems and provide

 12    solutions.

 13           Q.   So you think you were the third employee of

 14    RCC?

 15           A.   I think that's true.

 16           Q.   Do you know how many employees, approximately,

 17    RCC has today?

 18           A.   I don't, no.

 19           Q.   All right.     So you mentioned you went to see

 20    Consolidated Edison?

 21           A.   That's correct.

 22           Q.   What other clients did you work with while you

 23    were at RCC?

 24           A.   I definitely worked with AEP.            I -- let's see.

 25    I worked with First Energy.            I worked with a company

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  1    called Pepco.      They were acquired by Exelon while I was

  2    working with them.       There are a lot.           Do you want me to

  3    keep going?

  4          Q.   Sure.

  5          A.   Okay.    I recall Tucson Electric Power, working

  6    with them.     Boy, I recall working with Dominion at RCC.

  7    I'm trying to differentiate.           There were more, but I

  8    can't recall, specifically, what other customers there

  9    were.

 10          Q.   So tell me about the kinds of business problems

 11    you were working on for these customers while you were

 12    at RCC?

 13          A.   Yeah.

 14                     So, at RCC, I developed a better

 15    understanding and appreciation for the regulatory model,

 16    the regulated nature of the business, and so that meant

 17    working more on filings with individual rate

 18    commissions, and maybe some, like, strategic decisions

 19    that needed to be made around those filings and how to

 20    collect revenue from customers.

 21          Q.   What other sorts of business problems were you

 22    working on when you were at RCC?

 23          A.   So, we worked with customer data a lot, so

 24    utilities are asset intensive, which means they're data

 25    intensive.     Utilities have to, for regulatory purposes,

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  1    track a lot of detailed data over a long period of time,

  2    and so there was a lot of data cleansing, data clean-up

  3    activities, as well.

  4          Q.   And so the -- the utilities that you worked

  5    with while you were at RCC, how did those utilities

  6    typically manage all of that data?

  7          A.   I think some combination of in-house and

  8    consultants.

  9          Q.   Did they have specific software programs that

 10    they were using to manage the data?

 11          A.   Oh, yes.     Utilities use a lot of software.

 12          Q.   What kind of -- in the tax space in particular,

 13    in the regulatory space that you were mentioning a

 14    minute ago, what were the software programs that they

 15    were using to manage that data?

 16          A.   So, in the tax space, virtually every utility

 17    uses PowerPlan tax products, or every U.S. utility, so

 18    that's included.      Additionally, tax accounting

 19    programs -- like, OneSource comes to mind -- on the

 20    regulatory reporting side.          UI Planner comes to mind as

 21    a solution that we help utilities with.             And then, of

 22    course, the ERPs themselves, so like the accounting

 23    suite for utilities.

 24          Q.   The Oracle -- when you say ERP, you're

 25    referring to companies like Oracle, SAP, and the like?

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  1          A.   Correct, yes.

  2          Q.   What about B&A?       Does B&A have a product that

  3    you ran across?

  4          A.   Yes, I believe B&A has a tax depreciation

  5    product.    I don't recall running into it at RCC, but I

  6    know it was used by some subsidiary businesses and

  7    utilities.

  8          Q.   What percentage of the customers you worked

  9    with at RCC, when you were doing data cleansing work,

 10    were PowerPlan customers?

 11          A.   What percentage -- I'm sorry can you --

 12          Q.   So, what percentage -- you mentioned that you

 13    were doing a lot of data cleansing work.

 14          A.   Yes.

 15          Q.   So, of the clients that you had that required

 16    data cleansing work, what percentage would you say,

 17    approximately, that were PowerPlan customers -- PowerTax

 18    customers?

 19          A.   Power -- I'm sorry.         PowerPlan generally?

 20    PowerTax?

 21          Q.   PowerTax.     Let's start with PowerTax.

 22          A.   Well, I think like I said before, to my

 23    knowledge, every or virtually every U.S. utility uses

 24    PowerTax.     So at RCC, we worked with U.S. utilities, so

 25    I would imagine each of them would have had PowerTax in

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  1    one way or another.

  2          Q.   Did you do any software development work while

  3    you were at RCC?

  4          A.   I did not.

  5          Q.   Did RCC as an organization do software

  6    development at the time you were employed there?

  7          A.   Not the RCC organization.           I don't believe so.

  8          Q.   Okay.    And you were a partner at RCC; is that

  9    true?

 10          A.   Not from the beginning, but yes --

 11          Q.   Okay.

 12          A.   -- for some amount of time, I was a member,

 13    yeah.

 14          Q.   Okay.    So when did you become a member of RCC?

 15          A.   I don't recall the exact date.           It would have

 16    been toward the end of my time at RCC.

 17          Q.   How many members were there at RCC at the time

 18    you left the company?

 19          A.   So -- three.      Three.

 20          Q.   So you, Mr. Williams, and who would the third

 21    be?

 22          A.   Ms. Williams.

 23          Q.   Ms. Williams?

 24          A.   Yes.

 25          Q.   So Mr. And Ms. Williams and --

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  1          A.   And myself.

  2          Q.   Okay.

  3          A.   That is correct.

  4          Q.   Now, I've seen a description of your time there

  5    where you said you led the delivery of tax technology,

  6    forecasting, and regulatory services.               Does that

  7    accurately describe what you were doing at RCC?

  8          A.   Can you read that one more time?

  9          Q.   Led the delivery of tax technology,

 10    forecasting, and regulatory services.

 11          A.   I think that includes some things that I did at

 12    RCC, that's correct.

 13          Q.   What does it mean when you were saying, Led the

 14    delivery of tax technology?

 15          A.   Tax technology services, right?             Yeah.    So RCC

 16    didn't deploy tax technology, but we provided services

 17    around customer tax data and their use of technology on

 18    that data.

 19          Q.   And RCC actually accesses an implementer for

 20    certain PowerPlan tax -- or PowerPlan software modules;

 21    is that true -- or has?

 22          A.   I would not -- so I don't know what they do

 23    today.

 24          Q.   I'm asking about when you were there.

 25          A.   Yeah, while I was there, to my knowledge, they

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  1    never implemented, like, brand new/new modules, but they

  2    certainly reconfigured data in existing modules.

  3          Q.   Okay.

  4          A.   Reset the data in the module.

  5          Q.   When you were there, were you ever personally

  6    involved in a PowerPlan module upgrade?

  7          A.   Not that I recall.

  8          Q.   While you were at RCC, did you ever work on

  9    any -- consult on any projects that were wholly

 10    unrelated to PowerPlan software?

 11          A.   Yes.

 12          Q.   Okay.    Tell me about those.            What kind of

 13    projects would those be?

 14          A.   Okay.    So I recall specifically working with

 15    Ameren, working with, I believe his name's Joe Power in

 16    their regulatory group, regarding a recovery of a

 17    regulatory asset that they had on their books and what

 18    was the right way to support the reg access balance.                   So

 19    helping -- helping with the language around that filing.

 20          Q.   Any other projects that you recall that were

 21    unrelated to PowerPlan software?

 22          A.   Yes.

 23          Q.   Okay.    Tell me about them.

 24          A.   I recall working with Consolidated Edison on a

 25    public utility commission audit in New York, related to

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  1    cost of removal and the way removal costs were being

  2    treated for income tax purposes.

  3          Q.   Other projects that you remember?

  4          A.   Just generally?

  5          Q.   That were unrelated to PowerPlan?

  6          A.   I'm sure there were more, yeah.            So, we would

  7    regularly get -- okay.        Here's another one.        During my

  8    time at RCC, a number of utilities had been electing

  9    method changes related to tax repairs.              There was some

 10    IRS guidance around that.          So performing studies to try

 11    to quantify the income tax benefit of electing that

 12    election.     I think that was very common.           I recall a tax

 13    basis balance sheet project, which is typically

 14    something like a Big-Four company would do to help

 15    validate the accounting positions that the company has

 16    related to its tax accounts and its balance sheets.

 17          Q.   Are you familiar with an entity called

 18    ASI Singularity?

 19          A.   I'm familiar with an entity called ASI.             I

 20    believe it's Aggregate Singularity.

 21          Q.   Okay.    Tell me about that company.          What did

 22    you know about it?

 23          A.   I believe that ASI develops reconciliation

 24    software to help companies keep their data clean.

 25          Q.   Did ASI -- now, ASI was founded by the

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  1    Williams; is that accurate?

  2          A.   That's correct.

  3          Q.   Yeah.

  4                     And did they found ASI while you were still

  5    employed at RCC?

  6          A.   I believe they did, yes.

  7          Q.   And were you ever a partner in ASI?

  8          A.   I was not.

  9          Q.   You were not a member of ASI?

 10          A.   I was not.

 11          Q.   Did you do any work with ASI, any kind?

 12          A.   Did I do work with ASI?           I don't recall if this

 13    was before for after the company was founded, but I

 14    recall talking through kind of the -- the problem space,

 15    right, like bad data, quality, and what solutions RCC

 16    could deliver in that space.

 17          Q.   Do you know why ASI was founded as a separate

 18    company rather than developing software within RCC?

 19          A.   I don't know.

 20          Q.   Have you had an opportunity to become familiar

 21    at all with ASI's product or products?

 22          A.   I have seen demos of the ASI product, I

 23    believe.

 24          Q.   Would you have seen those while you were at

 25    RCC, or after you left?

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  1          A.   While I was at RCC.

  2          Q.   Explain to me, what is it that the product

  3    actually does, to the extent you know.

  4          A.   I mean, from my recollection, at least while I

  5    was there and during the demos, it was a tool to ingest

  6    data and perform reconciliations on that data.               So set

  7    up some rules of expected -- the way data was expected

  8    to look versus how it did look, I guess, and then

  9    provide some kind of alerts or indicators to the user

 10    when the data conditions were not met.

 11          Q.   Is the product designed to work with a

 12    particular store of data, or is it source agnostic?

 13          A.   Oh, I don't know.        I don't know how it's

 14    architected.

 15          Q.   Is it similar to Copilot?

 16          A.   No, it's not.

 17          Q.   Okay.    Tell me what's the difference between

 18    Copilot and the ASI product?

 19          A.   What's the difference?          So Copilot is a

 20    business process automation software, so it's process

 21    focused.    Now, certainly, data comes into and out of

 22    processes, but my understanding is that ASI is

 23    point-in-time reconciliation focused rather than kind of

 24    a business process end-to-end.

 25          Q.   Do you know if it's -- if ASI is used

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  1    exclusively with PowerPlan?

  2          A.   I don't know.

  3          Q.   Do you know of any customers that have

  4    implemented ASI's products?

  5          A.   I don't know for certain.           I don't know with

  6    certainty, like, I haven't seen contracts or anything

  7    like that.

  8          Q.   Do RCC's consultants actually implement the

  9    Singularity products?        Do you know?

 10          A.   I don't know.

 11          Q.   Do you know if RCC employees are consulted on

 12    product development issues?

 13          A.   They -- they may have been while I was there.

 14    I don't know if they are now.

 15          Q.   And forgive me if I've already asked you this,

 16    but were you personally involved in any software

 17    development while you were at RCC?

 18          A.   No, I wasn't.

 19          Q.   Why did you decide to leave RCC?

 20          A.   So, while I was at RCC, the utility industry

 21    began to go through a number of pretty significant

 22    changes, kind of macro changes to the industry, and it

 23    became clear to me that utilities were lacking in the

 24    right tools to address those, and not having the tools,

 25    were just spending a lot of money on consultants.               So,

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  1    yeah.   I left RCC to try to help think about and address

  2    some of those macro changes in the industry.

  3          Q.   Prior to leaving RCC, did you ever propose to

  4    the founders that you could develop software that would

  5    address some of these challenges you've identified?

  6          A.   So I -- my recollection is that RCC or at least

  7    RCC's founders' focus in terms of software while I was

  8    there was the ASI product, and there was not a capacity

  9    or willingness to do more than that from a technology

 10    standpoint.

 11          Q.   Did you propose to them that you could build

 12    other software products for them?

 13          A.   No.   We had conversations around needs for

 14    products, but didn't have any proposals related --

 15          Q.   Were they surprised when you told them you were

 16    leaving?

 17                     MR. ALLOY:      Objection.

 18                     You can answer.

 19                     THE WITNESS:       I don't know.     I don't know.

 20    BY MR. FAZIO:

 21          Q.   Did you leave on good terms?

 22          A.   I did.

 23          Q.   Do you consider the Williams to be personal

 24    friends?

 25          A.   I have a great deal of respect for them, but we

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  1    haven't remained in contact.

  2          Q.   While you were employed at RCC, do you know of

  3    anybody at RCC who had access to the PowerPlan source

  4    code?

  5          A.   Not that I can recall.

  6          Q.   Do you have any financial interest in RCC

  7    today?

  8          A.   I do not.

  9          Q.   How about in ASI?

 10          A.   I do not.

 11          Q.   So you left RCC in 2018?

 12          A.   That's correct.

 13          Q.   Okay.    And you formed Lucasys immediately after

 14    leaving RCC?

 15          A.   In the same year, yeah.

 16          Q.   What did you do from the time you left RCC

 17    until Lucasys was formed?

 18          A.   I think I sat down and thought about, What's

 19    the right way to form a company; when and with who and

 20    how, yeah.

 21          Q.   So when did Lucasys sort of become an

 22    operational entity?

 23          A.   Well, I think it depends on what you mean by

 24    operational.     The company formation documents, I

 25    believe, is May 14th of 2018, but the first revenue came

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  1    much later that year.

  2          Q.   And we're going to get to customers and

  3    revenues in a minute, but --

  4          A.   Okay.

  5          Q.   So you're the founder of the company, true?

  6          A.   That's correct.

  7          Q.   And you're currently the chief executive

  8    officer?

  9          A.   That is correct.

 10          Q.   Okay.    Can you just briefly, for me, describe

 11    your roles -- your role and responsibilities at Lucasys

 12    as chief executive officer?

 13          A.   Sure.

 14                     So, just as a small company, of course we

 15    all wear a lot of hats, but as chief executive, I have

 16    oversight for our business, so that means internally for

 17    our employees; it means for our customer relationships;

 18    it means for our product development and our consulting

 19    services.

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 20          Q.   So aside from employees, is there anybody else

 21    that has a financial interest in the performance of

 22    Lucasys?

 23          A.   No.

 24          Q.   So we're going to talk a bunch about financial

 25    issues later, but I wanted to just confirm at the

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  1    outset, the funding for Lucasys operations comes

  2    entirely from its consulting revenues; is that true?

  3           A.   The funding for Lucasys operations comes

  4    entirely -- I mean, I contributed funding to begin, but

  5    yes, we have consulting revenues now.

  6           Q.   Okay.   You don't have any loans outstanding?                I

  7    understand you had a PPP loan in the past, but you don't

  8    have any loans outstanding today?

  9           A.   We have an SBA loan.

 10           Q.   Okay.   Any others?

 11           A.   No.

 12           Q.   When did you take on the SBA loan?

 13           A.   Sometime in 2020, I believe.

 14           Q.   Was that a loan for                                      ?

 15           A.   No.   That would have been the PPP loan I think

 16    that you're referring to.

 17           Q.   Okay.   So this is a separate loan?

 18           A.   That's correct.

 19           Q.   How much was the loan for?

 20           A.   Oh, I think it's been increased a couple times.

 21    I don't know the exact number.

 22

 23           Q.   And what has Lucasys been using those funds

 24    for?

 25           A.   Operating expenses, and that includes, of

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  1    course, legal fees and expenses.

  2          Q.    So as of today, do you know what the

  3    outstanding balance on that loan is?

  4          A.    I don't know.

  5          Q.    And you said you think you took it out in 2020?

  6          A.    Initially, yes.      And I believe there were one

  7    or two options to increase that, the size of that loan.

  8          Q.    And is that loan how you're paying for the

  9    legal fees associated with this litigation?

 10          A.    No.   We -- we look at that loan as reserves,

 11    right?     So we hold that -- those loan proceeds in cash.

 12          Q.    So have you drawn down the loan, or no?

 13          A.    The loan is immediately funded, but we -- we

 14    have not had to spend the loan proceeds.

 15          Q.    I'm sorry, what was the last thing you said?

 16          A.    We haven't had to spend the loan -- we've been

 17    able to operate with a positive cash balance.

 18          Q.    I see.

 19          A.    Yeah.

 20          Q.    So you're saying you have the loan, but you

 21    haven't had to use the money from the loan; is that

 22    fair?

 23          A.    We have cash on-hand to cover the loans.

 24                      Does that help?       I mean, that --

 25          Q.    I -- cash on-hand to cover the loans --

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  1          A.   Well, the question is a cash-flow question, so

  2    I don't know that at any point in time we had cash to --

  3    like, we may have used the loan for operating expenses,

  4    but then subsequent revenue allows us to cover --

  5          Q.   To pay it back down?

  6          A.   Correct.

  7          Q.   It operates like a line of credit, basically?

  8          A.   Other than that we -- it's not a line of

  9    credit, because we hold the loan proceeds.

 10          Q.   Within Lucasys, are there employees that are --

 11    of the five employees, are there any that are dedicated

 12    exclusively to consulting activity?

 13          A.   Yes, I think so.

 14          Q.   Okay.

 15          A.   Well, that spend a majority of their time in

 16    consulting.

 17          Q.   Okay.    And who would that be?

 18          A.   So I think, like, Gabriel St. James spends most

 19    of his time in the consulting space.

 20          Q.   And what about the others?

 21          A.   So, it's easier for me to answer the question

 22    in the inverse.      We have one employee who is only

 23    product focused.

 24          Q.   Okay.    And who is that?

 25          A.   Stephen Strang.

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  1          Q.   And the remaining employees do some combination

  2    of product development work and consulting?

  3          A.   They don't do product development, but they may

  4    be, for example, consulted on the way a particular

  5    screen may look or how a user might interface with a

  6    particular product.

  7          Q.   So for you personally, how would you break down

  8    the time you spend in terms of consulting, operational,

  9    you know, administrative-type things --

 10          A.   Yeah.

 11          Q.   -- and product development?              Just

 12    approximately?

 13          A.   I'd love for it to be equal, but I don't know.

 14    Any given day could be different.             I try to spend enough

 15    attention both on the consulting side, I understand

 16    that's where our relationships are built and maintained,

 17    as well as the product side, which is really the value

 18    of the business.

 19          Q.   How many customers does Lucasys currently

 20    serve?

 21          A.   We have, I believe, nine, perhaps ten,

 22    customers that we've engaged with.

 23          Q.   And are all of those customers consulting

 24    customers?

 25          A.   We haven't done consulting work for all of

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  1    those customers, no.

  2           Q.   So tell me, if you're not doing consulting work

  3    for -- which customers haven't you done consulting work

  4    for?

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 16           Q.   And of the remaining Lucasys customers, are

 17    they all consulting customers?

 18           A.   Some of them are no longer customers.

 19           Q.   Okay.

 20           A.   Of the ones that are still customers, we

 21    provide consulting or are available to do so at any

 22    time.

 23           Q.   Okay.

 24           A.   Yeah.

 25           Q.   Of the                                  you mentioned a

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  1    minute ago, how many are former customers?

  2          A.   At least two.

  3          Q.   And who is that?

  4          A.   NextEra and Liberty.

  5          Q.   And of the customers that you have, have you

  6    sold any software products to any of them, or licensed

  7    any software products to any of them?

  8          A.   We have mask -- we have negotiated master

  9    service agreements with a number of utilities related to

 10    software subscriptions, yes.

 11          Q.   Okay.    And what products have they -- so you

 12    said -- I asked you if you had licensed it to any of

 13    them, there are master service agreement -- you said

 14    that there were master service agreements --

 15          A.   Correct.

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 25          A.   We have at least one engagement where we are

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  1    working to deploy software during that engagement.

  2          Q.   And what customer is that for?

  3          A.   That is for AEP.

  4          Q.   Are any of Lucasys' current customer

  5    engagements wholly unrelated to PowerPlan software?

  6          A.   Yes.

  7          Q.   Okay.    Which ones?

  8          A.

  9          Q.   Okay.    Others?     Any others?

 10          A.   So -- yeah.      So, we have a number of

 11    relationships where we're kind of industry consultants

 12    on-call, right?      And so there are a few of those where

 13    we take calls around the business issues.

 14          Q.   Okay.

 15          A.   Not related to --

 16          Q.   And who would that be for?

 17          A.

 18

 19

 20

 21          Q.   Okay.    We've been going for about an hour 15.

 22    Why don't we take ten?        Ten-minute break?

 23          A.   Sure.

 24                      THE VIDEOGRAPHER:        Off the record at

 25    10:47 a.m.

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  1                      (Off the record.)

  2                      THE VIDEOGRAPHER:        Back on the record at

  3    11:03 a.m.

  4    BY MR. FAZIO:

  5          Q.   Sir, at -- during the break, your counsel

  6    indicated that there was an answer that you wanted to

  7    clarify?

  8          A.   There is.

  9          Q.   Okay.    What clarification would you like to

 10    give?

 11          A.   I believe that you had asked me about my

 12    expertise at the time that I had left PowerPlan.

 13          Q.   Yes.

 14          A.   As of that date.        And I wanted to -- I don't

 15    recall my exact answer, but I wanted to clarify for the

 16    record that I did not, at that time, nor do I now

 17    consider myself an expert at that time.             I think I had

 18    -- yeah, so to the extent that I -- if I had used that

 19    word, "expert," I wanted to clarify that I don't -- I

 20    don't consider myself -- or didn't -- to be an expert.

 21          Q.   Okay.    I think you clarified at the time, but

 22    --

 23          A.   Yeah, okay.

 24          Q.   -- let's --

 25          A.   Thank you.

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  1          Q.   -- get back to it.

  2                     And sir, we were talking a little bit about

  3    Lucasys' business, and I wanted to just clarify one

  4    thing.

  5                     Does anybody outside of Lucasys and its

  6    owners have a financial interest in the outcome of the

  7    litigation between PowerPlan and Lucasys?

  8          A.   No.

  9                     (Exhibit 1 marked for identification.)

 10    BY MR. FAZIO:

 11          Q.   Sir, you're being handed what's been marked as

 12    Exhibit 1 to your deposition.           Could you take a minute

 13    to look at that document?

 14          A.   (Witness examining document.)

 15          Q.   Have you seen this document before, sir?

 16          A.   I believe so.

 17          Q.   Okay.    On the second-to-last page you will see

 18    your name appears -- signature appears under,

 19    "Counterparty."

 20          A.   Yes, I do see that.

 21          Q.   Okay.    And so, can you tell me what this

 22    document is, sir?

 23          A.   This appears to be a mutual non-disclosure

 24    agreement between Lucasys and Legalist, Inc.

 25          Q.   Sir, if you look at the purpose, it says that

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  1    the purpose of the mutual non-disclosure agreement was,

  2    "The parties intend to explore a business opportunity of

  3    mutual interest concerning the company, potentially

  4    providing funding to the counterparty in relation to

  5    certain court and/or arbitration proceedings with the

  6    counterparty and to engage in discussions relating to a

  7    possible consensual negotiated transaction relating

  8    thereto," and then it's open paren, quote, "Purpose,"

  9    closed quote, closed paren, and the sentence goes on.

 10                     First of all, I just want to ask you:               Did

 11    Lucasys ever enter into an agreement with Legalist?

 12          A.   Outside of this --

 13          Q.   Outside of the mutual agreement.

 14          A.   No --

 15          Q.   Okay.

 16          A.   -- we did not.

 17          Q.   Did you have conversations with Legalist

 18    consisting of the description in the purpose that I just

 19    read?

 20          A.   I don't recall if we had those conversations

 21    directly.     My recollection is that this was a firm that

 22    may have been introduced to us by our counsel.

 23          Q.   Okay.    And so today -- so there was never any

 24    -- strike all of that.

 25                     Was this related to the PowerPlan/Lucasys

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  1    litigation?

  2          A.   This was related to evaluating funding options

  3    for the PowerPlan/Lucasys litigation, that's correct.

  4          Q.   Okay.    And so today, has Lucasys entered into

  5    any agreements with any litigation funders related to

  6    this litigation?

  7          A.   No.

  8          Q.   Okay.    And are your lawyers working for you on

  9    a contingent fee?

 10          A.   No.

 11          Q.   How are you funding the litigation, sir?

 12          A.   Lucasys' cash reserves.

 13          Q.   Approximately how much out of cash reserves

 14    have you paid on the litigation so far?

 15          A.   I don't know the exact --

 16                     MR. ALLOY:      Just the use of "you."

 17                     MR. FAZIO:      Sorry.

 18    BY MR. FAZIO:

 19          Q.   I'm sorry.     Lucasys.

 20          A.   Okay.

 21          Q.   Yeah.

 22          A.   Yeah.    I don't know the exact number, but

 23    through June of this year, it is at least                            .

 24          Q.   All right.     Sir, are you familiar with a person

 25    named Kurt Zuch?

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  1          A.   That name is familiar to me, yes.

  2                     (Exhibit 2 marked for identification.)

  3    BY MR. FAZIO:

  4          Q.   Sir, you've been handed what's been marked as

  5    Exhibit 2 to your deposition.

  6          A.   (Witness examining document.)

  7          Q.   Have you seen this document before?

  8          A.   Yes, I believe that I have.

  9          Q.   Okay.    So we look over the last page -- we'll

 10    go through the chain from the bottom to the top.

 11                     You see there's an introductory e-mail from

 12    Vasily.    Is that your brother?          Is Vasily your brother?

 13          A.   It is.

 14          Q.   Okay.    Tell me why was it -- what was the

 15    genesis of this introduction request to Mr. Zuch?

 16          A.   I believe that, as I recall, Vasily had spoken

 17    to me about his relationship with Kurt or maybe that

 18    Kurt had reached out to him.           I think they knew each

 19    other from church or a mutual acquaintance at church.

 20    And I had asked him to pass along an introduction.

 21          Q.   And Mr. Zuch is -- he's a member of the board

 22    of directors of Utegration?

 23          A.   I believe he was at that time.           I don't know if

 24    he still is.

 25          Q.   Okay.    In here, it says that Vasily reports

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  1    that you would like to speak with him about Utegration.

  2                      Do you see that?

  3          A.   Yes, I see that.

  4          Q.   Okay.    And so this is October 7, 2020.

  5                      Do you see that?

  6          A.   I do see that.

  7          Q.   Okay.    In October of 2020, what was it that you

  8    wanted to discuss with Mr. Zuch about Utegration?

  9          A.   So, sometime before October 2020, I had seen a

 10    press release from Utegration regarding its focus on the

 11    utility industry, and specifically in the area of fixed

 12    assets, and I wanted to explore more about the company.

 13    Yeah, just what it was doing for utilities.

 14          Q.   Okay.    So if you go up the chain to your e-mail

 15    at 2:04 p.m. on October 7th --

 16                      Do you see that?

 17          A.   2:04 p.m.

 18          Q.   Yes.

 19          A.   Yes, I see it.

 20          Q.   Okay.    It's in the middle of the second

 21    paragraph, it says, "I've been following" -- you're

 22    saying, "I've been following Utegration closely over the

 23    last 12 to 18 months and have been impressed with the

 24    solutions the company has brought to the market," paren,

 25    "Especially the new Finance4U solution, which I believe

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  1    can be revolutionary for the industry."

  2                     Do you see that?

  3          A.   I do see that.

  4          Q.   Okay.    Tell me, what was it about the Finance4U

  5    solution that you thought would be revolutionary for the

  6    industry?

  7          A.   Based on the press release that I had seen, it

  8    seemed to me that -- at least for that one customer, it

  9    seemed that Finance4U had allowed that company to

 10    leverage its SAP ERP solution and extend it into the

 11    asset accounting space.

 12          Q.   And what company was it that was listed in the

 13    press release?

 14          A.   That was NRG.

 15          Q.   Now, do you agree that Utegration is a

 16    competitor to PowerPlan in the fixed-asset accounting

 17    space -- software space?

 18          A.   I don't know that I would say that.

 19          Q.   Okay.    How would you describe the competitive

 20    position of Utegration?

 21          A.   So I've -- the company that had the press

 22    release was an energy company, but not a regulated

 23    utility company, so it's unclear to me if Utegration is

 24    a competitive -- competitive -- is competitive to

 25    PowerPlan in the utility industry.             I just don't know,

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  1    one way or the other.

  2          Q.   Well, in October of 2020, what specifically did

  3    you want to talk to Mr. Zuch about regarding Utegration?

  4          A.   So, I think in and around that time, we had

  5    been marketing and reaching out to NRG in particular,

  6    regarding our tax solutions, and just knowing that they

  7    had gone through a transformational technology project,

  8    it seemed like there may be something to learn about

  9    what and how they had done that and whether they were,

 10    you know, planning to do that at other energy companies

 11    or potentially regulated utilities.

 12          Q.   And eventually, Mr. Zuch introduced you to a

 13    person by the name of Henry Bailey, correct?

 14          A.   Yes, I believe that's true.

 15                      (Exhibit 3 marked for identification.)

 16    BY MR. FAZIO:

 17          Q.   Sir, you've been handed what's been marked as

 18    Exhibit 3 to your deposition.           This is a chain -- an

 19    e-mail chain in which Mr. Zuch is introducing you to

 20    Mr. Bailey, correct?

 21          A.   Yes.    I see that here at the end.

 22          Q.   So I just want to direct your attention to the

 23    March 10, 2021 , 3:05 p.m. e-mail from you to Kurt Zuch,

 24    copying Mr. Bailey.

 25                      Do you see that?

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  1          A.   (Witness examining document.)

  2                      March 10, 2021, 3:05 p.m.?

  3          Q.   Yep.

  4          A.   Yes, I see it.

  5          Q.   Okay.    So the first sentence of the second

  6    paragraph says -- you're saying, "Yes, I'd love the

  7    opportunity to connect and discuss potential synergies."

  8                      Do you see that?

  9          A.   I do see that.

 10          Q.   What were the potential synergies that you saw

 11    in March of 2021 with Utegration?

 12          A.   I think my understanding, from my initial

 13    conversation with Mr. Zuch, was that Utegration had not

 14    been focused on tax space at utilities, and we had, of

 15    course, been focused on that space, and so I think

 16    Mr. Zuch had suggested that I be connected with somebody

 17    in their executive team to discuss potential synergies,

 18    I believe that's why that's there.

 19          Q.   And who is Mr. Bailey?          What's his role at

 20    Utegration?

 21          A.   Well, I see his e-mail signature here, so I can

 22    read that to you.       It says, "EVP and chief strategy

 23    officer."

 24          Q.   And you ultimately did get a chance to connect

 25    with Mr. Bailey?

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  1          A.   I did.

  2          Q.   It took a while for that to happen, true?

  3          A.   It did.    It feels like it was a year.

  4          Q.   Do you know why it took so long?

  5          A.   I don't know.

  6                     (Exhibit 4 marked for identification.)

  7    BY MR. FAZIO:

  8          Q.   Sir, you're being handed what's been marked as

  9    Exhibit 4 to your deposition.

 10                     Do you recognize this document?

 11          A.   Yes, I do.

 12          Q.   Okay.    Tell me what this document is.

 13          A.   This appears to be a mutual non-disclosure

 14    agreement between Lucasys and Utegration.

 15          Q.   And if you look down to the third paragraph, it

 16    describes the -- there's a summary description of a

 17    business transaction.

 18                     Do you see that?

 19          A.   Third paragraph.        Yes, I see it.

 20          Q.   Okay.    It says, "In order to evaluate and

 21    possibly enter into a business transaction with one

 22    another related to Utegration's Utility4UTM solution and

 23    each of its modules," and it goes on to list them, you

 24    agreed to this non-disclosure agreement?             When I say

 25    "you," Lucasys agreed to it?

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  1          A.    I see that, yes.

  2          Q.    What was the -- at the time that you entered

  3    into this, what was the nature of the business

  4    transaction that you were considering?

  5          A.    So, my recollection is that we needed a

  6    non-disclosure agreement to have any conversation of

  7    substance, so to -- other than the initial

  8    meet-and-greet, so my recollection is that this was

  9    needed to -- to have the conversation.

 10          Q.    Okay.   And so there was no specific business

 11    transaction contemplated at that time?

 12          A.    There was not.

 13          Q.    And did you consider the terms of the NDA to be

 14    reasonable?

 15          A.    (Witness examining document.)

 16                     I think I probably -- or I definitely

 17    shared this with counsel and got their consensus, I

 18    guess.     That seemed reasonable.

 19          Q.    Okay.   Did you propose any changes that you

 20    recall?

 21          A.    I don't recall.

 22          Q.    And eventually you did have a meeting, correct,

 23    with Utegration?

 24          A.    We had a call --

 25          Q.    Okay.

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  1          A.   -- with Utegration.

  2          Q.   Was there just one call, or was there more than

  3    one call?

  4          A.   I recall one call with Mr. Bailey and myself,

  5    and I recall one call with a larger audience that

  6    included other individuals from Utegration and perhaps

  7    other individuals from Lucasys, as well.

  8          Q.   The first conversation you had with Mr. Bailey,

  9    was that before or after the NDA was entered into?

 10          A.   I don't recall.

 11          Q.   Can you tell me, what did you discuss on that

 12    call?

 13          A.   I believe it must have been before, because I

 14    recall him requesting that we put an NDA in place --

 15          Q.   Okay.

 16          A.   -- to have a substantive conversation.

 17          Q.   And what else do you recall from that

 18    conversation?

 19          A.   I recall him sharing his background and

 20    professional work history.

 21          Q.   Okay.    Anything else you recall from the

 22    conversation?

 23          A.   I think we -- I think it was a meet-and-greet.

 24    I think he shared, maybe, where he was working from or

 25    where he had been living at that time and commuting into

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  1    the office.     It was a meet-and-greet conversation.

  2          Q.   And so then, subsequently there was a -- this

  3    broader -- this broader discussion with the Utegration

  4    team?

  5          A.   That's correct.

  6                      (Exhibit 5 marked for identification.)

  7    BY MR. FAZIO:

  8          Q.   I'm handing you what's been marked as Exhibit 5

  9    to your deposition.

 10          A.   Yes.

 11          Q.   Can you identify this document for me?

 12          A.   (Witness examining document.)

 13                      Yes.    It's familiar to me.

 14          Q.   So this was an exchange where you were --

 15    between the Lucasys team and the Utegration team

 16    concerning the agenda for the meeting you were going to

 17    have?

 18          A.   Yeah, I think it's -- it looks like it's the

 19    administrative back and forth about -- including the NDA

 20    and setting up the meeting, but yes, I see the proposed

 21    agenda on there, as well.

 22          Q.   Okay.    So if you go to the -- it's the second

 23    page of the document, so it's the one that ends with

 24    Bates stamp 15030.

 25          A.   Yes.

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  1           Q.   Okay.   You'll see there's -- there's an

  2    8:36 a.m. e-mail to the Lucasys team where he's saying,

  3    "Henry asked me to forward the following proposed agenda

  4    for our call on Tuesday."

  5                     Do you see that?

  6           A.   I do see that.

  7           Q.   Okay.   And then the one, two, three, four,

  8    five, sixth bullet down, it says, "Competitor

  9    positioning," comma, "PowerPlan risk," question mark.

 10                     Do you see that?

 11           A.   I do see that.

 12           Q.   Did you have an understanding as to what it was

 13    -- what that topic of -- for the meeting was going to be

 14    about?

 15           A.   We did not.

 16           Q.   I note that you say above -- you responded.

 17    You say, "There is litigation pending," and you wouldn't

 18    be able to discuss PowerPlan, its business or its

 19    products.

 20                     At the meeting, was PowerPlan discussed at

 21    all?

 22           A.   No, we did not discuss PowerPlan.

 23           Q.   And so when the -- was this a video call or

 24    what was the -- how did the meeting actually take place?

 25           A.   I don't recall.      It was probably some kind of

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  1    Zoom or Teams, but I don't recall if video was enabled

  2    as part of that.

  3          Q.   Okay.    And how long did the call last for?

  4          A.   I don't recall.       I don't recall.      I don't

  5    recall it being particularly long.

  6          Q.   Okay.    Let's just run through.         If you look at

  7    the first page, you'll see the third bullet down, it

  8    says, "Value proposition for collaboration."

  9          A.   Yes, I see that.

 10          Q.   What was discussed around the value proposition

 11    for collaboration between Lucasys and Utegration?

 12          A.   Well, so, the call itself did not actually

 13    follow this proposed agenda by Utegration.             So, for

 14    example, regarding collaboration or even a potential for

 15    collaboration, the only discussion on that call that I

 16    can recall was just a confirmation that we are providing

 17    products and services in auxiliary spaces, right.               So,

 18    like I said before, they're not providing tax software,

 19    and we're developing tax software.             So I recall

 20    confirming those points with a wider audience.

 21          Q.   Okay.    What else do you recall from the

 22    meeting?    Regardless of whether it followed the agenda,

 23    what were the rules of engagement?

 24          A.   Yeah, so, most of the meeting was some slides

 25    that Utegration showed us about their business.               So they

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  1    were introducing us to the history of the company, the

  2    offerings that they have, the geographies that they work

  3    in, the key team members.          And I think there was an

  4    overview of their Finance4U solution.               That's my

  5    recollection, is that they presented slides.

  6          Q.   Okay.    And was there -- was there discussions

  7    around rules of engagement?

  8          A.   I don't know what that even means.

  9          Q.   So was there a discussion during the -- during

 10    this call about low Lucasys and Utegration might

 11    continue the conversations going forward?

 12          A.   No.

 13          Q.   All right.     Did you talk to Utegration during

 14    that meeting about Lucasys' product roadmap?

 15          A.   We did not present at the meeting.             I think we

 16    confirmed, again, that our focus had been on tax

 17    products.     I don't recall providing any insight into a

 18    road map.

 19          Q.   Okay.    Competitive position.           Did you discuss,

 20    at all, Lucasys' competitive position within the market?

 21          A.   No, we did not.

 22          Q.   Was there any discussion around a tax

 23    accounting finance for a joint proposition?

 24          A.   Not -- no, not specifically a joint

 25    proposition.     I recall a conversation -- or as part of

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  1    the conversation, Utegration highlighting that they

  2    focus only on ASAP, and so they don't focus on the same

  3    utilities, necessarily, that we focus on, since we would

  4    focus on a broader set of utilities.                But there was no

  5    proposition made at the meeting to us.

  6          Q.   Okay.

  7                     (Exhibit 6 marked for identification.)

  8    BY MR. FAZIO:

  9          Q.   Sir, you're being handed what's been marked as

 10    Exhibit 6 to your deposition.           It's an e-mail from

 11    Mr. Bailey to you, dated 10/27/2021.

 12                     Do you see that?

 13          A.   Yes, I do.

 14          Q.   Okay.    I just want you to look down below, the

 15    first paragraph.      There's a paragraph that begins, "From

 16    the call, I noted the following highlights of Lucasys."

 17    And it lists a number of issues.

 18                     Do you see that?

 19          A.   I see that.

 20          Q.   Okay.    And I want to ask you about a couple of

 21    these, specifically.

 22                     First of all, does this refresh your

 23    recollection at all about Lucasys' presentation

 24    during -- or Lucasys -- positions Lucasys took during

 25    the meeting?

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  1          A.   I'd have to read each one, but we did describe

  2    what we were focused on at the meeting.

  3          Q.   Okay.    You say in the middle there -- you see

  4    there's not a bullet, but a dash.             It says, "You have a

  5    dual-pronged approach to customer partnerships."

  6                     What does that mean?

  7          A.   I actually don't know what that means.             I can

  8    tell you about how we work with our customers, but I

  9    don't know what that meant in this e-mail in particular.

 10          Q.   And the one down -- two down from there, "The

 11    engagement model is to identify problems, generally,

 12    with the customer."

 13                     Do you see that line?

 14          A.   I see it, yes.

 15          Q.   Do you recall seeing that during the meeting?

 16          A.   Let me read it, if you don't mind.

 17                     (Witness examining document.)

 18                     I don't recall saying that specifically,

 19    but I think, in some ways, that's accurate.

 20          Q.   Okay.

 21          A.   Yeah.

 22          Q.   And then the last bullet there, it says, "Due

 23    to the litigation, Lucasys is operating in," quote,

 24    "Half speed," closed quote, "Pending resolution."

 25                     Do you see that?

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  1          A.   I do see that.

  2          Q.   All right.     So was the litigation discussed

  3    during the meeting?

  4          A.   We were discussing our business and what we

  5    were doing in terms of marketing and sales, and so we

  6    had said that during this time period, we had a

  7    different sales and marketing approach.             I think that's

  8    what that's referring to.

  9          Q.   Okay.    Well, tell me, how did your -- how does

 10    your -- how has your sales and marketing approach

 11    changed since the litigation began?

 12          A.   Well, we've been forced to be more conservative

 13    in our resource deployment and allocation.

 14          Q.   Why is that?

 15          A.   We understood that the cost of litigation could

 16    and would be substantial.

 17          Q.   And so, when you say more conservative, what is

 18    -- what do you mean you're more conservative?

 19          A.   I mean we were spending less money on sales and

 20    marketing activities.        I also mean that, for example, we

 21    had rescinded a couple of offers for new employees, to

 22    conserve capital, things like that.

 23          Q.   Okay.    Whose offers did you rescind to conserve

 24    capital?

 25          A.   We had two -- we had two offers out to Georgia

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  1    Tech graduates in -- sometime.            I'd have to recall, but

  2    it was summer of -- sometime.           It was in the summertime.

  3    I'm just trying to recall if it was last year or the

  4    prior year, but we had to rescind both of those offers.

  5          Q.   Okay.    So other than rescinding those two

  6    summer offers, how else have you been acting in a

  7    conservative fashion?

  8          A.   So in general, we have not pursued hiring to

  9    the pace that we would have otherwise pursued.                 Yeah, we

 10    have -- we've taken less risks as a business and wanted

 11    to conserve the capital.

 12          Q.   So what I'm asking you is:               What are the other

 13    risks that you haven't taken?           What haven't you done

 14    that you would have otherwise done as a result of the

 15    litigation?

 16          A.   Yeah, so, deployed more capital into, for

 17    example, customer conferences, a website.                 So kind of

 18    all the marketing-facing items.            So we reduced our

 19    operating expenses as much as possible during

 20    litigation.

 21          Q.   Other ways, other than reducing marketing

 22    expenses, are there other ways that you've been more

 23    conservative, if any?

 24          A.   Yeah, absolutely.        We -- I mean, we -- we opted

 25    not to, you know, pay certain benefits and compensation

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  1    to our employees to conserve capital.

  2          Q.   What compensation and benefits did you forego

  3    to conserve capital?

  4          A.   Bonuses, retirement account contributions,

  5    things like that.

  6          Q.   And what year did that happen?

  7          A.   It happened, for sure, in 2021.           It may have

  8    happened in other years, as well.             I don't recall.

  9          Q.   Okay.    Anything else?

 10          A.   Yeah, I think there were -- there were quite a

 11    lot of decisions we were making in real time about what

 12    to do and what not to do.          So, for example, yeah,

 13    spending more on the technology, like the AWS

 14    infrastructure, things like that.             We were trying to

 15    keep our software development costs as lean as possible

 16    during this time.       Reducing the spend on third-party

 17    contractors during this time.           There are -- I think,

 18    like I said, we were making almost daily decisions on

 19    the business about how to really survive.

 20          Q.   And Lucasys brought this lawsuit, true?

 21          A.   Yes.    We got to a point in our business where

 22    absent bringing this lawsuit, we would not have a

 23    business.

 24          Q.   Why do you say that, sir?

 25          A.   Over a very short period of time, we had lost

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  1    very valuable customer contracts and entire customer

  2    relationships based on PowerPlan's conduct in the

  3    marketplace.

  4          Q.   Okay.    And so you -- your judgment was that it

  5    was better to invest in the litigation than invest in

  6    the business?

  7          A.   We understood that if there's no buyers of our

  8    software, there's no business.            And so we understood

  9    that until our target customers could understand that we

 10    are -- that we are not a risky purchase, it didn't make

 11    sense for us to go sell to someone who wouldn't buy.

 12          Q.   Sir, if you look down at the list -- below the

 13    list of bullets in Exhibit 6, Mr. Bailey says, "We felt

 14    the discussion was very beneficial and would like to

 15    take the next steps after a better understanding of the

 16    litigation you mentioned, to avoid any issues as we

 17    proceed."

 18                     What -- well, first of all, have there been

 19    any further discussions with Utegration -- between

 20    you -- Lucasys and Utegration?

 21          A.   I believe, perhaps, our counsel may have had a

 22    discussion with Utegration's counsel, and I think as a

 23    result of that, Mr. Bailey informed us -- or informed me

 24    that they were going to wait to have further

 25    conversations with us.

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  1          Q.   Wait until --

  2          A.   Wait until the dispute was resolved with

  3    PowerPlan.

  4          Q.   And so when was the conversation that you just

  5    mentioned?

  6          A.   With Mr. Bailey?

  7          Q.   Uh-huh.

  8          A.   I don't recall, exactly.           It would have been, I

  9    think, after a conversation with their counsel and our

 10    counsel.

 11          Q.   Okay.    So since that conversation with

 12    Mr. Bailey, have you had any other -- has Lucasys had

 13    any other contact with Utegration?

 14          A.   We have not.

 15          Q.   Do you know what documents were provided to

 16    Utegration related to the litigation?

 17          A.   I'm not aware that we provided any.            I don't

 18    know about the conversations between counsel --

 19          Q.   Okay.

 20          A.   -- but we wouldn't have provided any.

 21          Q.   I'm not asking you about anything you would

 22    have learned from counsel.

 23          A.   Okay.

 24          Q.   So aside from what you've already told me, the

 25    meeting with Mr. Bailey and the Utegration team, you

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  1    told me everything that you remember about the

  2    litigation that was discussed in that call?

  3          A.   Again, short of acknowledging that litigation

  4    occurred, there was no conversation about the

  5    litigation.

  6          Q.   Actually, before we go on, was there anybody

  7    present at the meeting that isn't listed on that e-mail?

  8          A.   (Witness examining document.)

  9                     Not that I recall.

 10          Q.   Let me switch gears a little bit.

 11                     (Exhibit 7 marked for identification.)

 12    BY MR. FAZIO:

 13          Q.   You're being handed what has been marked as

 14    Exhibit 7 to your deposition.

 15          A.   (Witness examining document.)

 16          Q.   Do you have that in front of you, sir?

 17          A.   I do.

 18          Q.   Okay.    Are you familiar with this document?

 19          A.   Yes, I am.

 20          Q.   Okay.    If you'll just turn to the last page.

 21          A.   Last page, yes.

 22          Q.   So, you see your signature appears here?

 23          A.   I do.

 24          Q.   Okay.    And you say -- here you're verifying

 25    under the pains and penalties of perjury that the

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  1    answers contained in this document were true and correct

  2    to the best of your knowledge, information, and belief

  3    as of 16 November 2021?

  4          A.   I see that.

  5          Q.   So sir, we're going to get into the specifics

  6    of a bunch of these, but I just wanted to ask you before

  7    we begin:     Is there anything that you know of from these

  8    interrogatory responses as you're sitting here right now

  9    that you know needs to be updated?

 10          A.   I don't know.

 11          Q.   Okay.

 12          A.   No.

 13          Q.   That's fine.      Well, we'll go through them

 14    individually, and we can talk through them.

 15          A.   Yeah.

 16          Q.   All right.     So let's go --

 17                     MR. ALLOY:      Just to be clear, you weren't

 18    expecting him to go through all these right now --

 19                     MR. FAZIO:      No, I just was just asking him

 20    if he knew off the top of his head.

 21                     MR. ALLOY:      Okay.

 22                     THE WITNESS:       Yeah.

 23                     MR. ALLOY:      I wanted to make sure that was

 24    the question.

 25                     THE WITNESS:       Yeah.

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  1    BY MR. FAZIO:

  2          Q.   All right.     Sir, can you go to -- let's go to

  3    Page 13.

  4          A.   (Witness complying.)

  5          Q.   I want to ask you specifically about Lucasys'

  6    response to the PowerPlan Interrogatory No. 12.

  7                     You see there, it says that --

  8    Interrogatory 12, PowerPlan asked for Lucasys to

  9    "Identify each and every defamatory statement contained"

 10    -- sorry.     Let me start again.

 11                     "Identify each and ever defamatory

 12    statement alleged or referred to in counts 9 and 10 of

 13    the Complaint, including the date of the statement, the

 14    mode of transmittal of the statement, the specific

 15    sender, and the receipt of the statement."

 16                     Do you see that?

 17          A.   I see that.

 18          Q.   Okay.    And then, below there is Lucasys'

 19    response.     And you'll see that there are four bullet

 20    points under 12.

 21          A.   (Witness examining document.)

 22          Q.   Now, we're going to go through each of these,

 23    but I wanted to ask you before we did that:              Are you

 24    aware -- as we sit here today, are you aware of any

 25    other statements that you believe that PowerPlan made

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  1    that were defamatory vis-à-vis Lucasys, other than the

  2    ones that are listed here?

  3          A.   Yes.

  4          Q.   Okay.    Tell me about those statements.

  5          A.   I'm aware of a campaign by and within PowerPlan

  6    to communicate to many utilities defamatory statements

  7    with regard to Lucasys.

  8          Q.   Okay.    And what -- are we talking about the

  9    letters that were sent out?

 10          A.   Yes.

 11          Q.   Tell me what you're talking about when you say

 12    "campaign"?

 13          A.   Yeah, so the letters come to mind, and sitting

 14    here today, I think we've become aware through this

 15    process, more than just letters, but maybe coordinated

 16    talking points, if you will, to be used in

 17    conversations.

 18          Q.   Okay.

 19          A.   Yeah.

 20          Q.   Can you identify specifically for me any of

 21    those conversations?

 22          A.   I wasn't a party to those conversations, so

 23    this was just what's kind of come through the discovery

 24    process.

 25          Q.   Okay.

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  1          A.   Yeah.

  2          Q.   So this is something that you -- to the extent

  3    you've learned of it, you've learned of it through the

  4    litigation, not from any other source?

  5          A.   I think that's generally the case.            I think

  6    prior to the litigation, we had been told that -- that

  7    there was a broad communication campaign from PowerPlan,

  8    alleging the same types of things that had been alleged

  9    to our existing customers.          So we had been aware that

 10    there was a strategy in place to do that.

 11          Q.   Let's go through these specifically, and then

 12    we'll circle back to this.

 13                     So the first bullet point there, you'll see

 14    there's an allegation about a conversation that

 15    allegedly happened on or around November 7, 2019.

 16                     Do you see that?

 17          A.   Yes, I see that.

 18          Q.   Okay.    And it refers to PowerPlan employees,

 19    Marc Botniker and John Budala and Jeff Hoersdig of AEP.

 20                     Do you see that?

 21          A.   I do see that.

 22          Q.   Okay.    First, I want to ask you:         How did you

 23    become aware of this alleged conversation?

 24          A.   My recollection is that the tax department at

 25    AEP and, in particular, the management of the tax

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  1    department had become aware of it.             Again, my

  2    recollection is that -- that -- that Jeff Hoersdig had

  3    informed the tax department of this conversation.

  4          Q.   Okay.    And so -- and who told Lucasys about the

  5    conversation?

  6          A.   I think it was one or all of the -- so

  7    Jimmy Llende, VP of tax, Kevin Keller was the director

  8    of -- in the tax department, and Kurt Mars was the

  9    managing director at the time.            One or all of them, I

 10    think, referred to this conversation.

 11          Q.   Okay.    And were any of them part of this

 12    conversation?

 13          A.   I don't know.

 14          Q.   Did you ever talk to Mr. Hoersdig about the

 15    conversation?

 16          A.   I don't recall.

 17          Q.   Did anybody from Lucasys ever try and confirm

 18    this conversation with Mr. Hoersdig?

 19          A.   We didn't see a need to confirm it with

 20    Mr. Hoersdig.

 21          Q.   So no, you -- no, no one from Lucasys ever

 22    confirmed the conversation with Mr. Hoersdig?              Is that a

 23    fair statement?

 24          A.   Well, I did not, so I --

 25          Q.   Well, there's only five people at Lucasys,

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  1    right --

  2           A.   I understand.

  3           Q.   So --

  4           A.   I understand.      But I -- so I don't know if

  5    anyone did.     I did not.       I'm not aware of anyone.

  6           Q.   Would you expect if somebody from Lucasys was

  7    inquiring of Mr. Hoersdig, that they would let you know

  8    what they heard?

  9           A.   I'm not aware of any conversations that

 10    happened between Lucasys and Mr. Hoersdig after this

 11    call.    Certainly we had conversations before that.

 12           Q.   All right.     Now, what, specifically, were you

 13    told about what PowerPlan allegedly said on this call?

 14           A.   So, we were told that PowerPlan

 15    representatives -- and I see the names here, but my

 16    recollection is that it was the head of sales and the

 17    CIO.    I don't know if those were the two individuals in

 18    those roles, but that's my recollection now, is that it

 19    was the head of sales and the CIO at PowerPlan who was

 20    making statements to Mr. Hoersdig and, later, to the

 21    individuals in the tax department that I named, stating

 22    that Lucasys was stealing trade secrets, PowerPlan trade

 23    secrets, presumably.

 24           Q.   Okay.   Well let's go through this one sentence

 25    at a time.

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  1          A.   Sure.

  2          Q.   You say -- in the first sentence here, you're

  3    saying that during the phone call -- that there was a

  4    conversation that Lucasys potentially violated AEP's

  5    contractual obligations to PowerPlan, among other

  6    things.

  7                     Do you see that?

  8          A.   (Witness examining document.)

  9                     Yes, I see that.

 10          Q.   Okay.    "Using PowerPlan potentially violated

 11    AEP's contractual obligations to PowerPlan amongst other

 12    things."

 13          A.   Using Lucasys.

 14          Q.   I'm sorry, yes.       Sorry.      Using Lucasys?

 15          A.   Yes, I see that.

 16          Q.   Okay.    So is that -- when that expressed that

 17    to AEP, is there anything that is demonstratively false

 18    about that?

 19          A.   Well, so we understood that -- that PowerPlan

 20    was seeking to exclude Lucasys from working with AEP

 21    based on the contractual language that they purported to

 22    have with AEP, and we understood that the reason was

 23    because PowerPlan believed, or at least stated, that we

 24    were stealing trade secrets.

 25          Q.   Okay.    So let's -- the end of that sentence

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  1    there -- the sentence ends with, comma, "Among other

  2    things."

  3                      Do you see that?

  4          A.   I see that, yes.

  5          Q.   Okay.    What were the "among other things" that

  6    you were referring to there?

  7          A.   Well, I think it's namely that, that -- that

  8    the communication from PowerPlan to AEP was that Lucasys

  9    was doing something illegal.

 10          Q.   Okay.    So who -- who told you that PowerPlan

 11    said that Lucasys was doing something illegal?

 12          A.   Well, that Lucasys was stealing trade secrets,

 13    which I presume may be illegal.            That's what I mean

 14    by --

 15          Q.   I'm just asking -- I want to know what the

 16    words were that you heard.          I'm not asking for --

 17          A.   No, I understand.

 18          Q.   -- anything other than that.             So we're in the

 19    conversation on or about November 7, 2019 --

 20          A.   Yes.

 21          Q.   -- with Mr. Budala, Botniker, and Hoersdig.

 22          A.   Yes.

 23          Q.   What have you been told about what,

 24    specifically, PowerPlan said during that conversation?

 25          A.   Again, we were told that the substance of the

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  1    communication was that Lucasys was behaving

  2    improperly -- maybe I'll say it that way -- with

  3    PowerPlan's trade secrets, stealing those trade secrets

  4    or misappropriating them somehow, and that based on

  5    AEP's contract with PowerPlan, that that was somehow

  6    either a breach of contract or -- or that PowerPlan had

  7    a reason to exclude Lucasys from that relationship based

  8    on that contract.

  9          Q.   Okay.    Let's look at the next sentence.

 10          A.   Okay.

 11          Q.   It says, "Lucasys has reason to believe that

 12    PowerPlan's employees told Mr. Hoersdig," comma, and

 13    then it says, "And other AEP employees that Lucasys was

 14    stealing trade secrets during that call and during a

 15    subsequent meeting."

 16          A.   Yes.

 17          Q.   So let's break this the down.

 18                      So on the call, as far as you know, it was

 19    just Mr. Hoersdig, Botniker, and Budala, correct?

 20          A.   I don't know who else was on that call.

 21          Q.   Okay.    Well, what was reported to you?           When it

 22    was described -- the call was described to you, did they

 23    describe anybody else being on the call?

 24          A.   I don't think they gave me a list of everyone

 25    on the call.      I think they indicated who was speaking

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  1    and who was receiving that information.

  2          Q.   Okay.    And you personally were not part of the

  3    call, correct?

  4          A.   I was not personally part of that call.

  5          Q.   Okay.    And what you know about it comes from, I

  6    think you mentioned Mr. Llende, Mr. Mars, and there was

  7    one other person?

  8          A.   Mr. Keller.

  9          Q.   Okay.    You say, "In other -- so the last

 10    sentence, "Lucasys has reason to believe that

 11    PowerPlan's employees told Mr. Hoersdig and other

 12    employees that Lucasys was stealing trade secrets during

 13    the call and during the subsequent meeting."

 14                     Do you know when this subsequent meeting

 15    occurred -- allegedly occurred?

 16          A.   My understanding at the time was that it was in

 17    close proximity to the initial conversation.

 18          Q.   Do you know who participated in that meeting?

 19          A.   My understanding was that it was a wider

 20    audience and that, at least, Jimmy Llende was a

 21    participant of that subsequent meeting.

 22          Q.   Okay.    And how did you learn about the

 23    subsequent meeting?

 24          A.   From one or more of those individuals that I've

 25    listed already.

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  1          Q.   Okay.

  2          A.   Yes.

  3          Q.   And so what is it that you understand happened

  4    during that meeting?

  5          A.   My understanding is that during that subsequent

  6    meeting, that PowerPlan made the same or similar

  7    statements that they had done with the initial

  8    conversation.      And in that subsequent meeting, they had

  9    specifically identified Lucasys as the company that was

 10    causing AEP to be in some kind of violation of their

 11    agreement.

 12          Q.   Okay.    So -- and who told you that information

 13    specifically?

 14          A.   I think I heard it probably from more than one

 15    person.

 16          Q.   Okay.

 17          A.   Yeah.

 18          Q.   Which people told you that?

 19          A.   So again, Jimmy Llende, Kurt Mars, Kevin

 20    Keller.

 21          Q.   Okay.    And when did they tell you that?

 22          A.   In or around that same -- when the meeting

 23    happened.     We were actively engaged at AEP, and so we

 24    were interfacing with those individuals daily.               So it

 25    was in real time, not during the meeting, but certainly

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  1    within days.

  2          Q.   And what did you do in response?

  3          A.   Well --

  4          Q.   If anything?

  5          A.   -- I think this was maybe a week after we had

  6    received a cease and desist letter from PowerPlan, and

  7    so we had already engaged counsel.             So we shared that

  8    information with counsel.

  9          Q.   Okay.    Did you do anything else?

 10          A.   I recall -- I don't recall doing anything in

 11    particular.     I just recall conversations with the

 12    business, kind of confirming what we were and weren't

 13    doing at AEP.

 14          Q.   Okay.    And who did those conversations happen

 15    with?

 16          A.   The same individuals.          So it would have been

 17    Kurt, Jimmy, Kevin.

 18          Q.   Okay.    And how did they respond to you?

 19          A.   How did they respond?          I think -- I think they

 20    were shocked to have had those conversations with

 21    PowerPlan, but in agreement with the scope and nature of

 22    our services at AEP.        I mean, they were the ones we were

 23    working with.

 24          Q.   And did they express support for Lucasys?

 25          A.   I think they expressed concern for AEP.

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  1          Q.   Okay.    Well, describe that for me.          In what way

  2    did they express concern for AEP?

  3          A.   Well, I recall them -- one or more of them

  4    stating that AEP uses a number of third parties in its

  5    accounting and tax functions and that the conversation

  6    with PowerPlan created a risk for AEP that PowerPlan may

  7    have -- may have that same allegation or conversation

  8    with any one of their other third-party providers that

  9    were critical to running their business.

 10          Q.   Well, following that conversation, did AEP do

 11    anything to -- you continued to work with -- strike

 12    that.

 13                     Lucasys continued to work for AEP following

 14    those conversations, true?

 15          A.   We've had some type of working relationship

 16    with AEP since that time, yes.

 17          Q.   In fact, you've billed AEP almost

 18    since the beginning of your relationship with them?

 19          A.   I don't know how much we've billed AEP since

 20    the beginning of our relationship with them.

 21          Q.   Is it something like -- in the ballpark?

 22                                              ?

 23          A.   Again, I don't know how much.            We've certainly

 24    had engagements in that size.

 25          Q.   So after this -- after you spoke with the AEP

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  1    tax folks about this conversation that alledgedly

  2    occurred between PowerPlan and AEP, was there any

  3    discussion of the Lucasys/PowerPlan situation with AEP?

  4          A.   Was there any discussion with AEP related to

  5    the Lucasys/PowerPlan dispute?

  6          Q.   Yeah.

  7          A.   So, again, there was a conformation that the

  8    scope of our services didn't create any risk to

  9    PowerPlan's trade secrets.          I think there was a

 10    conversation about that.         And there was a larger

 11    conversation about a technology proposal that we had

 12    provided to AEP and -- which they had selected for us to

 13    move forward on.

 14          Q.   Okay.    Well, we're going to talk about the

 15    second thing in a minute --

 16          A.   Okay.

 17          Q.   -- but let's just circle back to this

 18    confirmation that they -- so AEP -- I want to make sure

 19    I heard what you said correctly.

 20                     So AEP confirmed to Lucasys that Lucasys'

 21    work did not indicate any trade-secret issues?

 22          A.   They confirmed that they were comfortable with

 23    the services that we were providing, despite the dispute

 24    or allegations.

 25          Q.   Okay.    We're going to -- were going to circle

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  1    back to AEP situation --

  2                     THE VIDEOGRAPHER:         I just need to change

  3    tapes very briefly.       It will take, like, ten seconds.

  4    Is that okay?

  5                     MR. FAZIO:      Yes.

  6                     THE VIDEOGRAPHER:         All right.    Off the

  7    record at 11:57 a.m.

  8                     (Off the record.)

  9                     THE VIDEOGRAPHER:         All right.    This begins

 10    Media Unit No. 2.       We're back on the record at

 11    11:57 a.m.

 12    BY MR. FAZIO:

 13          Q.   So other than -- just to close this situation

 14    out, other than what we've already talked about, are you

 15    aware of any other statements that you claim PowerPlan

 16    made to AEP that were defamatory?

 17          A.   We understood that the statements continued

 18    periodically in the months that followed.

 19          Q.   Okay.    Can you give me a specific example of

 20    when such statements were made?

 21          A.   I think at some point we were told that AEP had

 22    received a letter -- well, if I take a step back.

 23                     The meeting that we had talked about before

 24    the break, the larger meeting, the feedback from that

 25    was that Jimmy had told PowerPlan representatives to,

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  1    essentially, put it in writing, right.              So, to not just

  2    state their allegations, but to put those in writing.

  3    And so then I think we heard sometime later that AEP had

  4    received some kind of written letter to that effect.

  5          Q.   Okay.    Anything else that you think was -- any

  6    other communications from PowerPlan, that you know of,

  7    that you think were defamatory?

  8          A.   Related to AEP, or just generally?

  9          Q.   Well, let's talk about AEP first.            We'll go

 10    through everything, so --

 11          A.   Okay.

 12          Q.   -- let's focus on AEP.

 13          A.   So, we understood that for a brief period of

 14    time when we tried to work with PowerPlan to resolve the

 15    dispute, and then subsequent to our initiating the

 16    lawsuit, we -- that seemed to restrain PowerPlan's bad

 17    conduct, so to speak.        So we heard less instances,

 18    having filed a lawsuit, of defamatory statements being

 19    made.

 20          Q.   So what I'm asking, though, vis-à-vis AEP --

 21          A.   Yeah.

 22          Q.   -- specifically --

 23          A.   Uh-huh.

 24          Q.   -- are there any other statements that we

 25    haven't already talked about?           You mentioned the letter.

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  1    We know about the letter.

  2          A.   There may have been more than one letter.              We

  3    understood that there was continuing dialog asserting

  4    the same claims up until the time we had filed the

  5    lawsuit.    And I think that included the week we filed a

  6    lawsuit.    I think that was -- I recall, even, a sense of

  7    urgency to file, because the false statements were

  8    continuing even the week that we filed the lawsuit.

  9          Q.   Now, sir -- but to be clear, AEP has continued

 10    to engage Lucasys in various projects since then, right?

 11          A.   In limited projects since then, that's correct.

 12          Q.   Okay.    Well, we're going to get to whether they

 13    were limited or not, but anything else about AEP

 14    specifically, just about AEP?           Any other defamatory

 15    statements that you're aware of -- specific statements

 16    that you're aware of, related to AEP or that were made

 17    to AEP?

 18          A.   As I sit here at this moment, I don't recall,

 19    but there may have been more.

 20          Q.   All right.     So the next bullet down, you'll see

 21    it says, "On around November 8th, 2019, during a

 22    conversation, a representative of PowerPlan stated to

 23    Leo Quintana, and possibly others of NextEra that

 24    Lucasys was stealing trade secrets."

 25                     Do you see that?

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  1          A.   I do see that.

  2          Q.   Okay.    First of all, how did you come to learn

  3    of this alleged conversation?

  4          A.   We learned about this -- our -- our existing

  5    engagement and customer relationship was terminated

  6    suddenly on a Friday afternoon with a form letter from

  7    -- from NextEra, without warning.             That same afternoon,

  8    on a phone call with our business representative at

  9    NextEra, we were told that representatives of PowerPlan

 10    had made these statements to Leo Quintana and others.

 11          Q.   Okay.    And who is the business representative

 12    that made this representation to you?

 13          A.   So, that was Marie Hippert.

 14          Q.   Okay.    And did Ms. Hippert represent that she

 15    had been part of these conversations?

 16          A.   I don't recall, but she represented that she

 17    was very familiar with them.           So she was in charge of

 18    tax technology at NextEra, so she would have been either

 19    in or very familiar with those conversations.

 20          Q.   All right.     I want you to tell me everything

 21    that you can remember that Ms. Hippert told you about

 22    this alleged conversation on November 8, 2019.

 23          A.   Yeah, so I remember that -- I believe I had

 24    texted Marie, maybe, or called her, but I didn't get a

 25    -- I wasn't able to connect with her.               She had called me

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  1    back.    But she called me later that Friday, because I

  2    had reached out to her, and she had said, Hey, I'm sorry

  3    that we had to cancel the contract like this.               It's out

  4    of my hands.     It's an IT decision.          PowerPlan said that

  5    you were -- with your access at NextEra, you were

  6    stealing trade secrets and using that --

  7    misappropriating those somehow to build software.

  8                     I recall her saying that PowerPlan had

  9    stated that they had taken legal action against Lucasys.

 10    I remember that in particular, because I had clarified

 11    for Ms. Hippert that actually, we had -- there had been

 12    no legal action taken.        We had received a letter from

 13    PowerPlan.

 14                     And I recall Ms. Hippert just saying that,

 15    We're sorry but there's nothing we could do,

 16    essentially, that we had to cancel the contract based on

 17    what PowerPlan told us.

 18          Q.   So did she identify the person -- the, quote,

 19    representative, unquote, of PowerPlan that allegedly

 20    made these statements?

 21          A.   My understanding was that there were multiple

 22    representatives of PowerPlan, but I don't recall her

 23    providing names.

 24          Q.   So you can't tell me today who was -- from

 25    PowerPlan was part of this conversation?

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  1          A.   If she told me, I don't recall.

  2          Q.   Okay.    Was there anyone other than Mr. Quintana

  3    involved in this alleged conversation?

  4          A.   So Ms. Hippert may have been, I don't recall.

  5    Again, she was giving me her firsthand account of those

  6    conversations, but I don't know if she was in -- I don't

  7    even know if there was only one conversation.               There may

  8    have been more.      But she had specifically referenced a

  9    conversation, and I recall her mentioning Leo's name.

 10          Q.   And how did you know whether this conversation

 11    happened on or around November 8th, 2019?

 12          A.   Well, I don't know what day of the week that --

 13    November 8th is.       We'd have to look it up, but the

 14    Friday -- the first Friday in November was the day that

 15    the contract was terminated.           Well, that first full week

 16    in November, and so that would have been the day that I

 17    spoke with Ms. Hibbert and my understanding was that the

 18    conversation -- I think she must have given me the date;

 19    that's why we have it here.           But the conversations were

 20    happening during that week.

 21                     I recall, for example, that she had been

 22    asked of her -- internally, the question regarding

 23    whether Lucasys had informed her that PowerPlan had

 24    taken legal action against Lucasys, and that her

 25    response was that, no, Lucasys had not informed her, to

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  1    that effect, and that that contributed to their

  2    termination of the contract.

  3          Q.   But she never identified who these people from

  4    PowerPlan were?

  5          A.   I don't recall.

  6          Q.   Okay.    Did you do anything -- or anyone from

  7    Lucasys ever do anything to reach out to Mr. Quintana

  8    and find out from someone who participated in the

  9    meeting what was said?

 10          A.   Yes.    So we did follow up with a couple of

 11    e-mails through the supply chain organization that was

 12    managing the contract.        I believe the first went

 13    un-responded to, and then at some point, they said, We

 14    can't discuss, based on the dispute or something.                We

 15    can't give you any details.

 16          Q.   And so, would those -- so your recollection is

 17    that somebody from NextEra sent you an e-mail that said

 18    that they couldn't discuss it with you because of --

 19    they couldn't give you any details?

 20          A.   Yes.    So the individual from supply chain that

 21    sent us the term -- contract termination letter, that it

 22    was that individual who said that because of -- of the

 23    legal issues or the dispute or something to that effect,

 24    that they can't provide any -- they can't give us any

 25    information.      We were trying to get context, because we

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  1    understood that this was at least the second Lucasys

  2    customer that -- where these communications were had,

  3    and we understood that our entire business was now at

  4    risk, that it wasn't a one-off conversation with AEP,

  5    that this was a pattern.         And so we were trying to

  6    understand what led NextEra to make this decision

  7    without having consulted with Lucasys.

  8           Q.   Did you ever just pick up the phone and called

  9    Mr. Quintana?

 10           A.   I don't know if I had Mr. Quintana's contact

 11    information.

 12           Q.   Did you ever ask Ms. Hippert for it?

 13           A.   Well, my understanding was that the

 14    relationship was terminated.           So the supply chain e-mail

 15    stated, in no uncertain terms, that there's no more

 16    relationship between NextEra and Lucasys.

 17           Q.   Okay.    And that was an e-mail that was sent to

 18    you?

 19           A.   Yes.

 20           Q.   Let's talk about Liberty, the next bullet down.

 21    "April 23, 2020, during a telephone conversation, a

 22    PowerPlan agent stated to Luisa Reed of Liberty

 23    Utilities that Lucasys was misappropriating confidential

 24    information and stealing trade secrets."

 25                       First of all, how is it that you came to

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  1    learn of this alleged conversation?

  2           A.   I was part of a conversation with Ms. Reed --

  3    with Luisa Reed when she described that telephone

  4    conversation.

  5           Q.   Okay.   And who was the PowerPlan agent?

  6           A.   I don't recall if she stated to us who that

  7    was.

  8           Q.   Was it a PowerPlan employee?

  9           A.   That's my understanding.

 10           Q.   Okay.   So do you know why it says "agent" here?

 11           A.   I don't know the difference between -- I don't

 12    know why that says "agent."           My understanding is that it

 13    was a representative of PowerPlan.

 14           Q.   So you had a specific conversation with

 15    Ms. Reed --

 16           A.   Uh-huh.

 17           Q.   -- about this conversation?

 18           A.   Yes.

 19           Q.   Okay.   And did she tell you during that

 20    conversation that -- the identity of the person from

 21    PowerPlan who had contacted her?             Whether or not you can

 22    recall it today, I'm asking you if she told you?

 23           A.   Yeah, so I recall that she told that there --

 24    it was not a one-on-one conversation; it was a group.

 25    So there were people from PowerPlan and from Liberty --

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  1          Q.   Okay.

  2          A.   -- on a call, where PowerPlan made statements

  3    to Liberty about Lucasys misappropriating trade secrets

  4    and how it was improper for Liberty to contract with

  5    Lucasys.

  6          Q.   Okay.    What else did she tell you about it?

  7    Did she tell you who else from Liberty was on that call?

  8          A.   Did she?     The name escapes me, but I believe

  9    there was another woman who was in charge of the project

 10    as a whole, who was on that call.             I don't recall.     I

 11    recall it was the project team.            So this was in the

 12    context of next project, so it would have been the

 13    project leadership team for that project.

 14          Q.   Okay.    So you think it was -- as you understand

 15    it, there was more than one Liberty person and more than

 16    one PowerPlan employee involved in this conversation?

 17          A.   That was my understanding.

 18          Q.   Have you done anything to confirm the content

 19    of this alleged communication?

 20          A.   Have we done anything to confirm the content?

 21    I mean, we spoke with Ms. Reed, who was part of that

 22    conversation.

 23          Q.   Okay.    So this was the one conversation -- you

 24    had one conversation with Ms. Reed about this?

 25          A.   I personally had one conversation, I believe.

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  1    I believe other Lucasys employee had multiple

  2    conversations.

  3          Q.   Okay.    What other Lucasys employees would have

  4    had conversations with Ms. Reed?

  5          A.   I believe that Mr. Chang had more than the one

  6    conversation with either Ms. Reed or other members of

  7    that project team.

  8          Q.   Okay.    Based on your personal knowledge, beyond

  9    what we see here and what you've just told me, you don't

 10    know anything about this alleged April 23, 2020,

 11    conversation?

 12          A.   No, that's not correct.

 13          Q.   Okay.    What else did you know about it?

 14          A.   So, Ms. Reed stated that she had asked the

 15    PowerPlan representatives on the call whether Liberty

 16    would be able to work with Lucasys on future engagements

 17    outside of the project in question, and that the

 18    response to Ms. Reed was that if Liberty chose to

 19    contract with Lucasys, and if at any time in the future

 20    Lucasys developed competing software, that that would

 21    put Liberty at risk, because Lucasys may have

 22    misappropriated or stolen trade secrets while they were

 23    engaged with Liberty.

 24          Q.   Okay.    Anything else you remember from that

 25    conversation?

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  1          A.   I remember her being apologetic, again, about

  2    having to terminate the contract.             I remember that --

  3    that after that conversation, or as part of that

  4    conversation, it was indicated that our involvement with

  5    the project would cease immediately.                And, again, this

  6    was -- this conversation with Ms. Reed happened

  7    immediately after a short time period when we tried to

  8    resolve the dispute with PowerPlan without litigation.

  9    So, immediately after that, this conversation occurred

 10    and confirmed to us that there was a broad strategy to

 11    make such statements to every Lucasys customer, this

 12    being now the third one, at least.

 13          Q.   All right.     So sir, last bullet point here, you

 14    see down -- at the very last one, it says, "On or around

 15    May 29, 2020, during a telephone conversation, Joe" --

 16    it says Gomes here, "And Brett Burts on behalf of

 17    PowerPlan stated to Mohamad Zarhuni -- did I say that

 18    right?

 19          A.   I believe that's right.

 20          Q.   "And Michael Salas of SUEZ, that Lucasys was

 21    misappropriating confidential information."

 22          A.   (Nodding yes.)

 23          Q.   First of all, can you tell me, how did you come

 24    into this information, this alleged conversation?

 25          A.   So, I believe we learned about this

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  1    conversation from a couple of different avenues.               I

  2    believe that -- well, my personal knowledge of it came

  3    from a conversation with Mr. Salas, subsequent to this

  4    conversation, but I believe that Mr. Zarhuni had at

  5    least one conversation with Mr. Chang about this

  6    conversation, as well.

  7          Q.   Okay.    And Mr. Zarhuni, he goes by "Rali"?

  8          A.   He does.

  9          Q.   Okay.    So you had a direct conversation with

 10    Mr. Salas, where you addressed this issue about the

 11    telephone conversation on or about May 29, 2020?

 12          A.   That's correct.       I think it was a wider -- it

 13    was not just me and Mr. Salas, I believe there were

 14    other SUEZ representatives and may have been other

 15    Lucasys representatives.

 16          Q.   Okay.    Let's focus on this conversation.            What

 17    did he tell you about this alleged telephone

 18    conversation with Mr. -- it says "Gomes."              I'm pretty

 19    sure that it's supposed to refer to Gomes?

 20          A.   Gomes.    Uh-huh.     Sorry.

 21          Q.   -- and Mr. Burts.        What did he tell you about

 22    that conversation?

 23          A.   He described that conversation as being very

 24    similar to the conversations we heard from the other

 25    customers, but specifically that PowerPlan leadership,

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  1    executive leadership, had connected with SUEZ leadership

  2    to make claims of misappropriation, trade secrets

  3    infringement by Lucasys related to the PowerPlan

  4    software, and that SUEZ's use of Lucasys was either

  5    improper or some -- or a breach of their agreement.

  6          Q.   Okay.    Anything else he told you about it?

  7    About this alleged conversation?

  8          A.   Well, I recall Mr. Salas describing the

  9    critical nature of the project that we were doing at the

 10    time, and that he didn't want any disruption to that

 11    project.    I recall confirmation, again, about scope of

 12    what is Lucasys doing versus what is Lucasys not doing,

 13    right, so -- and I understood that SUEZ would be

 14    continuing conversations with PowerPlan on this matter

 15    to try to maybe clarify what Lucasys was or wasn't

 16    doing.

 17          Q.   And following this conversation, Lucasys

 18    remained engaged at SUEZ, true?

 19          A.   I believe we continued that project, but we

 20    don't currently have any relationship with SUEZ.

 21          Q.   And did they -- has anybody from SUEZ told you

 22    why you don't have a current relationship with them?

 23          A.   Well, we understood during that conversation

 24    that that project was too critical to cancel, and I

 25    recall Mr. Zarhuni, at one point, making a statement to

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  1    the effect of, If we knew this was an issue before this

  2    project, we may have gone with another vendor.

  3          Q.    But I want to -- I'm asking you a specific

  4    question now.       Has anybody from SUEZ told you that

  5    you're not engaged there currently because of anything

  6    that PowerPlan has done?

  7          A.    Again, I'm stating that SUEZ indicated that

  8    they would not have contracted with Lucasys had they

  9    known the dispute would arise.

 10          Q.    All right.     And that was almost a year before,

 11    true?    It took you about a year to do the SUEZ project?

 12          A.    That's probably true, but I don't know how far

 13    in we were in May of 2020.

 14          Q.    Okay.    But the question I asked you was

 15    specific.     Nobody from SUEZ has told you that they're

 16    not engaging with you today because of the PowerPlan

 17    situation.     Is that a true statement?

 18          A.    We don't know why SUEZ is not engaging with us

 19    today.     We only know that SUEZ indicated they would not

 20    have engaged with us if they had known --

 21          Q.    Have you asked them?

 22          A.    -- that this would --

 23          Q.    I'm sorry.

 24          A.    Sorry?

 25          Q.    I'm sorry I interrupted you.

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  1                      Have you asked them why they're not engaged

  2    with you right now?

  3           A.   We've given them proposals for engagement, yes.

  4    We don't typically ask our customers, you know, all the

  5    reasons that they say no to proposals.

  6           Q.   They've invited proposals from Lucasys since

  7    the end of this -- the large project you were working

  8    on?

  9           A.   Well, I think there were some pending

 10    proposals, as of this date, that we continued to try to

 11    work through.

 12           Q.   But I'm saying even -- even today, has Lucasys

 13    been invited to bid on any SUEZ work?

 14           A.   No.   I mean -- I mean that the proposals that

 15    we had in place at the time of this conversation, that

 16    we were not able to engage --

 17           Q.   We'll get back -- we'll get into those in a

 18    bit.

 19           A.   Okay.   It's almost 12:30.         Do you want to take

 20    a lunch break?

 21                      MR. ALLOY:     Yeah, it's up to you.        If you

 22    want to go a little longer, maybe that works --

 23                      MR. FAZIO:     It's actually kind of a logical

 24    spot to --

 25                      MR. ALLOY:     Okay.     Yeah, so let's break.

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  1                     MR. FAZIO:      -- break.

  2                     MR. ALLOY:      Yes.

  3                     MR. FAZIO:      Can we do, like, 45?        Or is

  4    that too tight?

  5                     MR. ALLOY:      It might be a little tight, but

  6    we'll try.

  7                     MR. FAZIO:      Let's say an hour, but if we

  8    can do it closer --

  9                     MR. ALLOY:      Yeah.     Yeah, yeah.

 10                     THE VIDEOGRAPHER:         Okay.    Off the record at

 11    12:20 p.m.

 12                     (Off the record.)

 13                     THE VIDEOGRAPHER:         All right.    Back on the

 14    record at 1:15 p.m.

 15    BY MR. FAZIO:

 16          Q.   All right.     Sir, let's switch gears just a

 17    little bit.     I want to ask you:         Has Lucasys developed a

 18    product roadmap for its software products?

 19          A.   We have contemplated a number of products, so

 20    what -- I'm not sure if I'm understanding your question.

 21          Q.   Well, you said -- do you have a document, for

 22    example, that outlines Lucasys plans in terms of

 23    software development from this point going forward?

 24          A.   I think we probably have documents based on

 25    individual products.        I don't know that we have a -- I

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  1    don't know if we have a comprehensive product roadmap

  2    document.

  3          Q.   Okay.    And as we sit here today what, are the

  4    software products that Lucasys has developed?

  5          A.   We have at least four customer-facing products

  6    and then a couple of other technology tools that we've

  7    developed, so those exist.          Those -- those products are

  8    the Copilot software.        They are what we call Nova --

  9    which is N-O-V-A -- tax basis balance sheet automation.

 10    A deferred tax solution, and currently in progress is a

 11    depreciation solution.        And then outside of those

 12    customer-facing products, we have some tool kits that

 13    we've developed for customer acquisition, marketing

 14    purposes, as well as a analytic solution that's intended

 15    for our -- to enable our services.

 16          Q.   And as we sit here today, has -- has any

 17    software product that has been developed by Lucasys been

 18    licensed by any client?

 19

 20

 21

 22

 23

 24

 25          A.   (Nodding yes.)

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  1          Q.   So they're licensing that software from you?

  2          A.   They have -- so, yes.          That's the goal, is that

  3    with the completion of this project, that they would

  4    begin their license of that software at the completion

  5    of this project.

  6

  7

  8

  9

 10

 11          Q.   Okay.    And when the -- is this a project that

 12    is currently underway?

 13          A.   It is.

 14

 15

 16

 17

 18

 19

 20

 21          Q.   Okay.    I promise you, we're going to get to

 22    those.

 23          A.   Sure.

 24          Q.   We're going to get to them.

 25          A.   Yeah.

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  1          Q.   So let me ask you about Copilot.            First of all,

  2    is Copilot -- at this point, is it fully developed and

  3    ready for deployment at customers?

  4          A.   It is.    So, Copilot has a configuration

  5    component, right, that depends on the customers's

  6    business processes data.         And so there's -- there is

  7    some amount of configuration and surrounding development

  8    that is project specific.

  9          Q.   Has Lucasys attempted -- so we're -- we've

 10    talked about AEP.       We've talked about NextEra.          We've

 11    talked about Liberty, the big four that we were dealing

 12    with earlier, but aside -- setting those aside for a

 13    moment, has Lucasys attempted to sell Copilot to any

 14    other -- or licensed Copilot to any other customers?

 15          A.   Yes.

 16          Q.   Okay.    What other customers have you attempted

 17    to license it to?

 18          A.   So we performed demos of the Copilot product

 19    and had conversations with a number of companies.

 20

 21

 22

 23                                                                          I

 24    know we demoed our other products, and I believe Copilot

 25    was part of that demonstration there, as well.               There

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  1    may have been others.

  2          Q.   In -- after these demos, has there been any

  3    feedback given to you by any of these customers as to

  4    why they were electing not to license it?

  5          A.   We've had general feedback from customers about

  6    why they were choosing not to pursue engagements with

  7    Lucasys at this time.

  8          Q.   Okay.    And tell me about those conversations.

  9          A.   So, in -- so, we interact with our customers

 10    through a couple different mediums; it's the demos that

 11    we talked about, but we also engage with customers at

 12    various industry conferences and the like, and so -- so,

 13    in particular,              comes to mind, where we had

 14    performed a number of product demos.                The feedback that

 15    we got was that they need to wait until the -- the

 16    cloud, the legal cloud, had lifted.

 17          Q.   Okay.    Did they give you any other explanations

 18    as to why they weren't interested in Copilot?

 19          A.   No, they did not.

 20          Q.   And the implementation of Copilot at

 21    would that have been related to the PowerPlan product?

 22          A.   I think at               we had proposed or demoed a

 23    number of solutions jointly.           I believe we had showed

 24    them the deferred tax solution, as well.                So I don't

 25    recall if we had identified the specific business

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  1    processes that              may have used Copilot for.

  2          Q.   And are there products out there that compete

  3    with Copilot?

  4          A.   There are certainly products that help with

  5    automation.     Copilot is much more of a focused solution

  6    that seeks to take processes out of Excel and other

  7    manual processes and automate them.                 So I would say the

  8    closest competitor to Copilot is Excel.

  9          Q.   So, I did want to circle back to our discussion

 10    about NextEra.      There's a -- if you look at Page 6,

 11    Lucasys' response to Interrogatory No. 6.

 12          A.   I'm sorry, where are we -- are we on --

 13          Q.   Page 6 --

 14          A.   Of the same document --

 15          Q.   Yeah, Exhibit 7.

 16          A.   -- that we were on?

 17                     Exhibit 7, Page 6.          Okay.      I'm here.

 18          Q.   Okay.    Do you see down at the first bullet

 19    point, under where it says, "Copilot," the last sentence

 20    says, "But for PowerPlan's actions, Lucasys would have

 21    licensed Copilot at the completion of the NextEra

 22    contract."

 23                     Do you see that?

 24          A.   I see that.

 25          Q.   So at the time that NextEra canceled its

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  1    contract with Lucasys, did -- had NextEra already

  2    entered into a licensing agreement with you for the

  3    Copilot product -- or with Lucasys for the Copilot

  4    product?

  5          A.   So, this indicates that the licensing agreement

  6    would have come at the completion of the existing

  7    contract.

  8          Q.   So it did not exist as of the time the contract

  9    was terminated?

 10          A.   So, during that contract we had completed a

 11    design phase for Copilot, we had begun a build phase for

 12    Copilot.    We had identified additional business

 13    processes in scope, and I believe we were right at the

 14    point where we had come to an agreement on a expansion

 15    of the project or project change order related to those

 16    additional -- so, in summary, NextEra had committed to

 17    pursuing the Copilot solution, had begun to invest money

 18    to that end, and the licensing occurs or starts once the

 19    product is deployed to the end user.

 20          Q.   Okay.    And had you reached an agreement with

 21    NextEra as to how much it was going to cost?

 22          A.   We had provided the pricing information to

 23    them, yes.

 24          Q.   Okay.    And had they agreed to the pricing?

 25          A.   Yeah, they had continued the project to

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  1    implement the software, knowing the pricing information.

  2          Q.   So, let's go down.         The next bullet point

  3    there, it's a reference to the deferred tax product?

  4          A.   Yes.

  5          Q.   Okay.    And tell me, you mentioned                 is one

  6    that you've demoed this product to.

  7                      What other customers have you demoed the

  8    deferred tax product to?

  9          A.

 10

 11

 12                                                            I think we

 13    may have had an informal demo with NextEra.              I recall we

 14    proposed the deferred tax solution for some of their

 15    transition -- I'm sorry, transmission companies where

 16    they were looking for a technology solution, so I recall

 17    that occurring.      Like, there were a number.          We are --

 18    again, our approach has always been to start our

 19    customer relationships, provide good services, and then

 20    provide options for the customer in terms of products in

 21    the context of those relationships.

 22          Q.   Is the deferred tax product, is it a complete

 23    saleable product, as of today?

 24          A.   Yes, it is.

 25          Q.   And so are there features and functions of it

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  1    that you intend to include that don't currently exist

  2    within the product?

  3          A.   I think any software has -- I think you

  4    mentioned a roadmap, so some kind of opportunity to

  5    improve upon the existing features and functions.                So I

  6    think there's -- I think we would contemplate, with any

  7    of or solutions, that we would continue to invest into

  8    them and make them better.

  9          Q.   And this particular tax product, is it -- do

 10    you consider it a replacement for any PowerPlan software

 11    module?

 12          A.   We believe that the deferred tax solution that

 13    we offer would provide the technology solution for

 14    deferred tax requirements.          Now, to the extent

 15    PowerPlan's PowerTax software meets any of those

 16    requirements, this certainly would be, or could be,

 17    considered a replacement; however, the Lucasys deferred

 18    tax solution, I believe, has much more functionality

 19    than, let's say the equivalent PowerTax solution.

 20          Q.   So when you market to potential customers, do

 21    you say to them, If you adopt deferred tax, you can drop

 22    -- you can drop PowerTax?

 23          A.   So, we tell them that if you adopt Lucasys

 24    deferred tax, you can use any tax depreciation software

 25    that you choose.       That may be PowerTax.        It may be any

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  1    of the other software vendors that create tax

  2    deprecation software.

  3          Q.   In Lucasys' deferred tax product, does it -- if

  4    you have an existing PowerTax customer, does the

  5    deferred tax product require information from the

  6    PowerTax module to operate?

  7          A.   The deferred tax product requires data from the

  8    customer related to its tax fixed assets, regardless of

  9    where that data is sourced.           It also, similarly,

 10    requires the accounting data, again, regardless of where

 11    that data source.

 12          Q.   So if it needs to get the data from a PowerPlan

 13    data table, how does it go about getting it?

 14          A.   So, our general strategy for getting data into

 15    and out of any Lucasys product is to allow the end users

 16    to configure what that looks like.             So, I'm not involved

 17    in the software development, so I'm going to try to

 18    explain it in, like, layman's term, as I understand it,

 19    but it's allowing the users of the application to

 20    configure the connections that they need to their other

 21    databases, or wherever the data is coming from; files,

 22    locations, past, things like that.

 23          Q.   And so that's something that the end user does?

 24          A.   Either the end business user, or in conjunction

 25    with the utilities' internal IT function.

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  1          Q.   Same -- is it the same process for getting

  2    information from deferred tax back into, for example, a

  3    PowerPlan data table?

  4          A.   I don't think there's any use case that we've

  5    identified where an output from the deferred tax system

  6    would go back into a PowerPlan table.

  7          Q.   You say at the last sentence there, "But for

  8    PowerPlan's actions, Lucasys would have licensed

  9    deferred tax to AEP as a result of winning the bid to

 10    build a new tax fixed asset solution."

 11                     Do you see that?

 12          A.   I do see that.

 13          Q.   Okay.    And is that a reference to the -- to the

 14    RFP that AEP put out in July of 2019 for tax fixed asset

 15    support?

 16          A.   So I don't know the exact date, but it would

 17    have been in 2019, yes.

 18          Q.   Okay.

 19          A.   An RFP for a tax fixed asset solution, I

 20    believe.

 21          Q.   I keep promising, but eventually we're going to

 22    get to that.

 23          A.   Yeah, sure.

 24          Q.   How much -- how much have you invested in

 25    development of the deferred tax product?             And when I

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  1    say -- for the purposes of today, when I say "you," I'm

  2    referring to Lucasys broadly.

  3          A.    Yes, I understand.        Thank you.

  4                       So, our development efforts have been kind

  5    of start and stop.       As we've lost contracts where a

  6    particular solution was in focus, like Copilot and

  7    NextEra, we've had to refocus our development efforts to

  8    the next product that was most likely to be adopted by

  9    utility.     So it's difficult for me to sit here and say

 10    with certainly what we invested in any particular

 11    product --

 12          Q.    Uh-huh.

 13          A.    -- as a result.      But I do know that -- that in

 14    total, we've spent well over                        on developing

 15    these four products.

 16          Q.   Okay.

 17                     MR. ALLOY:      Can we pause for one second so

 18    I can dial back in?       I'm really sorry, the connection

 19    disappeared.

 20                     THE VIDEOGRAPHER:         Do you want to go off

 21    the record?

 22                     MR. FAZIO:      Yes, please.

 23                     THE VIDEOGRAPHER:         Okay.    Off the record at

 24    1:33 p.m.

 25                     (Off the record.)

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  1                       THE VIDEOGRAPHER:       Okay.    Back on the

  2    record at 1:34 p.m.

  3    BY MR. FAZIO:

  4          Q.   Sir, just before our quick break, we were

  5    talking about the amount of money that's been invested

  6    in the development of the various software products, and

  7    you had mentioned that you believe it's in excess of

  8                , true?

  9          A.   That is correct.

 10          Q.   Okay.    Tell me, how did you come up with the

 11                  number?

 12          A.   So, I believe that we had computed it at some

 13    point during this dispute, maybe in response to a -- to

 14    one of these interrogatories.           I don't recall for sure.

 15    But that involved identifying which line items on our

 16    profit and loss might -- or are either wholly related or

 17    partially related to the development of software.                So

 18    our -- one of our biggest costs is, of course, labor, so

 19    we can identify the individuals that are either

 20    employees or contractors helping with that effort and

 21    segment those costs that way.

 22                     We can identify the development support

 23    cost, so the licensing of development software, fees for

 24    hosting the software, things like that.

 25          Q.   And you've used third-party developers to

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  1    assist in the development of those software?

  2          A.   We have, at various stages.              So we primarily

  3    have used third-party developers to assist with the

  4    design phases and then taken the development of the

  5    software inhouse.

  6          Q.   Okay.    And who is -- who are those third

  7    parties?

  8          A.   So, we've primarily used a firm called

  9    AltexSoft for the design, layout, the way the software

 10    looks like at the user interface.             Early on, we also

 11    contracted with a firm, I think they're called

 12    Pavans Group.      I think they helped with some of those

 13    non-customer-facing technologies that are more marketing

 14    focused.    I believe those are the only two.

 15          Q.   And just to be clear, when we were talking

 16    about the                 estimate -- well, first of all, the

 17    third parties -- can you estimate for me how much you've

 18    paid to the third parties in development costs?

 19          A.   Not with certainty.

 20

 21          Q.   And those would be costs that would be recorded

 22    in the profit and loss statements?

 23          A.   That's correct.

 24          Q.   And to be clear on the internal costs, are you

 25    -- when you're estimating those costs, are you applying

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  1    a set rate to those people, or is it just the direct --

  2    you're allocating direct costs?

  3          A.   Clarify that question.

  4          Q.   So if you have somebody who is making $100,000

  5    a year and 80 percent of their time is on soft -- works

  6    on -- it's worked -- I'm sorry, dedicated to software

  7    development --

  8          A.   Uh-huh.

  9          Q.   Are you allocating $80,000 to the software

 10    development costs or are you using a rate times the

 11    number of hours they've committed?

 12          A.   It would be their total compensation based on

 13    their contribution to the software development.

 14          Q.   Okay.

 15          A.   So maybe the first example that you used.

 16          Q.   Yeah.    So you're allocating expense, you're not

 17    --

 18          A.   Correct.

 19          Q.   Okay.    So depreciation.         Tell me about the

 20    depreciation tool.       What does that do?

 21          A.   So, depreciation is cloud-based software that

 22    computes depreciation for any jurisdiction, so tax or

 23    accounting purposes, related to fixed assets.               It --

 24    yeah.    I think that's a good explanation.

 25          Q.   If you look at the last sentence of that blurb,

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  1    as well, you say, "Lucasys would have licensed

  2    depreciation to AEP as a result of winning the bid to

  3    build a new tax fixed asset solution."

  4                      Do you see that?

  5          A.   I do.

  6

  7

  8

  9

 10

 11

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 15

 16          Q.   Okay.    Well -- so if you turn over to Page 8.

 17          A.   Yeah.

 18          Q.   Do you see the response to Interrogatory 7?

 19    You see it says, "Depreciation."             It's the last bullet

 20    point on that page?

 21          A.   Yes, I see it.

 22          Q.   And you say, "Depreciation design and

 23    development began in 2021."

 24          A.   Yes.

 25          Q.   Do you see that?

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  1          A.   Yes.

  2          Q.   So does that refresh your recollection as to

  3    whether or not it existed in 2019?

  4          A.   It helps.     So this date would have been tied to

  5    when we contracted with AltexSoft our formal design.

  6    Clearly, as part of the response to AEP, we had

  7    contemplated or that had been in our plans as a company,

  8    to move in that direction, back in 2019.

  9          Q.   Was there any -- had there been any development

 10    towards a product in 2019?

 11          A.   So again, our products share common elements,

 12    so there's some amount of development that would have

 13    already been shared across multiple products that would

 14    have existed in 2019.        So -- I don't know if that

 15    answers that question.

 16          Q.   Well, I'm just trying to understand how it

 17    could have exited in 2019, when Page 8 you say its

 18    design and development began in 2021.                So in 2019,

 19    you're -- explain to me, what existed in 2019 with

 20    respect to the depreciation product?                Was it just an

 21    idea?

 22          A.   So I'd have to refresh my recollection, but I

 23    believe back in 2019, we had already communicated, not

 24    only internally, but to the market, that we were

 25    interested in pursuing a depreciation solution.                I think

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  1    both through our website -- I think through our existing

  2    technology we had already put in, like, the placeholder

  3    and navigation items to navigate to a depreciation

  4    solution.     So what I mean to say is that there's some

  5    core architecture that is shared among all modules that

  6    was in place, and we had not yet begun to build out the

  7    tax depreciation solution within the Lucasys platform.

  8          Q.   So this -- you mentioned marketing efforts.                I

  9    mean, you were marketing the existence of deferred tax

 10    and depreciation as products in 2019?

 11          A.   We were marketing that these were problems that

 12    we were interested in solving.

 13          Q.   And when you were saying they were problems

 14    that you were interested in solving, isn't it true that

 15    on your website, you described having software built to

 16    address those problems?

 17          A.   I think we described our software, generally,

 18    as having software in this area and space of tax fixed

 19    assets.    I think to the extent we had developed, at any

 20    point in time, any kind of mock-ups, right, or design,

 21    that we were comfortable sharing with the market.                We

 22    did that both through conversations and through the

 23    website, as well.

 24          Q.   So in your conversations or on the website, was

 25    there any place that you made clear that, as of 2019,

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  1    for example, that these products were not necessarily

  2    fully developed and ready for implementation?

  3          A.   So are -- so we're talking about enterprise

  4    software, right?       So nobody's purchasing a product from

  5    our website.     So the website is a lead generation tool

  6    to have a conversation with the customer, and then with

  7    the conversation with the customer then we talk about

  8    the timeline that we can create the needed solution for

  9    that customer.

 10          Q.   Right.    So basically, you were trying to get

 11    customers interested in the product and then you were

 12    going to build it after there was an expression of

 13    interest?

 14          A.   So I think in general, our strategy for

 15    software development is to solve real problems that

 16    exist and where value has been demonstrated, and we see

 17    that best when there is a customer that will partner

 18    with us to realize that value.

 19          Q.   And so, if a third party was looking at your

 20    website in 2019 and saw that -- the way that you had

 21    presented these products, absent a follow-up

 22    conversation with you about having to development and

 23    implement them for specific problems, how would somebody

 24    know that you didn't have saleable software ready to go

 25    as of that moment in time?

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  1          A.   I'm not -- I think you're asking me to infer

  2    how a third party --

  3          Q.   Well, I mean, you're representing -- your

  4    website -- in 2019, on your website, you were

  5    representing that Lucasys had developed certain software

  6    products, true?

  7          A.   We represented that we were focusing on these

  8    particular problem spaces and bringing solutions in

  9    these areas, that's correct.

 10          Q.   And -- I'm sorry.        And on the website, you

 11    described the way you were focusing on them was that you

 12    had developed software to address those problems, true?

 13          A.   Yes.    So -- so the website indicated that we

 14    had begun developing or developed software in this

 15    space.

 16          Q.   Okay.

 17          A.   That's correct.

 18          Q.   And in 2019, did you also represent that you

 19    had to -- that there a was a depreciation product that

 20    Lucasys was developing -- or was -- that -- well,

 21    Lucasys was developing?

 22          A.   I think as early as 2019, we may already had

 23    some early mock-ups for what that might look like.

 24          Q.   Okay.

 25          A.   Including, yeah, some views that we were -- I

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  1    want to clarify:       Our website is intended for the

  2    market, for potential customers, not for third parties,

  3    and so we would market to potential customers.

  4          Q.   And so, if a competitor of yours was looking at

  5    your website, do you think they would have known that

  6    you did not have software that was saleable and ready to

  7    go in the market?

  8          A.   I --

  9                      MR. ALLOY:     Objection.         Go ahead.

 10                      THE WITNESS:      I don't know what a

 11    competitor would have thought.

 12    BY MR. FAZIO:

 13          Q.   Let's talk about Nova quickly.              You mentioned

 14    what it does, and you say -- on Page 7, Lucasys is

 15    saying that -- "Lucasys has not sold or licensed Nova

 16    because of PowerPlan's anticompetitive and tortious

 17    actions."

 18          A.   (Nodding yes.)

 19          Q.   In what ways has PowerPlan interfered with your

 20    ability to sell or license Nova?

 21          A.   So, my recollection is that the development for

 22    the Nova product began contemporaneously with our

 23    relationship at SUEZ and that SUEZ was the primary

 24    target customer for that development.                Having lost that

 25    opportunity at SUEZ, as we've discussed already, based

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  1    on those -- the actions that PowerPlan took, we were not

  2    able to sell the Nova product to SUEZ.

  3          Q.   And --

  4          A.   That's one example.

  5          Q.   And did somebody from SUEZ tell you that they

  6    weren't buying your Nova product because of PowerPlan?

  7          A.   Did someone tell me they weren't -- so the

  8    proposal to SUEZ was more comprehensive, so we included

  9    proposals that were not just focused on Nova.                 They were

 10    on deploying broader technology solutions that I believe

 11    included Nova, and those proposals were sidelined once

 12    there was a -- once this dispute arose.

 13          Q.   Okay.    My question to you, though, is:             Did

 14    anybody tell you that they were not purchasing Nova from

 15    you because of anything that PowerPlan did?                 I'm just

 16    asking yes or no.       Were you told that by somebody from

 17    SUEZ?

 18          A.   And again, I'm just stating that SUEZ indicated

 19    that they would not have contracted with us if they knew

 20    that the dispute would have arisen.                 And so, as a

 21    result, any proposal that we had at SUEZ did not come to

 22    pass for the same reason.

 23          Q.   Well, it's true, though, that they did keep you

 24    on board for -- for a series of projects, true?

 25          A.   I believe it was to finish the services related

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  1    to the projects that were at hand at that time.

  2          Q.    Do you -- I think you touched on this earlier,

  3    but it wasn't clear to me from your response.

  4                     Do you have any outstanding proposals with

  5    SUEZ today?     Lucasys?

  6          A.    Not current.     I mean, we have the same

  7    proposals that were outstanding, you know, two years

  8    ago, that are technically still outstanding, yeah.

  9          Q.    Aside from SUEZ, has Lucasys attempted to sell

 10    or license Nova to any other clients?

 11          A.    We have.

 12          Q.    Okay.   What clients?

 13          A.    So, off the top of my head, I recall                      as

 14    being very interested in the Nova product.              A series of

 15    conversations with their tax department, including demos

 16    of the software.

 17          Q.    When did those take place?

 18          A.    I don't recall offhand.          It would have been

 19    sometime after Nova was developed and sometime before

 20    today.     In the last two years.

 21          Q.    Any other customers you've attempted to sell it

 22    to?

 23          A.    So, we've certainly had conversations with

 24    customers about tax space balance sheet automation.                   So

 25    another one is                that comes to mind.        I'm sure

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  1    there were others.

  2                                                                 But you

  3    have to understand that once the litigation cloud

  4    occurred and the dispute arose, the industry froze in

  5    terms of our ability to have more than a casual

  6    conversation about what we were working on.

  7          Q.   So it's your view that the litigation is the

  8    only thing that is preventing customers from adopting

  9    your products?

 10          A.   Well, I'd say it's the dispute at large.              So I

 11    think it predates the litigation.             But the inference by

 12    PowerPlan in the market, the communication to the

 13    customer, and the uncertainty that that's created for

 14    the customers is the impediment.

 15          Q.   So sir, your belief is that uncertainty

 16    surrounding the dispute between PowerPlan and Lucasys is

 17    the driver that prevents these companies from adopting

 18    your software?

 19          A.   Yes.    I think it's an uncertainty for the

 20    companies relating -- regarding the risk that they would

 21    have to license software from Lucasys while there's a

 22    dispute with PowerPlan.         These companies depend on the

 23    PowerPlan software for mission-critical business

 24    processes and operations, and the risk profile of

 25    PowerPlan suddenly not supporting any particular

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  1    customer is a risk that utilities aren't able to take.

  2          Q.   Are you aware of any customer where PowerPlan

  3    told its customer that it wouldn't support them if they

  4    used Lucasys?

  5          A.   So I -- so yes, actually.           Well, I believe that

  6    PowerPlan has communicated with a number of customers

  7    that by using Lucasys or any unauthorized third party,

  8    that they subject their maintenance agreements to,

  9    potentially, be void.

 10          Q.   How did you learn that information?

 11          A.   Well, I had actually heard that line back when

 12    I was at RCC.      That was -- there were some -- there were

 13    conversations to that effect, just in the services space

 14    at one point.      But specifically, I believe, in the

 15    context of the Liberty discussion, conversation with

 16    Ms. Reed that we've already talked about, that that

 17    would risk -- that use of Lucasys for services would

 18    risk the contractual relationship that the utility has

 19    with PowerPlan.

 20          Q.   And your view is that that information has

 21    proliferate throughout the entire industry?

 22          A.   Oh, yes.     Yes.    That certainly -- I believe

 23    that it's underscored even more in the context of the

 24    communication campaign that we referenced before.

 25          Q.   Sir, has it ever occurred to you that it's a --

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  1    it's also possible that customers that rely on PowerPlan

  2    for this mission-critical task, they see risk in

  3    adopting new software to perform the same functions?

  4          A.   So, certainly any business decision takes risk,

  5    and my personal thought and my -- really I've heard this

  6    from -- from utility representatives, as well, but at

  7    some point the utility has to decide what's more risky;

  8    to continue to operate legacy software that's difficult

  9    to maintain and may blow up -- like, the data may just

 10    blow up on them and they can't close the books or to

 11    take a risk with a new software vendor.             I mean, that's

 12    an evaluation of risk that every utility has to take.

 13          Q.   And so did --                did -- they told you that

 14    they were too -- well, I think I misheard what you said.

 15    What did            tell you about why they weren't

 16    interested in your product?

 17          A.   I don't know if I recall specifically what

 18             communicated to us, other than at some point

 19    after that conversation, we became aware that                         was

 20    aware of this dispute, and so no subsequent follow-up

 21    occurred from             at that time.

 22          Q.   Did you ever follow up with                  and ask them

 23    for the status of it?

 24          A.   We may have.      I don't recall specifically.

 25          Q.   So other than                any other -- what were

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  1    the other customers that you mentioned that you were

  2    trying to sell Nova to?         Was it                        ?

  3          A.   Certainly with those two, we've had

  4    conversations around tax basis balance sheet automation.

  5          Q.   Okay.    And Lucasys is engaged with

  6    currently, true?

  7          A.

  8

  9          Q.   Okay.    And did they tell you why they weren't

 10    interested in your Nova product?

 11          A.   Again, because of the dispute and PowerPlan's

 12    actions from the beginning of this dispute, it's been

 13    not possible to have a formal presentation of -- of

 14    products.     So we've been limited to having informal

 15    conversations with utility representatives about what

 16    we're working on, and the feedback that we get is, We'd

 17    love to consider that once this is all over, meaning the

 18    litigation.

 19          Q.   What is it about the litigation that prevents

 20    you from demoing your product?

 21          A.   Well, I think the utility understands that it

 22    wouldn't be valuable for them to spend time -- that they

 23    wouldn't get the internal approvals to move forward

 24    pending the litigation.         Now, that's not to say that we

 25    haven't.    We certainly have had demos of the products

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  1    during the litigation, but those have been fewer and far

  2    between.

  3           Q.   Sir, I'm curious, because you keep talking

  4    about the litigation being the thing that's holding back

  5    -- holding back Lucasys, but when -- you're aware that

  6    PowerPlan offered Lucasys the opportunity to enter into

  7    an authorized vendor agreement with PowerPlan so that it

  8    could do -- it could do work with mutual clients?

  9    You're aware that that offer was made?

 10           A.   I wouldn't characterize that offer that way at

 11    all.    There was a document placed in front of us

 12    labeled, Authorized vendor agreement, that had terms

 13    that we couldn't agree to.

 14           Q.   Okay.   What was it about the terms that you

 15    couldn't -- that was so troubling to you?

 16           A.   So in particular, that document sought to

 17    extend the protections.         Let's say that PowerPlan would

 18    have had, as a matter of -- not a legal opinion, but

 19    that it would extend past just trade secrets, what they

 20    sought to keep secret, and further that it would impose

 21    or come with it an onerous and expensive audit procedure

 22    that could be launched on a whim.             So we saw that as

 23    just putting another tool in PowerPlan's belt to come

 24    against competition and hammer Lucasys with another --

 25    you know, because of this agreement, now you can't

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  1    compete, right, so we saw it as a bad faith measure from

  2    PowerPlan to actually restrict our ability compete, and

  3    not as anything that we would seriously consider.

  4          Q.   Do you know if the confidentiality provisions

  5    in the authorized vendor agreement -- do you know the

  6    extent to which they track your Lucasys master services

  7    agreement?     Have you ever compared the two?

  8          A.   I haven't.     No, I have not.

  9          Q.   Sir, does Lucasys have a fixed research and

 10    development budget?

 11          A.   We do not.

 12          Q.   Any reason why not?

 13          A.   Primarily because of the uncertainty that this

 14    dispute has put on our business.             We've had to allocate

 15    costs where they need to go in much more short-term

 16    decision making.

 17          Q.   Does Lucasys, in the ordinary course, maintain

 18    an operating budget?

 19          A.   We don't have a formal operating budget, no.

 20          Q.   So with respect to deferred tax, tax

 21    depreciation, Nova, in the absence of a customer

 22    sponsoring an implementation of its projects, is there

 23    any plan for Lucasys to invest further in the

 24    development of those products?

 25          A.   There is, and it's happening now.

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  1          Q.   Okay.    And what -- tell me, what -- first of

  2    all, at what level is the investment being made?               I

  3    mean, what are you -- what resources are you

  4    contributing towards it?

  5          A.   So, we contribute our employee resources,

  6    including of course, our CTO's time, exclusively.                We

  7    continue to contract -- okay.           I think you had asked me

  8    about contracting with third parties for development.

  9    There's an individual that we contract with, that we've

 10    continued to contract with, for development, as well.

 11          Q.   Who is that?

 12          A.   His name is Jonathan Porter.

 13          Q.   Okay.

 14          A.   I think we contract through his LLC.             So we

 15    continued to contract with him.            We continue, of course,

 16    to pay Stephen's salary.         We continue to invest in the

 17    infrastructure required to host that software, as well

 18    as all the software development tools that we need to

 19    continue to perform the build-out.

 20          Q.   Has Lucasys ever performed any form of market

 21    study to determine the number or types of customers that

 22    may want Lucasys' software products?

 23          A.   So, yes.     So, early on, at the beginning of

 24    Lucasys, we went almost six months, I think, with no

 25    revenue coming in the door, and it was during that time

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  1    that Lucasys became a ATDC company.                 I don't know if

  2    you're familiar.       That's the Atlanta Technology

  3    Development Center, I believe, affiliated with Georgia

  4    Tech.    And they have a course for technology founders to

  5    go through, and as part of that course, they have a -- a

  6    customer feedback process that -- even for founders that

  7    feel like they know what the customers need, they have

  8    them go through a process to have the communications,

  9    ask the questions, and confirm what customers need.

 10          Q.   Okay.    Anything else that you've done to study

 11    the market?

 12          A.   Yeah, so in addition, we've spoken with the

 13    market at large, right.         So we have relationships, long

 14    standing relationships, with utilities, and that's not

 15    just me, but actually, every employee at Lucasys has

 16    longstanding relationships with utilities.                 And so we're

 17    in constant communication with utilities, and I believe

 18    we collectively understand the utility market as well as

 19    anybody out there.

 20          Q.   Have you ever considered selling products or

 21    services into any market other than the utility market?

 22          A.   We've talked about it.          We haven't taken any

 23    step in that direction.

 24          Q.   Why not?

 25          A.   So, the original goal of Lucasys when I founded

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  1    it was to serve the utility market, so we've tried to

  2    stay focused to that.        It's where our collective

  3    expertise is as a target industry.             Really, we feel, to

  4    go into another vertical or industry, we would need to

  5    -- and this is how we talked about it -- we'd need to

  6    hire the equivalent team that we are for utilities to

  7    penetrate that market.        So it would be a significant

  8    capital investment to pursue another industry.

  9           Q.    Have you -- has Lucasys ever attempted to sell

 10    any of its products or services to non-regulated utility

 11    companies?

 12           A.    So, I believe that some of our customers or

 13    retail -- regulated utilities in general have

 14    subsidiaries that are not regulated, and so -- so, for

 15    example, the Copilot solution at NextEra would have been

 16    focused on their non-regulated business.

 17           Q.    Okay.   Any others that you perform services

 18    for?

 19           A.    So, I think I mentioned, at the time of the

 20    Utegration press release, we had been reaching out to,

 21    like, NRG to have conversations and penetrate that

 22    space.      So we have -- we have, I would say, not pursued

 23    standalone non-regulated energy businesses, only in the

 24    context of providing a solution for a non-regulated

 25    subsidiary of a regulated business.

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  1          Q.   Let me ask you, in the implementation of a

  2    Lucasys software product would you -- would Lucasys

  3    permit a third party to do the implementation of the

  4    software?

  5          A.   It's a good question.          I think -- I think it

  6    depends on the software's maturity, right.                So

  7    certainly, the first implementation would be difficult

  8    for a third party to do.         There's a lot that goes on in

  9    terms of product refinement in the first few

 10    implementations, so I think broadly we've thought about

 11    a long-term strategy to have third parties be part of

 12    the Lucasys ecosystem.        In fact, architecturally, our

 13    software supports that.         I think I talked about the

 14    configuration that end users can do.                Of course, end

 15    users can be third parties or contractors of the

 16    utilities.     So -- so, we've -- we've given ourselves the

 17    flexibility to do that in the future, if that makes

 18    sense.

 19          Q.   But as of today, you haven't made a decision

 20    about exactly how that would work?

 21          A.   It would be too premature to make that decision

 22    today.

 23          Q.   Would you allow PowerPlan to implement your

 24    solutions?

 25          A.   In the context of this dispute?              I mean, what

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  1    --

  2          Q.   I mean eventually this dispute will end, right?

  3          A.   I sure hope so, yes.

  4          Q.   Well, let's imagine a world where this dispute

  5    has ended.     Would you let PowerPlan implement your

  6    solutions?

  7          A.   I -- I don't see -- so yeah, I think we would.

  8    I think we absolutely would.           It's hard for me to

  9    imagine that world, because it's so separate from

 10    reality, but I think that's possible.

 11          Q.   All right.     Let's -- so, at Avista, ConEd, and

 12    Dominion, you have access -- Lucasys has accessed

 13    PowerPlan's software there as part of its consulting

 14    work?

 15          A.   At Avista, ConEd, and who else?           I'm sorry.

 16          Q.   Dominion.

 17          A.   Dominion?     I believe that's true.         I believe we

 18    either have or had access to the PowerPlan

 19    application --

 20          Q.   And --

 21          A.   -- at those utilities.

 22          Q.   And did you have access to the back-end

 23    database that supports the application?

 24          A.   At those three utilities?           So, I don't believe

 25    we ever had access to the back-end database at Avista.

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  1    I don't believe we did at Dominion.                 This is all -- I'm

  2    trying to recall to the best of my knowledge.                 I believe

  3    that at ConEd we were engaged -- in addition to just our

  4    normal services work -- engaged in a project that

  5    required data to come from the PowerTax system to their

  6    forecasting solution, and so I believe that we had

  7    access to a project database, that back-end database

  8    that you're referring to, for that project.

  9          Q.   And aside from Avista, ConEd, Dominion, and

 10    obviously AEP we've talked about --

 11          A.   Uh-huh.

 12          Q.   NextEra, SUEZ, we've talked about.               Are there

 13    any other customers that you've had -- or Lucasys has

 14    had access to PowerPlan software?

 15          A.   Outside of the four that are in this --

 16          Q.   Well there's -- AEP, Avista, ConEd, Dominion,

 17    NextEra, and SUEZ are the list that appear on Pages 9

 18    through 12, if you want to look at it again.

 19          A.   I'm sorry.     Avista, ConEd, Dominion, NextEra,

 20    SUEZ.

 21                     I believe that's accurate.

 22          Q.   Now, sir, the -- since this dispute arose, has

 23    Lucasys altered the way that it interacts with PowerPlan

 24    systems in its consulting engagements?

 25          A.   I don't believe so.

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  1          Q.   Have any of your customers placed restrictions

  2    on the kinds of information Lucasys has access to in its

  3    consulting work since the -- this dispute began?

  4          A.   Outside of the customers that terminated the

  5    relationship?

  6          Q.   Yeah.

  7          A.   They have not.

  8          Q.   Okay.

  9          A.   Not to my knowledge.

 10          Q.   You can put that one away.

 11                     (Exhibit 8 marked for identification.)

 12    BY MR. FAZIO:

 13          Q.   Sir, you've been handed what's been marked as

 14    Exhibit 8 to your deposition.

 15          A.   Yes, I see that.

 16          Q.   Can you tell me what this is?

 17          A.   This looks like a profit and loss statement for

 18    Lucasys.

 19          Q.   Sir, I wanted to ask you, to your knowledge,

 20    this -- it says for the year ending December 31, 2021.

 21                     Do you know if this reports full-year

 22    figures for 2021?

 23          A.   It does not appear to be a full-year 2021

 24    picture.

 25          Q.   Okay.    Can you tell me, for services in 2021 --

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  1    and obviously you can't quote it to the penny, or maybe

  2    you can, but what was the approximate services revenue

  3    for Lucasys in 2021?

  4            A.

  5

  6          Q.

  7          A.

  8          Q.     What kind of accounting system does Lucasys

  9    deploy?

 10          A.     So, this comes from, I think it's called Xero,

 11    with an X, X-E-R-O, which is a cloud-based accounting

 12    solution.

 13          Q.     Is that the system that Lucasys has always

 14    used?

 15          A.     Yes, I believe so.

 16          Q.     Okay.    I want to just sort of -- let's go

 17    through some of these that are high level.

 18                        So if you go down under "Operating

 19    expenses," you'll see "Bonus compensation expense."

 20          A.     Yes.

 21          Q.     And tell, me how is -- first of all, who is

 22    entitled to a bonus in Lucasys' system?

 23          A.     We offer, or would like to offer, bonuses to

 24    each employee at Lucasys.

 25          Q.     Okay.    So in 2020, that was through the -- you

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  1    gave out               in bonuses?

  2          A.   That looks correct.

  3          Q.   All right.     And in 2019, it was                  in

  4    bonuses?

  5          A.   That's correct.

  6          Q.   And how is it the bonuses are calculated?

  7          A.   I think we were accruing numbers based on our

  8    profitability in any given month.             I'm trying to

  9    understand.     I think it depends on whether -- whether we

 10    had the capacity to pay out bonuses.

 11          Q.   And so they're discretionary bonuses?

 12          A.   They are.

 13          Q.   Okay.    In 2020, did you personally take a

 14    bonus?

 15          A.   I believe I did.

 16          Q.   Okay.    And how -- in order of magnitude, what

 17    was the size of your bonus?

 18          A.   I don't recall.

 19          Q.   The other founders took bonuses as well?              Well,

 20    actually, let me withdraw that.

 21                     Did all employees get a bonus in 2020?

 22          A.   Yes, all employees.

 23          Q.   Okay.

 24          A.   I think we also offered a bonus to our

 25    long-term contractor, as well.

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  1          Q.   Okay.    And same in 2019?

  2          A.   That's correct.

  3          Q.   In 2021, were any bonuses given?

  4          A.   They were not.

  5          Q.   So, if you go down, you'll see "Consulting

  6    expense."     It says "Dash ENG."

  7                     What does the ENG refer to?

  8          A.   The ENG refers to engineering.

  9          Q.   Okay.

 10          A.   And so, for us, that would indicate a

 11    development -- software development resource.

 12          Q.   And what's "consulting GA"?

 13          A.   That would indicate that the consulting

 14    resource was not engaged in software development.                So

 15    it's either supporting the businesses, Lucasys, or

 16    potentially supporting services engagement at a

 17    customer.

 18          Q.   Okay.    If you look down, you'll see, "Legal

 19    fees, GA," and you've got

 20

 21          A.   I see that.

 22          Q.   Okay.    So when you testified earlier that

 23                                                        had been spent

 24    on the litigation, where would that be reflected in

 25    these profit and loss statements?

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  1          A.   I think we'd want the full-year 2021 first, and

  2    then, of course, we don't have the six months of 2022 in

  3    here, either, so --

  4          Q.   Okay.

  5          A.   -- it's not a full picture.

  6          Q.   So is the -- so is -- your understanding is

  7    that as of whenever this was run in 2021, there was

  8                                        , approximately, of legal

  9    fees that had been paid?

 10          A.   My recollection is that the majority of 2021,

 11    we were waiting for the court to rule on a motion to

 12    dismiss.

 13          Q.   Okay.    So approximately                      in fees

 14    from the time this was run until present?

 15          A.   That's correct.

 16          Q.   What was the -- what was the driver for the

 17    decrease in services revenue from 2020 to 2021?

 18          A.   Well, it was the lost opportunities in the

 19    marketplace due to PowerPlan's inference.

 20          Q.   Well, so -- but in 20 -- from 2019 to 2020, the

 21    revenues nearly tripled.

 22                       Do you see that?

 23          A.   I do see that.

 24          Q.   Okay.     So how is it that -- did PowerPlan's

 25    alleged inference impact your 2019 to 2020 numbers?

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  1          A.   It did.

  2          Q.   Okay.    How so?

  3          A.   I think what we see here in 2020 was largely

  4    just the in-flight projects that we had contracted and

  5    continued on into 2020.         So it's the relationships where

  6    our customers did not cancel the relationship and,

  7    instead, chose to continue to partner with us, at least

  8    for the duration of the projects that had already begun.

  9          Q.   Do you know, is there a full year 2021 P&L

 10    that's been generated?

 11          A.   I believe so.      I guess I don't know for sure.

 12          Q.   And to be clear, this is something that's kept

 13    in the ordinary -- this document, Exhibit A is something

 14    that's just kept in the ordinary course of Lucasys'

 15    business?

 16          A.   It is, but I would say that we use it mostly at

 17    the end of the year, for purposes of finalizing the

 18    company's position and then, of course, for tax

 19    reporting.

 20          Q.   And just to be -- so my question is clear, I

 21    mean, this was not something that was generated for

 22    production in this litigation?

 23          A.   No.   No, it was -- it's a report that can be

 24    run on demand.

 25          Q.   So if we wanted to see the customer breakdown

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  1    for the services revenue that's reported here, you'd be

  2    able to find that information in your accounting system?

  3          A.   Yes, that's correct.

  4          Q.   So in 2020, you had operating income of about

  5                                                        ?

  6          A.   I'm sorry, can you repeat that question?              I was

  7    flipping back and forth.

  8          Q.   If you'll flip over to the second page, bottom

  9    of the -- or not quite the complete bottom --

 10          A.   Uh-huh.

 11          Q.   The column, 2020, you see                    is the total

 12    operating income?

 13          A.   I see that.

 14          Q.   Okay.    And then in 2020, you had about

 15                      in revenue.

 16          A.   Yes.

 17          Q.   Do you see that?

 18          A.   I see that.

 19          Q.   So the net profit margin for Lucasys in that

 20    year was about                , somewhere in there?

 21          A.   I'd probably need a calculator, but I'll take

 22    your word for it.

 23          Q.   In the course of your responsibilities as the

 24    CEO, do you keep track of what the profit margin is,

 25    Lucasys' profit margin is?

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  1          A.   No.   We don't have an expectation to

  2    necessarily be profitable in any given year.

  3          Q.   When you say you don't have an expectation to

  4    be profitable in any given year, explain what you mean

  5    to me.

  6          A.   Well at its core, Lucasys is a software company

  7    building cloud software delivered under a SAS

  8    subscription model, so we recognize that in that model

  9    we -- we reinvest any profitability back into the

 10    company to maximize growth.

 11          Q.   Is it -- in your experience, for companies that

 12    operate in that model, is it unusual to not have any

 13    sort of outside financing or investment in the company?

 14                     MR. ALLOY:      Objection.

 15                     You can answer.

 16                     THE WITNESS:       So I -- I -- I don't know

 17    what's typical or not.        I think my understanding is that

 18    most startups are self-funded.            That's my understanding.

 19    BY MR. FAZIO:

 20          Q.   How did COVID impact Lucasys?

 21          A.   I would say marginally, on a grand scale.

 22    Certainly, there was some uncertainty in, maybe, March

 23    of 2020 or whenever, kind of, everything closed, travel

 24    closed, things like that.          But we had already been

 25    operating on a -- kind of a distributed model, work from

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  1    anywhere.     And so I think, like any other business, we

  2    evaluated and then were happy to see that the markets in

  3    general jumped back quickly.

  4          Q.   In terms of Lucasys' customer base, did you see

  5    a slowdown in activity amongst your customers?

  6          A.   I think we saw kind of a parallel there, that

  7    maybe for those couple of weeks, there was some

  8    uncertainty with customers about what the future would

  9    look like, and in particular related to their employees

 10    and where they're working from, and then we saw that

 11    quickly snap back in place once -- once folks became

 12    accustomed to working from home.

 13          Q.   So, on this -- on the profit and loss

 14    statement, which would the categories be that I would be

 15    looking in if I wanted to understand your software

 16    investments.     You mentioned employee salary.

 17          A.   Yes, that's certainly one of them.             Employee

 18    salaries.     So some component of employees salaries would

 19    be part of that.       Some component of each of the employee

 20    benefits.     Those, of course, are benefits directly

 21    attributable to those same employees.               Consulting

 22    expense, engineering, as we've already described is

 23    certainly an expense that's related to software

 24    development.     Looking at this quickly, I see software,

 25    kind of on the second page.           So the software we

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  1    predominantly would use would be related to our

  2    development, and there may be components of these other

  3    costs that we'd need to look at in more granularity.

  4    For example, I'm not seeing the hosting fees just right

  5    offhand, but I'm sure they're here somewhere.

  6                     MR. FAZIO:      Are you reading or showing?

  7                     MR. ALLOY:      I'm just looking.

  8                     MR. FAZIO:      Okay.

  9                     THE WITNESS:       Oh, there it is.         So

 10    Cloud-based hosting.        Do you see that there, in the

 11    front?

 12                     (Exhibit 9 marked for identification.)

 13    BY MR. FAZIO:

 14          Q.   Sir, you're being handed what's been marked as

 15    Exhibit 9.

 16          A.   (Witness examining document.)

 17          Q.   Can you tell me what this is?

 18          A.   This appears to be a forecast of revenues and

 19    expenses for Lucasys for, maybe, the 18-month period

 20    beginning June 2020.

 21          Q.   Did you put this together?

 22          A.   I believe that I played a role here, yes.

 23          Q.   Okay.    And do you know what the purpose of this

 24    document was?

 25          A.   I don't know specifically.               I do know that in

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  1    this time frame, this may have been when we were

  2    thinking about litigation funding.             Certainly this was

  3    about the time frame that we were either evaluating or

  4    taking the SBA loans that may be -- I don't recall

  5    specifically.

  6          Q.   Were you ever turned down for litigation

  7    funding?

  8          A.   I don't think we ever got to a point where we

  9    would seriously consider it.           I think some of the

 10    feedback that we had gotten just from the first

 11    conversation indicated an interest, but we made a

 12    business decision not to pursue.

 13          Q.   And why was that?

 14          A.   It seemed like a very expensive way to -- just

 15    to -- it seemed like debt financing was a cheaper source

 16    of capital.

 17          Q.   And so this document, do you know, is this --

 18    this is all based on -- these are all projections?                None

 19    of this was based on actuals?

 20          A.   I believe that's correct.

 21          Q.   Okay.    So -- and this would have been created

 22    around June of 2020?

 23          A.   I think that's right.

 24          Q.   So in June of 2020, can you tell me, what was

 25    the -- what's the SUEZ -- so if you look down in the

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  1    left-hand column there?

  2          A.   Yes.

  3

  4

  5

  6

  7

  8

  9                                                         , and this

 10    looks like, maybe, the tail end of that project here in

 11    June, beginning June 2020.

 12          Q.   And then you have

 13             of services.     And I think we've talked about two

 14    of the three of them.

 15                      What were you doing for

 16    Services?

 17          A.

 18

 19          Q.

 20          A.

 21          Q.

 22

 23          A.

 24

 25

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  1          Q.   AEP financial transformation.            What's that?

  2          A.   AEP financial transformation.            So, we had

  3    understood from the RFP from the previous year that AEP

  4    needed a lot of help in the areas of finance and

  5    technology.     We didn't necessarily know what that would

  6    look like, but we understood that there may be an

  7    opportunity to help them.          So I think that's a generic

  8    term for opportunities that we were hopeful might arise

  9    at AEP.

 10          Q.   And then you were forecasting two new Logo

 11    Technology customers?

 12          A.   Yes, I see that.

 13          Q.   And did you obtain two new Logo technology

 14    customers?

 15          A.   We did not.

 16          Q.   If you go down to the very last entry before

 17    the totals, it says annual SEP IRA contributions?

 18          A.   Yes.

 19          Q.   Tell me, how does Lucasys -- does Lucasys have

 20    a company-funded retirement plan?

 21          A.   We do.

 22          Q.   Okay.    And how does it work?

 23          A.   So, I believe the rules of that S-E-P, SEP IRA,

 24    the contribution and rules are governed by tax law, but

 25    my understanding is that the company may contribute to

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  1    those accounts on behalf of the employees up to some

  2    prescribed maximum, that it's an elective contribution.

  3          Q.   So has the company been making

  4    contributions to these requirements accounts?

  5          A.   So, my recollection is that we -- I don't

  6    recall the exact amount, but we made a contribution in

  7    2020, and did not make a contribution -- or let me

  8    clarify.    We made a contribution for the tax year 2020

  9    and did not make a contribution for the tax year 2021.

 10          Q.   Well, actually, now that I've asked you this

 11    question, just grab Exhibit 8 real quick.

 12          A.   Eight.

 13          Q.   Yes.

 14          A.   Okay.

 15          Q.   So if you look -- it's about a third of the way

 16    up from the bottom, "Employee benefits, SEP IRA

 17    expense."     So it was               in 2020.      As of whenever

 18    this was run in 2021, it was                   ?

 19          A.   Yes.    So, during the year, we accrue that

 20    expense just like other expenses, but we did not pay out

 21    for the 2021 tax year --

 22          Q.   Okay.

 23          A.   -- of that expense.

 24          Q.   As you look down the operating expense list,

 25    are there any other categories of expenses where

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  1    something was accrued, and is reflected on this income

  2    statement, that wasn't actually paid?

  3          A.   (Witness examining document.)

  4                      Not to my knowledge.

  5                      (Exhibit 10 marked for identification.)

  6    BY MR. FAZIO:

  7          Q.   Sir, you're being handed what's been marked

  8    Exhibit 10.

  9          A.   (Witness examining document.)

 10          Q.   Can you tell me what this is?

 11          A.   This looks similar in format to the previous

 12    exhibit.    It looks like a Lucasys forecast, but for a

 13    different period of time.

 14          Q.   Okay.    And so this -- the last one we looked

 15    at, Exhibit 9, was June 2020 to May 2022?

 16          A.   Okay.    Yes.

 17          Q.   Do you see that?

 18          A.   Yes.

 19          Q.   And then this one is October 2020 through

 20    March 2022.

 21          A.   Yes.

 22          Q.   Do you know why this -- what the purpose was

 23    for this updated forecast?

 24          A.   I don't specifically know, but throughout 2020,

 25    I think when we were pursuing the SBA loans, I think I

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  1    mentioned there were some opportunities to -- to

  2    increase the value of the loans, and this may -- the

  3    update may have been related --

  4          Q.   Okay.    And so --

  5          A.   -- to that.

  6          Q.   I'm sorry.     Were you finished?

  7          A.   I was.

  8          Q.   Okay.    So in Exhibit 9, you'll see AEP services

  9    shows no revenue in 2022 at all.             And then in this

 10    version, it shows                a month in 2022.

 11                     Did something change between June and

 12    October of 2020 that led you to believe there was going

 13    to be rev -- additional revenue?

 14          A.   There must have.        I don't recall anything in

 15    particular, but I understand that our AEP services have

 16    been continuous from the beginning of our relationship.

 17          Q.   Okay.    And then also, this one has a -- this

 18    version of the forecast has an entry for SUEZ services.

 19                     Do you see that?

 20          A.   Yes, I see that.

 21          Q.   Okay.    And then that shows revenue from 2020,

 22    October 2020, all the way through March of 2022.

 23                     Do you know what changed that suggested

 24    that adding SUEZ services was appropriate here?

 25          A.   So, I think we had tried, or we -- throughout

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  1    the duration of our SUEZ engagement, we had tried to

  2    build a long-lasting customer relationship, and so

  3    whereas maybe the original forecast had just an

  4    individual project or two, this one, I think, included

  5    proposals that we would have made to continue an ongoing

  6    relationship, much like we'd done with AEP.

  7          Q.   As you move down, you'll see there's an entry

  8    for SUEZ Nova.

  9                     Do you see that?

 10          A.   Yes, I see that.

 11          Q.   Okay.    And so what happened between June of

 12    2020 and October of 2020 that led you to believe that

 13    SUEZ was going to engage you on your Nova product such

 14    that you'd be making                                      a month?

 15          A.   Well, I think it's largely the same, maybe

 16    labeled slightly differently, but I think it was labeled

 17    SUEZ Technology in the original forecast.              And that

 18    looks like largely the same opportunity.

 19          Q.   Well, sir, if you look at SUEZ Technology, it

 20    starts off -- you've got 12 months there, and you've got

 21    14 months here, and there's multiple line items for SUEZ

 22    in your October 2020 budget.

 23                     Do you see that?

 24          A.   I do see that, yes.

 25          Q.   So was there anything -- had anything changed

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  1    between June and October?

  2          A.   So I think it's the same multiple line items,

  3    they're just ordered a little bit differently than that

  4    were in June.      So for example, I see in the June

  5    forecast, I see the tax basis balance sheet project

  6    running out.     I see the PPM project running out.            I see

  7    those same two projects running out in the October

  8    forecast.     And I see the technology project.           It looks

  9    like it went from a 12-month to a 14-month duration, but

 10    I also see that the amounts in any given month changed,

 11    as well.    It may be the same total amount, just

 12    distributed over a longer period.

 13          Q.   And so you're -- do you know, other than these

 14    two forecast documents that we've been talking about,

 15    Exhibits 9 and 10, do you -- has -- does Lucasys, in its

 16    -- the ordinary course of its business, maintain these

 17    kinds of forecasts?

 18          A.   We do not.

 19          Q.   Why not?

 20          A.   Well, we don't -- there was a brief period when

 21    our litigation expenses were increasing, where we had to

 22    really keep track of our cash flow, were more interested

 23    in our cash position, but I think like I mentioned

 24    before, for our shareholders, for the founders, the

 25    profitability of any given year or month is not

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  1    important.

  2          Q.   And so, sir, your recollection is that these

  3    were used in connection with your SBA loan?

  4          A.   I believe we -- yes.         So -- so, I believe we

  5    used one or both of these in connection with the SBA

  6    loan, that's correct.

  7          Q.   And so, fair to say, sir, that when you

  8    compiled these documents, they were your best effort at

  9    understanding what the forecasted revenues and expenses

 10    were going to be?

 11          A.   I think it was a reasonable estimate at the

 12    time.

 13                     MR. ALLOY:      You want to take a break?            You

 14    okay?

 15                     THE WITNESS:       I would take a restroom

 16    break, if now's a good time.

 17                     MR. FAZIO:      That's fine.       Off the record.

 18                     THE VIDEOGRAPHER:         Off the record at

 19    2:38 p.m.

 20                     (Off the record.)

 21                     THE VIDEOGRAPHER:         This begins Media Unit

 22    No. 3, and we're back on the record at 2:51 p.m.

 23    BY MR. FAZIO:

 24          Q.   All right.     Sir, we have been talking about AEP

 25    all day, so let's get into AEP.

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  1                      (Exhibit 11 marked for identification.)

  2    BY MR. FAZIO:

  3          Q.   You're being handed what the court reporter has

  4    marked as Exhibit 11.

  5                      Do you recognize this document?

  6          A.   (Witness examining document.)

  7                      I believe I do, yes.

  8          Q.   Okay.    You'll see on Page 1, it indicates that

  9    there was a contract that was signed on 5/3/2019.

 10                      Do you see that?

 11          A.   Yes, I see that.

 12          Q.   Okay.    I want to flip to the back where there's

 13    a statement of work on Lucasys letterhead.              So it's --

 14          A.   (Witness examining document.)

 15          Q.   Are you with me?

 16          A.   I think so.      2184?

 17          Q.   Uh-huh.     2184.

 18          A.   Yes.

 19          Q.   All right.     Sir, can you explain to me -- so,

 20    in your contracting process, you contract through these

 21    statements of work?       That's how Lucasys describes what

 22    projects it's going to undertake with its customers?

 23          A.   We sometimes do.        I think this is our default

 24    way to contract.

 25          Q.   Okay.    So this was a statement of work that was

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  1    prepared for AEP, true?

  2          A.   Yes.

  3          Q.   Okay.    Was this the first statement of work

  4    that Lucasys was -- where Lucasys was engaged with AEP?

  5          A.   I believe it was.

  6          Q.   Okay.    So if you go back to the Statement of

  7    Work No. 1 on 2184, there's a scope there.                Can you

  8    explain to me, what was the -- what were you being

  9    retained to do here, or what was Lucasys being retained

 10    to do?

 11          A.   So, I see a two-part scope.              I see a -- I see

 12    language that indicates that there would be an

 13    assessment related to AEP's data and related processes

 14    with some recommendations that may come from that.                   I

 15    also see that AEP or "client," here, will evaluate the

 16    feasibility of Lucasys' software solutions as a

 17    secondary item.

 18          Q.   Now, sir, in May of 2019, were you the only

 19    Lucasys employee?

 20          A.   Well, actually, as of May 2019, there were -- I

 21    had not been paying myself a salary, so there were

 22    technically no employees, but I was the sole individual.

 23          Q.   Uh-huh.     So it was going to be you individually

 24    that was going to perform this statement of work?

 25          A.   No.    So, up through that time, and after that

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  1    time, I had been in communications with and having

  2    conversations with individuals who I thought might be

  3    able to join Lucasys and help with services like these.

  4          Q.   Okay.      And so in May of 2019, you entered into

  5    this contract with AEP, and was that the thing that

  6    allowed you to bring over the other founders?

  7          A.   Well, I think -- I think the -- bringing on the

  8    other founders was a comprehensive set of events that

  9    came together.

 10          Q.   Okay.

 11          A.   I think that just signing a contract doesn't

 12    necessarily mean there's revenue yet, so I think we

 13    would have had to have some cash on hand to bring on

 14    others as of that point in time, but certainly engaging

 15    in contracts with utilities was the way that we intended

 16    to grow the business.

 17          Q.   So if you turn the page over, you'll see under,

 18    "Fees," it says, "Fees will be billed out at a rate of

 19                    .    The total fees under the statement of

 20    work shall not exceed                    without prior approval

 21    from the client."

 22                        Do you see that?

 23          A.   I do.

 24          Q.   Okay.      Do you know how -- how much was charged

 25    under this -- for this state of work --

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  1          A.   I do --

  2          Q.   -- for this statement of work?

  3          A.   I don't know.

  4          Q.   Okay.    And do you recall these services

  5    actually being provided?

  6          A.   Yes.

  7          Q.   Okay.    And what were the recommendations that

  8    you -- was the result of your review of the data

  9    structures and what recommendations did you make?

 10          A.   It's been a few years, but from what I recall,

 11    from the very beginning of our relationship with AEP, we

 12    learned, and I think largely AEP learned with our help,

 13    that some of the data quality that they had, related to

 14    tax fixed assets, created a risk to their organization

 15    in terms of being able to support their stated financial

 16    positions.     So there was certainly a data quality

 17    component that came out of this.             I think we identified

 18    some staffing issues, collectively, with AEP in terms of

 19    having the right people in the right roles.              I recall

 20    having those conversations.           I think we had

 21    conversations around processes, as well, how to improve,

 22    in particular, the controls, data controls, that would

 23    have been performed in line with those processes.

 24          Q.   Now, sir, at the beginning of this document,

 25    you'll see there on -- if you go to 2147, you'll see it

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  1    contains Lucasys Inc., master services agreement?

  2          A.   I see that, yes.

  3          Q.   And so -- I'm not going to ask you to read this

  4    in excruciating detail, but I wanted you to sort of skim

  5    through it and tell me, is this Lucasys' sort of form

  6    master services agreement?

  7          A.   I believe this would have been a negotiated

  8    agreement with AEP.

  9          Q.   Okay.

 10          A.   But it may have started with Lucasys' form

 11    agreement.

 12          Q.   So this agreement is the -- the Lucasys master

 13    services agreement that we see here, this is the

 14    agreement, ultimately, that you reached with AEP

 15    concerning the services that you were going to provide

 16    to them?

 17          A.   Yes, that's correct.

 18          Q.   And the agreement contains license provisions

 19    for future software that AEP might license, correct?

 20          A.   That is correct.

 21          Q.   And at the time that you entered into this

 22    master services agreement with AEP, did you believe this

 23    was a reasonable agreement?

 24          A.   I -- probably.       Certainly, we entered into this

 25    agreement.

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  1          Q.    And at the time you entered into the agreement,

  2    did you believe that Lucasys' master service agreement

  3    that's part of Exhibit 11 reasonably protected Lucasys

  4    intellectual property rights and its software?

  5          A.    So, yeah, the agreement was one of the things

  6    that we would view as protecting our proprietary

  7    software.

  8          Q.    And do you think that this reasonably protects

  9    Lucasys' commercial interests?

 10          A.    Can you help me understand that question?

 11          Q.    Well, so setting aside intellectual property

 12    rights -- I mean, Lucasys also has commercial interests,

 13    right?     Its price -- there are things like its pricing,

 14    the way that you do things, things that may not -- they

 15    may fall short of intellectual property in the legal

 16    sense, but they're commercially valuable.

 17                     Do you follow what I'm saying?

 18          A.    Perhaps.

 19          Q.    Okay.

 20          A.    I mean, I have an understanding that Lucasys

 21    has confidential information, and to the extent that

 22    that's included here, I hope that the appropriate

 23    protections are there, as well.

 24          Q.    Okay.   You didn't have any concerns about it

 25    when you entered into it that it wasn't going to protect

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  1    your confidential information?

  2          A.    No.   We understood that we carried -- we had to

  3    take certain operational steps to protect that as well,

  4    so we weren't solely focused on this as the only way to

  5    protect that.

  6          Q.    And there's nothing wrong with protecting the

  7    company's intellectual property.

  8                      Can we agree about that?

  9          A.    I would think that companies would want to

 10    protect legitimate intellectual property, that's

 11    correct.

 12          Q.    And can we agree that it would be unfair if

 13    Lucasys had invested resources into developing

 14    intellectual property and someone else came along and

 15    misappropriated it?

 16          A.    Unfair?

 17          Q.    Unfair.

 18          A.    Well, I think we'd have to understand what that

 19    means.     Certainly, if Lucasys provided the adequate

 20    steps, as a matter of law, to protect its legitimate

 21    intellectual property interests, and those were somehow

 22    misappropriated anyway, I imagine that we'd, at least,

 23    want to know more about what that was, yeah.

 24          Q.    Well, it would be wrong if somebody did that,

 25    right?

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  1          A.   If someone misappropriated?

  2          Q.   Uh-huh.

  3          A.   Well, yeah.

  4          Q.   Did you have an understanding that if Lucasys

  5    didn't take reasonable steps to protect its intellectual

  6    property, it runs the risk of losing intellectual

  7    property protections?

  8          A.   We understood from the very founding of the

  9    business, that, day one, mattered, that from the very

 10    beginning of the business, we had to take the right

 11    steps to protect our intellectual property.

 12          Q.   And can we agree that Lucasys has the right to

 13    establish the terms and conditions under which it

 14    licenses its software?

 15          A.   I think Lucasys has the right to enter into

 16    negotiations with its customers regarding those terms.

 17          Q.   Well, and if those -- and if the customer asks

 18    for a term that you don't agree with, you're not forced

 19    to agree with them, are you?

 20          A.   I don't believe so.

 21          Q.   Do you think that there's anything in Lucasys'

 22    master services agreement that negatively impacts

 23    competition?

 24                     MR. ALLOY:      Object to form, but you can

 25    answer.

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  1                     THE WITNESS:       I'm not sure how I would

  2    know.

  3    BY MR. FAZIO:

  4          Q.   Do you think AEP is a sophisticated company?

  5          A.   In some areas, yes; and in some areas, no.

  6          Q.   In what areas is AEP unsophisticated?

  7          A.   Maybe --

  8          Q.   In your experience?

  9          A.   Yeah, so sophisticated may be the wrong term,

 10    but in -- largely, I would say utilities have not always

 11    been the fastest adopters of technology, for example.

 12    That doesn't necessarily make them unsophisticated.

 13    That comes to mind.

 14          Q.   Sir, would it be fair to say that all of

 15    Lucasys' consulting engagements, the work that's being

 16    performed is -- it's performed under some type of

 17    confidentiality agreement with its customer?

 18          A.   Yes, I think that's accurate.

 19          Q.   And those agreements typically limit the

 20    disclosure of confidential information, right?

 21          A.   Certain to whatever exclusions might be in

 22    those agreements, yes.

 23          Q.   In the -- would you agree that the

 24    confidentiality agreements, that Lucasys enters into

 25    anyway, typically limit the use of confidential

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  1    information only to the extent it's necessary for

  2    Lucasys to carry out its obligations to that customer?

  3           A.   I don't know.     Do you want me to look at

  4    something in particular?

  5           Q.   Well, I'm just asking you, like, your -- sort

  6    of the overarching -- do you have that understanding or

  7    not?    I mean, it's in here; we can find it if you want,

  8    but I'm asking more broadly than just this document.

  9           A.   I think there are -- any time there's an

 10    exchange of confidential information, there may be terms

 11    around how and when that confidential information is

 12    utilized by that other party.

 13           Q.   If you want to turn -- we'll just look at it

 14    real quick, I mean -- 2157.           It's Section 10B.

 15           A.   (Witness complying.)

 16           Q.   And if you feel like you need to, you can read

 17    from the beginning of Section 10.             It just starts on the

 18    prior page.     I'm just going to ask you about 10B.

 19           A.   (Witness examining documents.)

 20           Q.   Do you see the first sentence there, it says,

 21    "The receiving party will not use confidential

 22    information for any purpose other than carrying out its

 23    obligations as set forth in this agreement and shall not

 24    disclose confidential information to any third party,"

 25    comma, "Without prior written consent of the disclosing

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  1    closing party and an agreement in writing from the third

  2    party that will adhere to the confidentiality

  3    obligations imposed herein."

  4                     Do you see that?

  5          A.   I see that statement, and then I see, you know,

  6    the rest of the paragraph that provides exclusions --

  7          Q.   Right.

  8          A.   -- to this one.

  9          Q.   And in full disclosure, I mean, there's --

 10    that's -- it's one sentence in this long provision there

 11    --

 12          A.   Right.

 13          Q.   There are restrictors, there are expanders,

 14    there's -- you've got to read it, but what I'm asking

 15    you is, is that something that you commonly see in

 16    consulting -- in the confidentiality agreements you

 17    reach with your customers?

 18          A.   So, our legal agreement negotiation with

 19    customers goes through a third-party firm, and they help

 20    us with coming to a consensus on mutually agreeable

 21    terms, so I -- I just can't answer that with certainty

 22    without looking at an agreement.

 23          Q.   Okay.

 24          A.   Yeah.

 25          Q.   So you don't have a view one way or another if

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  1    that's an industry-standard term in these kinds of

  2    services agreements?

  3          A.   If what is, specifically?

  4          Q.   The sentence I read to you from Section 10B?

  5          A.   I -- I don't know.         I see that that's a

  6    sentence that's part of a very large confidentiality

  7    section.

  8          Q.   Is Exhibit 11, the master services agreement

  9    between AEP and Lucasys, is that the master service

 10    agreement that still controls your relationship with

 11    AEP, even today?

 12          A.   I -- I'm not 100 percent certain, but it may

 13    be.

 14          Q.   Now, sir, to the best of your knowledge, did

 15    Lucasys complete the tasks that were set forth in the

 16    Scope of Work 1 -- the Statement of Work 1?

 17          A.   (Witness examining document.)

 18                     To the best of my knowledge, if we were

 19    able to perform the scope in that duration, then we

 20    would have -- would have tried to.

 21          Q.   So do you know if you did it or not?

 22          A.   I don't know.      It would be an assumption for me

 23    to say one way or the other.

 24          Q.   Do you have any reason to believe that you

 25    weren't paid for any work that you did under Statement

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  1    of Work 1?

  2          A.   Can you repeat the question?

  3          Q.   I said do you have any reason to believe that

  4    you weren't paid for the work that you would have

  5    completed under Statement of Work 1?

  6          A.   I'm trying to catch the -- That you were

  7    not paid?

  8          Q.   Were not paid.

  9          A.   I'm sorry --

 10          Q.   Did you get paid for the work that you did

 11    under Statement of Work 1?          How's that?

 12          A.   I --

 13          Q.   As far as you know?

 14          A.   As far as I know, I believe we did.

 15          Q.   Okay.    At some point in 2019, AEP issued an RFP

 16    for a tax fixed asset system upgrade.               Were you aware of

 17    that?

 18          A.   I don't believe it was an upgrade.

 19          Q.   Okay.    For a tax fixed asset system?

 20          A.   Yes, that's correct.

 21          Q.   Okay.    Did Lucasys have -- give input on the

 22    scope and wording of the RFP for that project?

 23          A.   I don't recall.

 24          Q.   Okay.    Is that something that Lucasys would do

 25    for customers like AEP?         Provide comments on RFPs before

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  1    they were issued?

  2          A.   So, I think we would work with customers to

  3    identify their business needs, business requirements,

  4    and I would imagine that business requirements are a

  5    component of RFPs.       So we commonly work with customers

  6    to identify business requirements.

  7          Q.   But sitting here today, you don't recall

  8    whether Lucasys provided any input on that RFP or not?

  9          A.   I don't recall.

 10          Q.   Do you recall whether Lucasys subsequently put

 11    in a bid?

 12          A.   I do recall that.

 13          Q.   Okay.

 14                     (Exhibit 12 marked for identification.)

 15    BY MR. FAZIO:

 16          Q.   Sir, do you recognize this document?

 17          A.   (Witness examining documents.)

 18                     Yes.    I think it's familiar.

 19          Q.   Okay.    What is this document?

 20          A.   This appears to be the RFP response that we

 21    provided to AEP for the tax fixed asset software

 22    project.

 23          Q.   Okay.    Is this -- first of all, who is

 24    Ms. Thal?     If you look at the first -- it's Page 2 of

 25    28.   There's a letter addressed to Ms. Thal.

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  1          A.   I don't know Ms. Thal.          She may have been,

  2    like, the procurement or supply chain person.

  3          Q.   Okay.

  4          A.   That's typically who those letters are

  5    addressed to.

  6          Q.   So, let's go to Page 5 of 28.            I just want to

  7    talk a little bit about the state of AEP systems as of

  8    July 2019.

  9          A.   (Witness complying.)

 10          Q.   So you see the first two paragraphs here.              The

 11    second sentence, Lucasys says, "Utilities typically

 12    undertake" -- well, you're talking about clean-up and

 13    reconstruction projects in the PowerTax depreciation and

 14    deferred tax modules.

 15                     Do you see that?

 16          A.   I see that, yes.

 17          Q.   All right.     And here you say, "Utilities

 18    typically undertake these projects every five to seven

 19    years as the underlying tax records become misaligned

 20    with gap transactions and the carried deferred income

 21    tax liabilities become more and more difficult to

 22    reconcile, to the PowerTax deferred tax sub-ledger."

 23                     Do you see that?

 24          A.   I do see that.

 25          Q.   So tell me, how is it -- why is that the

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  1    records become misaligned over time?

  2          A.   I think it's deficiencies in the software that

  3    allow for bad data stakes to exist.

  4          Q.   Okay.    Can you give me a specific example of

  5    why you think that occurs?

  6          A.   I mean, I see, even in this sentence,

  7    highlighting the misalignment of tax records with the

  8    gap transactions, so there's one example.

  9          Q.   And here you say, "AEP's maintenance of the

 10    PowerTax system has historically lagged its peers."

 11                     Do you see that?

 12          A.   I do see that.

 13          Q.   Okay.    And you say, "There was no meaningful

 14    data cleansing or standardization activities related to

 15    tax fixed assets having occurred since the initial

 16    implementation of PowerTax in 1999."

 17                     And so, as of this point in time, they had

 18    -- AEP had done nothing to clean or standardize its data

 19    in 20 years?

 20          A.   This was our understanding of AEP's state of

 21    the records --

 22          Q.   Okay.

 23          A.   -- at this time.

 24          Q.   And then you go on to talk about PowerTax

 25    software, right?

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  1                     Do you see that?

  2          A.   Where?    I'm sorry.

  3          Q.   The very next sentence.

  4          A.   Yes, I see that.

  5          Q.   All right.     And so you say, in part, here,

  6    "It's increasingly more difficult and risky to continue

  7    to utilize PowerTax software to support compliance

  8    accounting, forecasting, or inventory needs."

  9                     Do you see that?

 10          A.   Not yet.

 11          Q.   It's the last bit of the sentence.

 12          A.   (Witness examining document.)

 13                     Yes I see that.

 14          Q.   And so here, I mean, you were directly

 15    attacking power -- the PowerTax software, true?

 16                     MR. ALLOY:      Object to form.

 17                     You can answer.

 18                     THE WITNESS:       That's not correct.       I was

 19    commenting on the -- I think I even mentioned it earlier

 20    today, the macro changes in the industry.

 21    BY MR. FAZIO:

 22          Q.   Okay.    And At the time, in 2019, is it correct

 23    that AEP had not upgraded its PowerTax system since

 24    2014, 2015?

 25          A.   I don't know that.

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  1          Q.   Okay.    Do you know, sitting here today, what

  2    version of PowerTax AEP was using at the time that you

  3    wrote this?

  4          A.   I don't know.

  5          Q.   Okay.    And sir, you recognize that there are

  6    multiple version of PowerTax available currently, right?

  7          A.   I understand that PowerPlan puts version labels

  8    on their software.

  9          Q.   Okay.    And functionality changes over time,

 10    true?

 11          A.   It is the expectation of customers that

 12    functionality would change over time from person to

 13    person.

 14          Q.   And do you think it's not happened in the case

 15    of PowerTax?

 16          A.   I think it's been very minimal in the case of

 17    PowerTax.

 18          Q.   And what is it that you think PowerTax should

 19    be doing that it hasn't done to upgrade its software?

 20          A.   That's a great question.           You're putting me in

 21    the shoes of the five of us running PowerTax.               It's hard

 22    to say.    So the fact is that PowerTax was developed in a

 23    regulatory and legislative climate that was static,

 24    using technology and tools that were developed in the

 25    80s and 90s.     And as the utility industry evolved, both

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  1    the legislative and the regulatory climates, the rules,

  2    as well as the workforce, ever changing workforce, that

  3    model became less and less effective.                So how could

  4    PowerTax have -- I think it would have required

  5    significant focus and attention for them to meet those

  6    evolving needs.

  7          Q.   So in Lucasys' proposal, you were proposing

  8    both services and technology; is that correct?

  9          A.   Certainly we were proposing technology.              I'd

 10    have to refresh my recollection.

 11          Q.   Feel free to peruse.          I'm want to ask you about

 12    Page 13 in particular.

 13          A.   Yes.    I see some services on that page in

 14    particular.

 15          Q.   So on 13, there's a pricing summary.              And just

 16    to kind of cut to the quick here.              So you see there's a

 17    table that shows -- first of all, your proposal was for

 18                   , true?     Or Lucasys' proposal was for

 19                   ?

 20          A.   I think that number represents a fixed-price

 21    fee for the implementation or deployment of technology.

 22    I think there are other components, as we can see here

 23    on this page.

 24          Q.   Okay.    So, data standardization and cleansing,

 25    that was something that was going to need to happen

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  1    whether or not any technology was adopted, true?

  2            A.   I think it -- I think the scope depends on what

  3    technology was being adopted and where the data was

  4    going to reside.

  5            Q.   Okay.   And how does it depend on where the

  6    technology was being adopted or where it was going to

  7    reside?

  8            A.   Well, I think any time we're dealing with data,

  9    the final state of the data needs to, for lack of a

 10    better word, fit in the target system.                And so I think

 11    there's -- I think that cost can really depend on what

 12    the target system -- what it takes to standardize,

 13    cleanse, configure that data in a target system.

 14            Q.   So if they were to maintain their PowerPlan

 15    system, would -- is your view that the cost would have

 16    gone up or down from the                            that you proposed

 17    here?

 18          A.     I'm not sure that I know at this moment.            It's

 19    ban couple years.       It may have been -- I don't know.

 20                      MR. ALLOY:     You don't need to speculate if

 21    you don't know.

 22    BY MR. FAZIO:

 23          Q.     Yeah, if you don't know, I'm not --

 24          A.     Okay.

 25          Q.     So sir, the other focus areas -- so there's

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  1    automation, data reconciliation, interfaces, analytics,

  2    and forecasting.

  3          A.   Yes.

  4          Q.   So, explain to me, are those -- those are

  5    related to the implementation of the Lucasys technology?

  6          A.   I think the line items, if I recall, near or

  7    parallel areas of focus from the RFP itself, and so

  8    these are not -- so I guess what I'm saying is each

  9    individual line item may contain both costs related to

 10    implementing Lucasys technology as well as any cost that

 11    would have been needed anyway, I guess, if that makes

 12    sense.

 13          Q.   And this                    , do you have any sense as

 14    you sit here today -- and as Mr. Alloy correctly points

 15    out, I'm not asking you to speculate, but as you sit

 16    here today do you have any sense of how much of this

 17                    would have been devoted to development time

 18    for the technology itself, as distinct from

 19    implementation?

 20          A.   So, this cost represents the implementation

 21    cost only.     What -- what this does is gives us a

 22    stability to the business to then invest our existing

 23    cash resources into development.

 24          Q.   And so, just to make sure I understand, this

 25    proposal didn't include -- AEP was -- you were not

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  1    expecting AEP to fund directly the development of any

  2    Lucasys technology?

  3          A.   That's correct.

  4          Q.   Okay.    And so, did you -- at this time, when

  5    you put this proposal in -- I think we talked earlier

  6    that the Lucasys tax depreciation product was in the --

  7    was it -- we'll say a nascent stage.

  8          A.   (Nodding yes.)

  9          Q.   Did you put together any estimate or an

 10    estimate of what resources were going to be required to

 11    do the development that was going to be necessary to get

 12    the software to a place where it could be implemented?

 13          A.   I think we may have had internal conversations

 14    around it.     Certainly we were talking about what it

 15    would take to be ready to deliver on a project of this

 16    scale and scope, and I think this was about the time

 17    that Stephen had joined as our CTO, and so we were

 18    activity talking about what it would take from a

 19    resource standpoint.

 20          Q.   And it was your belief, as of July 2019, that

 21    you would have fully developed depreciation deferred --

 22    and deferred tax software ready for implementation by

 23    the conclusion of this project?

 24          A.   Oh, certainly.       Yes.

 25          Q.   Now, sir, the middle part of the page is

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  1    another table, and it says, "Lucasys is offering AEP an

  2    early adopter discount of the annual software

  3    subscription pricing."

  4                     Do you see that?

  5          A.   I do see that.

  6          Q.   Okay.    How is it that you determined what the

  7    price would -- the subscription fee would be for either

  8    tax depreciation or deferred tax?

  9          A.   So, with any new product, there's some period

 10    of time when -- I think it's called price discovery in

 11    the software space -- and so we understood that -- that

 12    we were in that phase, and so the pricing really was

 13    tied to the value that AEP could expect to receive from

 14    those solutions.

 15          Q.   Now, sir, you said that the revenue that would

 16    come from this project would have given Lucasys the

 17    stability it needed to complete the development of tax

 18    depreciation and deferred tax.

 19                     Did you ever consider getting -- just going

 20    out and getting financing so that you would have the

 21    stability to develop the products absent this type of

 22    product -- or project?

 23          A.   So this is enterprise software, and so we

 24    understand that our sales cycles are long and our

 25    purchase prices are high.          And we, both based on the

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  1    type of software we were creating as well as the

  2    industry we were pursuing did not feel like funding was

  3    the right fit.      So the alternative would have been

  4    consumer software for, you know, widgets or something

  5    that had a very wide market.           With a narrow market and a

  6    core niche, I should say, solution offering, we

  7    understood that we -- actually, like all of the other

  8    software built in the utility space, would need to work

  9    closely with utilities along the way to bring those

 10    products to market.

 11          Q.   Let's flip back to Page 11.

 12          A.   (Witness complying.)

 13          Q.   Do you see about a third of the way from the

 14    bottom there, there's a paragraph that starts, "Lucasys

 15    tax can interface with any upstream or downstream

 16    system"?

 17          A.   I'm sorry, I must be on the wrong page.

 18          Q.   It's 11 of 28.

 19          A.   Eleven?

 20          Q.   Yes.

 21          A.   (Witness examining document.)

 22                      Yes, I see that.

 23          Q.   All right.     Do you see the numbered list there?

 24          A.   Yes, I see that.

 25          Q.   Okay.    And so just in the interest of

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  1    completion here.       It says "Lucasys tax can interface

  2    with any upstream or downstream system that supports

  3    flat file integration in relational databases or open

  4    architecture.      For this focus area, Lucasys proposes to

  5    deploy the following interfaces."

  6                     When you say "interfaces," what do you mean

  7    by "interface"?

  8          A.   I think we mean the solution that's needed for

  9    exchange of data.

 10          Q.   Okay.    And under 1, it says, "PowerPlan assets

 11    to Lucasys tax," and it says, "Lucasys tax fully

 12    integrates to PowerPlan assets and pulls all relevant

 13    book costs, transaction types and basis bucket

 14    adjustments."

 15                     Do you see that?

 16          A.   I do see that.

 17          Q.   Okay.    So how was it that Lucasys tax was

 18    integrated into the PowerPlan assets?

 19          A.   Well, I think the statement above it makes that

 20    very clear, that because the solution that we had

 21    already begun building at that time supports flat file

 22    integration of any shape or form, that we could support

 23    data inputs from any system.

 24          Q.   And so you could create a system in which the

 25    PowerPlan assets could export its information to a flat

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  1    file, and then that flat file in turn could be uploaded

  2    into the Lucasys tax solution?

  3          A.   That's one option.

  4          Q.   What are the other options?              How else could you

  5    do it?

  6          A.   So, I see -- I see references to open

  7    architecture.      To the extent there's an open

  8    architecture and that's available to our customer, our

  9    customer's IT department could build whatever automated

 10    data extract is needed for Lucasys to ingest.

 11          Q.   And for that to work properly, they would need

 12    to know -- understand the data schema in the PowerPlan

 13    database, correct?

 14          A.   What would the customer need to know?

 15          Q.   Yeah.

 16          A.   Is that what you're asking?

 17          Q.   Or whoever was doing this work.              They'd need to

 18    understand where in the PowerPlan database to go to get

 19    the information, true?

 20          A.   I assume whoever was getting data from a

 21    database would need no know where to find that data.

 22          Q.   All right.

 23          A.   That's correct.

 24          Q.   Do you know how many tables there are in the

 25    database that supports the PowerPlan application?

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  1           A.   I don't know.

  2           Q.   Do you know if it's in the thousands?

  3           A.   I have no idea.

  4           Q.   And so let's just kind of tick down the list

  5    here.    "PowerPlan depreciation to Lucasys tax," and

  6    again, it says, "Fully integrates PowerPlan

  7    depreciation -- reconciliation diagnostics of book

  8    revenue and Lucasys tax compared to PowerPlan."

  9                     And so, again, the way the data would move,

 10    it's the same as what we were just discussing a moment

 11    ago?    It could be either a direct connection, it could

 12    be flat file?

 13           A.   Yeah, I just want to clarify that we would lean

 14    on the utility's IT department to drive the integration

 15    strategy.

 16           Q.   So in the course of setting up these

 17    interfaces, it was your view that it would be the -- the

 18    customer's IT department that would set up the

 19    integrations or the interfaces?            Or was that going to be

 20    something Lucasys did?

 21           A.   I think the customer's IT owns the access to

 22    whatever database the data is in.             I don't think it

 23    could have been done without -- I don't think it can be

 24    done without the IT department.

 25           Q.   Right.   Well, my question, though, is:           If they

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  1    gave Lucasys permission, did Lucasys intend to build

  2    those interfaces?

  3          A.   Again, typically, there's a design phase to a

  4    project that starts after the, you know, signature and

  5    those kind of questions are evaluated within the design

  6    phase, so unfortunately with this project, we weren't

  7    able to get to that point in the project.

  8          Q.   And sir, I think you may have answered this

  9    before, but with Lucasys tax and the depreciation

 10    product -- or let's start with Lucasys tax.              There's

 11    nothing -- I think you said earlier that there would be

 12    nothing that would go -- no output from Lucasys tax that

 13    would be required to go back into any PowerPlan product.

 14                     Did hear that correctly earlier?

 15          A.   Nothing is required to go back in.            I think

 16    that's a true statement.

 17          Q.   Okay.    Are there things that the customer would

 18    want to have pushed back into PowerPlan?

 19                     MR. ALLOY:      Objection, but you can answer.

 20                     THE WITNESS:       Yeah, I don't know.       I think

 21    it depends on that particular customer's requests.

 22    BY MR. FAZIO:

 23          Q.   And if you were reversing the flow of data and

 24    you were going from outside the PowerPlan system into

 25    it, could you use these same interface types to make

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  1    that happen?

  2          A.   So, I'm not sure.        So flat files would depends

  3    on the target system's ability to accept the flat files,

  4    and -- and anything more automated than that would

  5    depend on the IT department's rules and restrictions.

  6          Q.   Let's flip over to Page 9.

  7          A.   Page 9.

  8          Q.   Yes.

  9          A.   (Witness complying.)

 10          Q.   You see there's a section there entitled, "Risk

 11    mitigation"?

 12          A.   Yes, I see that.

 13          Q.   Okay.    In No. 2 there, it says, "Towards the

 14    culmination of the project, Lucasys will discuss with

 15    AEP its organizational readiness to adopt Lucasys tax

 16    depreciation and Lucasys deferred tax."

 17                      Do you see that?

 18          A.   I do see that.

 19          Q.   And so at the end of this project, where the

 20    customer was going to spend

 21    implementing the software, the risk mitigation that you

 22    were proposing at the end was that, you know, they just

 23    may not elect to use it?

 24          A.   So, this statement is stating that -- it's

 25    indicating that during the course of this project, we

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  1    would keep an alternative option available for AEP to

  2    continue to use the PowerTax system of -- and you can

  3    see that with the addition of the Lucasys Copilot if AEP

  4    made that decision.

  5          Q.   So why is it that you thought it was important

  6    to include that as a risk mitigation point?

  7          A.   Well, AEP had an understanding that we were an

  8    early technology company and that they were taking a --

  9    making a -- or would be making a business decision to --

 10    to adopt new technology, and so with that comes some

 11    operational risk, and so we -- you know, a project of

 12    this length, we wanted to make sure, like we do with any

 13    of our projects, that we give the most flexibility back

 14    to our customers that we can.

 15          Q.   All right.     And this was something from July of

 16    2019, true?     This was a document that was written in

 17    July of 2019?      If you look at the cover, it --

 18          A.   Yes, that looks correct.

 19          Q.   Now, the interrogatory responses, there were a

 20    number of references that Lucasys had quote/unquote won

 21    work from AEP.

 22                     Is this the work you were talking about

 23    having won?

 24          A.   This would have been part of the work that we

 25    would have won.

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  1          Q.   Okay.

  2          A.   That's correct.

  3          Q.   Well, I'm specifically asking you about -- if

  4    you go back to Exhibit 7, on pages -- it really starts

  5    at 5, and it continues on to 6 and 7.               Do you see, you

  6    say with respect to deferred tax and depreciation, "But

  7    for PowerPlan's actions Lucasys would have licensed

  8    deferred tax to AEP as a result of winning the bid to

  9    build a new tax asset solution."

 10                      See that?

 11          A.   I didn't catch the page, but I recall that

 12    language.

 13          Q.   It's 6.

 14          A.   Six.

 15          Q.   Second bullet point.

 16          A.   Okay.    Yes, I see that.

 17          Q.   All right.     And then you say it again in the

 18    next bullet point.

 19          A.   Yes.

 20          Q.   Do you see that?

 21          A.   Yes, I do.

 22          Q.   And so, my question, sir -- I just want to make

 23    sure I understand.       When you say you won the bid, was

 24    this the bid that you were talking about when you were

 25    responding to that interrogatory?             Or was there some

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  1    other -- was there another bid?

  2          A.   No, this -- this is the bid that we won.              I

  3    believe we won it right around the time that PowerPlan

  4    reached out to AEP.

  5          Q.   Okay.    And how is it that you learned that you

  6    won the bid?

  7          A.   We got a communication from procurement.              It

  8    may have been the person referenced in that letter.                   We

  9    got a communication that indicated that we were the

 10    finalists for the RFP, and then contemporaneously, we

 11    received communication from the tax department that we

 12    were the only finalists for the RFP.

 13          Q.   And how --

 14          A.   And --

 15          Q.   I'm sorry.

 16          A.   That was how we knew that we had won.

 17          Q.   Okay.    Who sent you that communication?

 18          A.   So --

 19          Q.   Or how did -- sorry.         First of all, what form

 20    did that communication come in?

 21          A.   I believe it was an e-mail from, was it

 22    Ms. Thal that was on the -- I believe that may have been

 23    the individual who sent us the e-mail.              And I believe we

 24    got a -- I'm remembering a text message from one of the

 25    leaders of the tax department.

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  1          Q.    Okay.   And what did the text message say?

  2          A.    Something to the effect of, You guys are the

  3    only finalists.      And I believe -- whether it was in that

  4    text message or in a subsequent conversation that based

  5    on the communications with PowerPlan, that there may be

  6    some scope changes.       We may be requested to submit

  7    another response based on AEP's internal decisions.

  8          Q.    Okay.   And do you still have that text message

  9    today?

 10          A.    I believe I shared it with the Lucasys team via

 11    Slack.     So I think it's probably in a company Slack

 12    message.

 13          Q.    Okay.

 14          A.    Yes.

 15          Q.    And who sent you that message?

 16          A.    My recollection is it was Kevin Keller.

 17          Q.    So there was a text message from Kevin Keller

 18    and then there was an e-mail, you believe, as well?

 19          A.    And I believe it was from Ms. Thal, yes.

 20    That's correct.

 21          Q.    And your recollection of that e-mail is that

 22    Ms. Thal told you that you were the only finalists?

 23          A.    My recollection is that she told us that we

 24    were a finalist, and that the text message from

 25    Mr. Keller told us that we were the only finalists.

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  1          Q.   Who was responsible for wording the work under

  2    that RFP?

  3          A.   I don't know.

  4                      (Exhibit 13 marked for identification.)

  5    BY MR. FAZIO:

  6          Q.   All right, you've been handed what's been

  7    marked as Exhibit 13.

  8          A.   (Witness examining document.)

  9          Q.   Do you recognize this document?

 10          A.   This appears to be or may have been the e-mail

 11    that I was recollecting from Ms. Thal.

 12          Q.   Okay.    So let's start on the page marked 23130.

 13    It's the last e-mail exchange.

 14          A.   Yes, I see it.

 15          Q.   The one that's the first e-mail in the chain?

 16          A.   Yes.

 17          Q.   And there, she says, "I'm reaching out because

 18    the team is interested in moving forward with Lucasys as

 19    a finalist in the tax fixed asset system RFP."

 20                      Do you see that?

 21          A.   I do see that.

 22          Q.   Okay.    And then it says, "Lucasys is

 23    interested, I'll be working with you to narrow down the

 24    scope of the project to accurately compare finalists in

 25    making a final selection."

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  1          A.   I see that.

  2          Q.   Okay.    So is this the e-mail that you were

  3    referring to a minute ago?

  4          A.   I think this is what I'm recalling, yes.

  5          Q.   Okay.    And then she says, "I want to" -- at the

  6    end, she says, "I want to thank you and the team for

  7    being patient while the team took time to get internal

  8    approvals and welcoming steps for this effort."

  9                     Let's flip over to the first page, and

 10    she's responding as an intervening -- an intervening

 11    note from you in which you express an interest in the

 12    RFP and, of course, feel free to read all of this, if

 13    you feel you need to.        But I want to direct your

 14    attention to the January 6, 2020, 3:11 p.m. Thal e-mail.

 15                     Are you there?

 16          A.   I am.

 17          Q.   Okay.    So second paragraph, do you see that?

 18    She says, "I understand Lucasys included software

 19    subscription in the original proposal."             She says, "Due

 20    to time and associated costs, the team is not interested

 21    in purchasing the software license at this time, but

 22    would like to better understand the costs associated

 23    with the technical services required for this effort."

 24                     Do you see that?

 25          A.   I see that.

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  1          Q.   Okay.    And then she goes on, "We have the

  2    finalists selected for the tax specific components of

  3    the project that are expected to take place after this

  4    technical portion."

  5          A.   I see that.

  6          Q.   Okay.    So can you -- first of all, help me

  7    understand, what was the difference between the tax

  8    specific component of the project and the technical

  9    portion of the project, if you recall.

 10          A.   I don't know exactly what -- what -- how she's

 11    delineating that in this e-mail.

 12          Q.   Okay.    And then in the next paragraph, she

 13    says, "To better understand the services required and

 14    evaluate the finalists, we're asking each of the

 15    finalists to draft a scope of work with the updated

 16    scope and fees."

 17                     Do you see that?

 18          A.   I do.    I think I'm recalling that there may

 19    have been parallel RFPs.

 20          Q.   Okay.

 21          A.   One set focused on technology and one focused

 22    on tax accounting.       And I think -- maybe I'm going back

 23    to your last question.        I apologize.          I think that's the

 24    -- that may be the differentiation she's touching on;

 25    tax specific versus technical.

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  1          Q.   Okay.

  2          A.   Yeah.

  3          Q.   And so the document we were looking at a moment

  4    ago, Lucasys's July 26, 2019, proposal, RFP response and

  5    contract pricing for the tax fixed asset system.                 Which

  6    of the components did that address?                 Was it one, the

  7    other, or both?

  8          A.   That would is have been just the -- I think

  9    what's labeled here as the technical portion.

 10          Q.   Okay.    Okay.    And so, you see here, she says,

 11    "Due to time and associated costs, the team is not

 12    interested in purchasing the software license at this

 13    time."

 14                     And so, has anyone from AEP ever told you

 15    that the reason that this -- well, strike that.

 16                     So you got your -- a text from Mr. Keller?

 17          A.   That's correct.

 18          Q.   And said -- that said you were a finalist.

 19    What -- after you received that, what -- did you get any

 20    more communications from Mr. Keller or anybody else at

 21    AEP's tax department about the July 2019 RFP submission

 22    that you made?

 23                     MR. ALLOY:      I think you might have

 24    misstated what the text said, right?

 25                     MR. FAZIO:      Oh.

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  1                     THE WITNESS:       Yeah, I can clarify.       Yeah,

  2    so Mr. Keller's text communicated to us that we were the

  3    only finalists.

  4                     And, I'm sorry, can you ask the question

  5    again?

  6    BY MR. FAZIO:

  7          Q.   It's getting late in the day.

  8          A.   Yeah.

  9          Q.   The question is:        Did anyone from AEP's tax

 10    department communicate with you about the state of the

 11    July 2019, RFP response that you made, after you were

 12    notified that you were the only finalists?

 13          A.   Yeah, so, the communication that we received,

 14    whether it was from the tax department or through the --

 15    through the subsequent narrowing of scope, I think, as

 16    this is talking about, was a request for a completely

 17    different type of project, not implementing any new

 18    technology, but only providing such services that could

 19    be done with AEP's existing technology footprint.

 20          Q.   Okay.    Do you have any reason to believe that

 21    the reason they made the change was due to anything

 22    other than the time and associated expense?

 23          A.   Oh, definitely.       So the new proposal that we

 24    gave them, my recollection was that it was at least the

 25    same or similar cost, so I believe AEP ended up

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  1    evaluating and pursuing a project of a similar or

  2    potentially greater cost than the original July RFP

  3    proposal.      Of course a different scope without the

  4    technology.

  5                         (Exhibit 14 marked for identification.)

  6    BY MR. FAZIO:

  7            Q.   Sir, you're being handed what's been marked as

  8    Exhibit 14.      I don't want to spend a ton of time on

  9    this, but I want to just confirm with you that this was

 10    the updated scope that we've been talking about for the

 11    last few minutes.

 12            A.   Yeah, and again, it was characterized as a

 13    scope reduction, but we can see that the final output of

 14    this updated RFP calls for a completely different

 15    technology solution.          So we at Lucasys evaluated this as

 16    a services project and responded to this RFP as such.

 17            Q.   Do you recall how much you bid in response to

 18    the scope that was requested in Exhibit 14?

 19            A.   I recall that it was at least                    .

 20          Q.     And was Lucasys awarded that work?

 21          A.     Not -- not at the time, or not -- not in the

 22    scope of that RFP.

 23          Q.     Okay.    Help me understand what you mean by

 24    that.

 25          A.     Subsequent to this time, AEP requested that

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  1    Lucasys provide a statement of work.                I think they

  2    called it a refreshed version of our response to this

  3    RFP, that came, maybe, years later, I don't know.                  At

  4    least a year or two later with some additional scope.

  5    And so -- saw that we were awarded a contract that

  6    wasn't the proposal that we gave to this updated

  7    January 2020 RFP.

  8          Q.   Okay.    And so the proposal that you provided in

  9    response to the January 2020 RFP, how much was that for,

 10    if you recall?

 11          A.   My recollection is that it was

 12

 13                      (Exhibit 15 marked for identification.)

 14    BY MR. FAZIO:

 15          Q.   All right.     Well, let's take a quick look at

 16    Exhibit 15.

 17          A.   Maybe we have that here.           15?

 18          Q.   Yes.

 19                      And if you look at Exhibit A to the

 20    contract --

 21          A.   (Witness complying.)

 22          Q.   -- this is a contract -- it's an initial

 23    contract routing notification of risk that's signed off

 24    by a series of folks from AEP, and then there's a -- it

 25    looks like a purchase order and then there's a statement

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  1    of work.    Statement of Work No. 2 for Lucasys.

  2          A.   (Witness examining document.)

  3          Q.   Take a look at the project scope on page 2130.

  4          A.   Yes, I see that.

  5          Q.   Okay.    Is this -- tell me, what was the work

  6    that you were going to be doing under Statement of Work

  7    No. 2?

  8          A.   So this is what we would call our standard

  9    services-type of work, where we help our customers keep

 10    the lights on, so to speak.           So these services would

 11    have included helping them navigate the tax department

 12    processes.     It looks like for tax year ending

 13    December 31, 2019, and year-end expiration for 2020.                  So

 14    this would have been kind of auxiliary resource

 15    augmentation for the tax department.

 16          Q.   Okay.    So this work was unrelated, essentially,

 17    to the request for proposal for the tax fixed asset

 18    system?

 19          A.   That's correct.

 20                     (Exhibit 16 marked for identification.)

 21    BY MR. FAZIO:

 22          Q.   You've been handed what's been marked as

 23    Exhibit 16.

 24          A.   (Witness examining document.)

 25          Q.   Can you identify that for the record for me,

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  1    sir?

  2           A.   This appears to be another purchase order or

  3    purchase release from AEP for services from the

  4    business.

  5           Q.   Okay.   Can you describe for me what it is that

  6    you were going to be doing in Statement of Work 3 -- or

  7    Lucasys was going to be doing?

  8           A.   This looks very similar to the previous

  9    document that we looked at.             It looks like the tax years

 10    may have incremented.          So this may be similar tax --

 11    this looks like it's similar services, but for the

 12    subsequent year.

 13           Q.   Okay.   Was this in addition to Statement of

 14    Work 2, or in place of?

 15           A.   No.   This looks like it's in addition to, so it

 16    governs the years following Statement of Work 2.

 17           Q.   Okay.

 18                      (Exhibit 17 marked for identification.)

 19    BY MR. FAZIO:

 20           Q.   Sir, you've been handed what's been marked as

 21    Exhibit 17.

 22           A.   (Witness examining document.)

 23                      Okay.

 24           Q.   Do you recognize this document?

 25           A.   (Witness examining document.)

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  1                      It appears to be another purchase order or

  2    purchase release from AEP for Lucasys.

  3          Q.   And I'll apologize in advance or the image

  4    quality on Statement of Work 4, but that's how we got

  5    it, so that's how I can give it to you.             Can you tell

  6    me, do you have a sense of what work it was that you

  7    were being asked to do by AEP, Statement of Work 4?

  8          A.   It's almost illegible, but let me do my best.

  9          Q.   If you look at the middle of the sheet, under

 10    "Project scope," it appears to say, "Lucasys shall

 11    provide advisory services with respect to increased

 12    federal income tax rate as further detailed in Exhibit

 13    A, the project plan."

 14          A.   Oh, yes.     I see that.

 15          Q.   Do you have understanding of what that was all

 16    about?

 17          A.   Yes.    That helps.      So, there was a point where

 18    AEP wanted to model some proposed federal income tax

 19    rate changes that had been proposed either formally or

 20    informally, either in congress or from the executive

 21    branch.

 22          Q.   Okay.    Did you complete that work?

 23          A.   My recollection is that we began that work and

 24    shortly thereafter the -- I think we began it, maybe, in

 25    December, and then January of that year, with the

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  1    mid-term elections, the congressional makeup shifted and

  2    the likelihood of a rate increase was not there.

  3          Q.    Okay.    And so the project stalled, essentially?

  4          A.    I think it was paused, pending whenever AEP was

  5    ready to pick it up.

  6                       (Exhibit 18 marked for identification.)

  7    BY MR. FAZIO:

  8          Q.    All right.     Sir, you've been handed what's been

  9    marked as Exhibit 18.

 10          A.    Yes.

 11          Q.    I think you referred to this -- you may have

 12    referred to this a few minutes ago.                  Can you explain to

 13    me what we are looking at?

 14          A.    Yes.    This is familiar.         So, this appears to be

 15    the -- let me just confirm here.              This appears to be the

 16    refreshed SOW requested by AEP that -- that began as

 17    that January 2020 proposal.            I don't think that was in

 18    the documents, but it was a refreshed version of the

 19    January 2020 proposal with additional scope identified

 20    by AEP.

 21          Q.    Now, sir, you see under "Fees and expenses"

 22    there?     It says, "Fixed fee cost for the scope of

 23    services is                          and is inclusive of any

 24    out-of-pocket expenses."

 25                       Do you see that?

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  1          A.   I do see that.

  2          Q.   So, sir, did this -- was this -- first of all,

  3    was this scope of work -- were you ever awarded this

  4    statement of work?

  5          A.   I believe there were revisions to the statement

  6    of work before it was awarded.

  7          Q.   Okay.    Well, tell me, has it been awarded to

  8    Lucasys at this point?

  9          A.   Again, not this exact one, but an iteration of

 10    this has been awarded to Lucasys.

 11          Q.   Okay.    And what was the value of that statement

 12    work?

 13          A.   I believe the revision that I recall was to

 14    remove the estimates related to out-of-pocket expenses

 15    and to instead invoices those as incurred outside of the

 16    fixed fee.     And so, yeah, I believe it was in the

 17    ballpark of                  , something to that effect.

 18          Q.   And what tasks is Lucasys going to be

 19    performing for that                       ?

 20          A.   Yeah, so -- quite a few.           Let's see, we don't

 21    have the project detail here.

 22          Q.   I can --

 23          A.   Yeah.

 24          Q.   I can help you out with that.

 25          A.   Okay.

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  1                      (Exhibit 19 marked for identification.)

  2    BY MR. FAZIO:

  3          Q.   Sir, you're being handed what's been marked as

  4    Exhibit 19.     And you'll see -- if you look at the last

  5    page of Exhibit 18 and the first page of Exhibit 19,

  6    you'll see they're consecutive Bates numbers.

  7          A.   Tell me again, I'm sorry, the last one of 18?

  8          Q.   Yeah, so just look at the back page.             You'll

  9    see that there's a number here?

 10          A.   I see that.

 11          Q.   And then --

 12          A.   Yes, I see that.

 13          Q.   -- they're sequential.

 14          A.   Yes.

 15          Q.   So tell me, what tasks was Lucasys going to be

 16    doing for this                     ?

 17          A.   We have quite a bit of pages.            Would you like

 18    me to read from the document?

 19          Q.   Well, I'd like you to give me an overview.

 20          A.   Okay.

 21          Q.   So, first of all -- well, I'll ask you some

 22    questions to make it easier.

 23                      So, does this, the scope of this project,

 24    include implementation of any Lucasys software product?

 25          A.   In the project that was awarded, it does.              I

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  1    don't know which version I'm looking at here.

  2          Q.   Okay.    And what products are going to be

  3    implemented?

  4          A.

  5          Q.

  6          A.

  7          Q.

  8

  9          A.

 10          Q.   Okay.    When did you learn that it was being

 11    awarded to Lucasys?

 12          A.   It would have been late 2021.

 13          Q.   Okay.    And how did you learn?

 14          A.   I think we received a -- one of these contract

 15    routing slips from AEP.

 16          Q.   Okay.    And so what's the timeline on which

 17    Lucasys is expected to provide these services?

 18          A.   My recollection is that AEP wasn't ready to

 19    begin in January, as we -- as kind of this calendar

 20    indicates, and so my recollection is that we started in

 21    February of this year, 2022, and I believe -- I don't

 22    know exactly what this proposal is, but our current

 23    progress indicates that we would complete the services

 24    around the first quarter of next year.

 25          Q.   Okay.    And so you'll be invoicing AEP

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  1    approximately                            a month from now -- from

  2    the beginning of the project until its completion the

  3    first quarter of next year?

  4          A.   That's not correct.

  5          Q.   Okay.

  6          A.   So maybe I gave you the wrong number, but our

  7    monthly invoice is around

  8          Q.             ?

  9          A.   Yes.

 10          Q.   Okay.    Do you know, did anybody else bid on

 11    that work?

 12          A.   I don't know.       I should say that I know that to

 13    the extent this was a continuation of the work that was

 14    done or the RFPs that came before there were other bids,

 15    back to the July 2019 RFP, there were other bids that

 16    would have, perhaps, been similar in nature to this one.

 17    My understanding is that -- yeah, that there were

 18    multiple bids at some point.            I just don't know if it

 19    happened --

 20          Q.   So, I asked you about --

 21          A.   I am --

 22          Q.   -- I'm sorry.

 23                      I asked you about software implementation.

 24    In broad strokes, can you kind of give me the general

 25    overview of what it is that you're doing on the services

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  1    side for -- in the scope of this --

  2          A.   Yeah.

  3          Q.   -- RFP that you were recently awarded?

  4          A.   Yeah.    So in broad strokes, we are taking a

  5    holistic analysis of AEP's processes with regard to tax

  6    fixed assets, and that includes the compliance

  7    processes; tax depreciation as well as the tax

  8    accounting processes, including deferred taxes.               It

  9    includes the requirements for external reporting and

 10    regulatory reporting.

 11                     As you may know, AEP has a lot of

 12    subsidiary companies.        I think it's, like, 100-plus.

 13    Most of those are regulated entities.               And so there's

 14    quite a bit of data as well.           So in addition to kind of

 15    the process, understanding, establishing processes for

 16    AEP, there's a significant portion related to

 17    remediating data for each of those subsidiary companies.

 18                     So, the project also, of course, includes

 19    knowledge, transfer, and training for AEP on the newly

 20    configured data.       It includes testing around the newly

 21    configured data, and some kind of deployment back into

 22    AEP's, kind of, live data set of the configured data.

 23          Q.   Okay.    Other than the large RFP that we've been

 24    talking about, do you have any other current projects

 25    underway with AEP?

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  1            A.   We do.

  2            Q.   Okay.    What are those projects?

  3            A.   We have a project that's similar in nature to

  4    some of the SOWs we looked at here today, but for the

  5    current year, to provide resource augmentation for AEP.

  6    We have another set of SOWs that -- for which we have

  7    not begun services yet, but related to specific

  8    transactions that AEP is entering into with its

  9    subsidiary companies, so buying and selling assets,

 10    things like that.

 11            Q.   In total, do you have an estimate of how much

 12    you expect that you're going to generate in revenue from

 13    your AEP relationship in 2022?

 14            A.   So, it would be the --

 15                                                           , probably.

 16          Q.     In terms of other work streams that you have

 17    going at Lucasys right now, what are your other -- do

 18    you have any other major products that are underway for

 19    other customers?

 20          A.     I don't believe that we do.             I think we have

 21    some minor projects, but nothing major.

 22          Q.     Do you anticipate hiring any new employees in

 23    2022?

 24          A.     So, since this dispute arose and there was

 25    uncertainty to our business model, we primarily

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  1    leveraged contractors to augment our ability to provide

  2    solutions, and so -- yeah.          So that's -- where and when

  3    we need additional resources, they're likely to come in

  4    that form.

  5          Q.   Sir, I want to switch gears a little bit and

  6    talk about SUEZ, the SUEZ situation.

  7                     Were you -- have you -- were you personally

  8    involved in the delivery of services to SUEZ in the past

  9    couple years?

 10          A.   Not in any major way.

 11          Q.   Okay.

 12          A.   I don't believe so.

 13          Q.   How many hours, approximately, do you think

 14    you've spent on SUEZ-related projects in the last two

 15    years?

 16          A.   I don't know even how to estimate that.

 17          Q.   Would you say it's 5 percent of your time, 10

 18    percent of your time?

 19          A.   I think I've played a minor role in our SUEZ

 20    engagements.

 21          Q.   Okay.

 22          A.   I don't know exactly.

 23          Q.   Let me ask you, who is the person at Lucasys

 24    who has responsibility, primary responsibility, for the

 25    SUEZ engagement?       Or had primary responsibility?

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  1          A.   So, we had a number of engagements with SUEZ.

  2    I think you'd have to be more specific.

  3          Q.   Okay.    Well we'll start filing through them.

  4          A.   Okay.

  5          Q.   Now, sir, we talked earlier about discussions

  6    that you had with Mr. Salas -- is it Salas or Salas?

  7          A.   I say Salas, but I don't know.           I could be

  8    wrong.

  9          Q.   Do you say it to him or --

 10          A.   I don't say it to him.

 11          Q.   All right.     Well, the transcript will -- it

 12    will be pronounced correctly in the transcript, so.

 13                     You mentioned that he had recounted a

 14    conversation that he alledgedly had with some

 15    representatives of PowerPlan.

 16                     Do you recall that there was a point in

 17    time when you had a meeting with outside counsel for

 18    SUEZ?

 19          A.   I remember a meeting with internal counsel of

 20    SUEZ.

 21          Q.   Okay.    Let me --

 22                     (Exhibit 20 marked for identification.)

 23    BY MR. FAZIO:

 24          Q.   We'll get to -- well, let's get to Exhibit 20

 25    in just a second, but before we get there, tell me about

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  1    this call that you had with internal counsel from SUEZ.

  2                     When did that occur?

  3          A.   I think it's the same conversation that I

  4    described before, where Mr. Salas had described the

  5    substance of his conversations with the PowerPlan

  6    representatives.

  7          Q.   Okay.    And so in-house counsel was on that

  8    call?

  9          A.   That's my recollection.

 10          Q.   Okay.    Have you ever had any other

 11    conversations with SUEZ representatives where in-house

 12    counsel was on the call?

 13          A.   I don't recall.       I don't recall.       I think I --

 14    okay.    So, I think I made a courtesy call to Mr. Salas,

 15    I believe, when we filed the litigation to let them know

 16    that we had done that.

 17          Q.   Okay and what did you tell him about that?

 18          A.   Just that we had done that.

 19          Q.   Okay.    Anything else?

 20          A.   No.

 21          Q.   Okay.    Did you direct him to the docket?

 22          A.   I don't believe so.

 23          Q.   Did you provide him a copy of the Complaint?

 24          A.   I don't believe so.

 25          Q.   Okay.    Have you provided anybody a copy of the

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  1    Complaint?     Any third parties?

  2          A.   I believe there may have been customers who

  3    have asked me for those, and I've either -- I don't

  4    believe I've ever provided the Complaint, but I may have

  5    shared, like, a link, like a web link to the Complaint.

  6          Q.   So if a customer calls you and asks you about

  7    the litigation, what do you say to them?

  8          A.   I let them know that I can't talk about it and

  9    that they should look to whatever information's in the

 10    public record.

 11          Q.   Have you ever had any conversations with any

 12    third party, meaning anyone outside -- not your counsel,

 13    not your co-workers, not your wife -- any other kind of

 14    third party about the litigation?

 15          A.   I think as part of -- well, so, what I recall

 16    is that as we were evaluating -- yeah, I recall having

 17    conversations, for example, with -- with Mr. Jason Cohen

 18    or a conversation asking him if he'd be comfortable to

 19    speak to our lawyers.

 20          Q.   Okay.    That was in advance of his deposition?

 21          A.   It must have been.         I think it was -- yeah, I

 22    don't know when, but it was a long time ago.

 23          Q.   It was the purpose of making that introduction

 24    to see if he would sit for a deposition, or was there a

 25    different purpose?

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  1          A.   I think the purpose was just to educate our

  2    counsel, and then I think any decisions that came from

  3    that were made by counsel.

  4          Q.   Okay.    All right.      So Jason Cohen.      Any others?

  5          A.   I think I had a similar conversation with

  6    Jonathan Williams and Josh Herschel of RCC.

  7          Q.   Uh-huh.     And that was concerning the

  8    deposition?

  9          A.   I think it was a courtesy conversation to let

 10    them know that they would be deposed in this case.                I

 11    think that's correct.

 12          Q.   So what did you say to them?

 13          A.   Just that, that unfortunately, you will be

 14    deposed in this case.

 15          Q.   Okay.    And did they react to that?

 16          A.   I don't recall any reaction at all.

 17          Q.   Has Mr. Williams ever expressed to you any

 18    views about the litigation?

 19          A.   He has not.

 20          Q.   All right.     So let's look at Exhibit 20.

 21          A.   (Witness examining document.)

 22          Q.   Do you recognize this documents?

 23          A.   I can see it's an e-mail that was forwarded to

 24    me.

 25          Q.   Okay.    Did you -- so it's a -- so this is --

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  1    the bottom e-mail is from Brian Brockway.

  2          A.   Yes.

  3          Q.   Do you see that?

  4          A.   Yes.

  5          Q.   And it's addressed to your colleagues at

  6    Lucasys, Daniel and Lou.         It says -- he says, "Hi, I

  7    hope you're doing well" -- and it -- the bottom line in

  8    this is they were trying to set up a call with outside

  9    legal counsel.

 10                      Do you see that in the middle of the e-mail

 11    exchange?

 12          A.   (Witness examining document.)

 13                      I see that.      Including internal and

 14    external legal counsel.

 15          Q.   Yeah.

 16          A.   Yeah, I see that.

 17          Q.   First of all, did you participate in -- first

 18    of all, did a call with outside counsel happen?

 19          A.   I don't recall if outside counsel was on, like,

 20    the conversation that I'm thinking or --

 21          Q.   Okay.

 22          A.   -- or if there was another conversation.              I

 23    don't recall.

 24          Q.   Well, down below, it says, "Would it be

 25    possible to set up a call with Lucasys with me, on the

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  1    call, to ask them some questions.             It would be helpful

  2    to find out more from them about how they may have used

  3    any PowerPlan information accessed through SUEZ."

  4          A.   Yes.

  5          Q.   Right?

  6          A.   I see that.

  7          Q.   So do you recall being on the call where that

  8    topic was discussed?

  9          A.   I think we got that question from Michael Salas

 10    and internal counsel.        I think largely -- and really

 11    every -- every company where PowerPlan made these

 12    allegations to the extent that companies didn't

 13    immediately terminate our contract, wanted to understand

 14    what the risk profile was and what we're doing for that

 15    company.

 16          Q.   Okay.    So you don't recall ever being on a

 17    conversation with outside counsel?

 18          A.   It may have occurred, I just don't recall right

 19    at this moment.

 20          Q.   Did anyone from SUEZ ever explain to you or

 21    provide to you an explanation as to what they were

 22    saying to PowerPlan about the situation?

 23          A.   I don't think anybody ever told us any

 24    specifics.     We understood that SUEZ was in communication

 25    with PowerPlan.      We knew that there was some kind of

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  1    back and forth, so we understood -- we understood that

  2    there was communication back.           But at the time, we

  3    didn't know what that was.          I think subsequent to that,

  4    through the discovery, we maybe have seen more of that

  5    or learned some more.

  6          Q.   So you -- during while these conversations were

  7    actually going on, you never actually saw any of the

  8    letters that PowerPlan actually sent out to any of these

  9    customers?

 10          A.   I believe that's correct, yeah.

 11          Q.   No customer ever just sent it on to you and

 12    said, Hey, what's your response to this?

 13          A.   I don't think so.        I think I would remember

 14    something like that.

 15                     (Exhibit 21 marked for identification.)

 16    BY MR. FAZIO:

 17          Q.   I'm handing you what's been marked as

 18    Exhibit 21.

 19          A.   (Witness examining document.)

 20          Q.   Just briefly -- I wanted you to take a look at

 21    this.    It's a meeting invite that was forwarded to you.

 22    The initial is -- was dated -- sent on June 25, 2020, at

 23    7:20 a.m.     It's asking -- it says, "Daniel" -- it's from

 24    Mr. Brockway -- "Daniel could you please forward to

 25    Ladine."

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  1                      Do you see that?

  2          A.   I see that, yes.

  3          Q.   Okay.    Does this refresh your recollection

  4    about being on a call with outside counsel June of 2020?

  5          A.   I -- I -- I don't recall.           I see I marked it as

  6    tentative.     I may have been, but I don't recall.

  7          Q.   Okay.    Have you ever spoken with -- so there's

  8    a Dennis Hopkins from Perkins Coie here.

  9                      Do you see that?

 10          A.   I see that.

 11          Q.   Okay.    Have you ever spoken to Mr. Hopkins, to

 12    your knowledge?

 13          A.   I don't recall.       I do recall -- I think I

 14    recall looking him up online.           Maybe it was when I got

 15    this -- I recall looking up that name --

 16          Q.   Uh-huh.

 17          A.   -- but I don't recall having a conversation

 18    with him, I don't believe.

 19          Q.   And there's an Adrienne Payson?

 20          A.   Yes.    Adrienne Payson is their internal --

 21    chief legal, chief officer.

 22          Q.   What's Mr. Brockway's position?

 23          A.   I don't know for certain.           I understand he was

 24    involved with one of the projects that we were

 25    delivering for SUEZ.

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  1          Q.   Sir, we talked earlier about the conversation

  2    that you had with Mr. Salas and Rali.               His actual name

  3    escapes me right at the moment.

  4          A.   Uh-huh.

  5          Q.   We talked about that earlier.             Other than that

  6    conversation, was there -- did you have any other

  7    communications with anybody at SUEZ about the statements

  8    that were allegedly made by PowerPlan concerning

  9    Lucasys?

 10                     We talked about your -- and I'm excluding

 11    the conversation you had with in-house counsel, and

 12    obviously we talked a little bit about the

 13    Brian Brockway communications, but I just want to know

 14    from you:     Are there any other communications that

 15    you've had with anybody from SUEZ concerning that topic?

 16                     MR. ALLOY:      Can you state the topic again?

 17                     MR. FAZIO:      The topic is the alleged

 18    defamatory statements by PowerPlan.

 19                     THE WITNESS:       I may have been in

 20    conversations with Rali.         I don't know if Rali was on

 21    your list.

 22    BY MR. FAZIO:

 23          Q.   Uh-huh.

 24          A.   I don't recall specifically.             I know I spoke

 25    with Mr. Salas specifically, and with Ms. Payson, but I

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  1    may have spoken with Rali or been part of a conversation

  2    with Rali.     I don't recall that.

  3          Q.   Okay.    And in broad strokes, can you describe

  4    for me the work that was being performed as part of this

  5    project that was ongoing at SUEZ?

  6          A.   I think we had multiple concurrent projects --

  7          Q.   Okay.

  8          A.   -- at this time.

  9          Q.   You're not going to make me go through all

 10    these statements of work, are you?

 11          A.   Well, I just don't recall.               I recall that there

 12    was more than one.

 13          Q.   Yeah.

 14          A.   I recall -- yeah, I just -- I'm not sure if I

 15    recall the -- we've had a number of engagements --

 16          Q.   All right.

 17          A.   -- with SUEZ.

 18                     MR. FAZIO:      Can we take ten minutes so I

 19    can get organized?

 20                     MR. ALLOY:      Yeah.

 21                     MR. FAZIO:      Go off the record.

 22                     THE VIDEOGRAPHER:         Off the record at

 23    4:19 p.m.

 24                     (Off the record.)

 25                     THE VIDEOGRAPHER:         Back on the record at

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  1    4:36 p.m.

  2    BY MR. FAZIO:

  3          Q.   All right, sir.       So let's switch gears a little

  4    bit and talk a little bit about NextEra.

  5                     (Exhibit 22 marked for identification.)

  6    BY MR. FAZIO:

  7          Q.   Sir, I'm handing you what's been marked as

  8    Exhibit 22.

  9          A.   (Witness examining document.)

 10          Q.   Can you identify this for me, sir?

 11          A.   This appears to be a statement of work between

 12    Lucasys and NextEra.

 13          Q.   Okay.    So, sir, I just wanted -- in summary

 14    fashion, I want to talk about the work streams that are

 15    listed in the project scope to help me understand what

 16    it was, specifically, that you'd been engaged to do and

 17    what work was actually performed, okay?

 18                     So on the first page here, you see

 19    Work Stream 1.      It says, "Configuration of PowerTax

 20    deferred tax module for NHT," comma, "Loan Star," comma,

 21    "NER Pipelines."

 22                     Do you see that?

 23          A.   I do.

 24          Q.   Okay.    So can you explain to me what was --

 25    work was required in that stream?

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  1                     And if it's helpful for you, just for

  2    reference, on Page 2 there's a little more detailed

  3    summary.

  4          A.   Okay.    Was the question related to any

  5    particular work stream?

  6          Q.   Work Stream 1.

  7          A.   Work Stream 1.       Okay.

  8          Q.   We'll go in order.

  9          A.   Okay.    Yeah, this appears to be a configuration

 10    of NextEra's records on a couple of subsidiaries for the

 11    computation of deferred taxes.

 12          Q.   Okay.    Now, when you say "configuration of the

 13    data," what, specifically, are you doing in that

 14    process?

 15          A.   So, typically, that would be applying

 16    accounting rules or business rules to -- to the data.

 17          Q.   Okay.    So can you give me a specific example of

 18    what would be done in that process, just as an

 19    illustration?

 20          A.   Yeah, so an example of that may be -- so, I can

 21    look at these companies and recognize that at least one

 22    of them, New Hampshire Transmission, is a transmission

 23    company.    I understand that transmission companies are

 24    regulated by the FERC, and so that means that the tax

 25    accounting treatment for fixed assets for that company

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  1    needs to follow the FERC rules related to the way those

  2    tax costs are shared intergenerationally with rate

  3    payers.    And so it would have been applying those FERC

  4    rules, tax normalization rules, sometimes they're

  5    called, to that company's records.

  6          Q.   Okay.    Let's talk about Work Stream 2.

  7    "Assistance with PowerTax transfers interface."

  8                     What was that?

  9          A.   So, my recollection is that this work stream

 10    was really a problem brought to us by NextEra.               They

 11    were struggling with a custom interface between, I

 12    think, SAP and their tax depreciation records in

 13    PowerTax.     And I believe -- my recollection is that

 14    during, kind of, the discovery and scoping that we

 15    proposed to -- rather than modify that custom interface,

 16    to instead put that process in the Copilot software.

 17          Q.   Okay.    And did you complete Work Stream 2?

 18          A.   I'm sorry?

 19          Q.   Did you complete Work Stream 2, do you recall?

 20          A.   Yes, in that we proposed a solution, but not in

 21    terms of the final proposed solution being deferred to a

 22    later work stream.

 23          Q.   Okay.

 24          A.   Yeah.

 25          Q.   Work Stream 3, "Federal and State tax books"?

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  1          A.   Yes.    That would have been an exercise to align

  2    the records, tax fixed asset records or tax depreciation

  3    computations between two different taxing -- tax

  4    jurisdictions.      So the federal jurisdiction represents

  5    the IRS rules and State, of course, may represent any

  6    particular state's tax rules for fixed asset recovery.

  7          Q.   Okay.    Work Stream 4, "Configuration of excess

  8    ADIT, amortization for FPL"?

  9          A.   So, I don't recall in detail, and I'm kind of

 10    flipping through to see if there's more.             Certainly I

 11    understand the words there.           Excess ADIT would have been

 12    accumulated deferred income taxes in excess of the

 13    statutory requirement under the Tax Cuts and Jobs Act,

 14    TCJA, and so that excess accumulated deferred income tax

 15    position has some amortization life that is governed

 16    both by IRS rules as well as Public Utility Commission

 17    orders.    So, presumably, that would have been applying

 18    those, either IRS rules, or if it was Florida Power &

 19    Light, Florida PUC rules to those values.

 20          Q.   Okay.    Then Work Stream 5, "B&A to PowerTax

 21    migration," what was that all about?

 22          A.   So, as I recall, at the time that we had been

 23    engaged on this project, NextEra was utilizing both

 24    PowerTax and B&A in its non-regulated business or

 25    combination of those two systems.             They had certain

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  1    requirements, I believe, related to the way tax equity

  2    partnerships are treated, that weren't able to be met

  3    with the PowerTax solution, and so they were using kind

  4    of this hybrid dual solution and tracking those assets

  5    for the tax computation simultaneously in two solutions,

  6    and as part of Work Stream 5, I believe we were

  7    consolidating those computations back into the PowerTax

  8    solution while also deploying the Copilot solution to

  9    meet the additional unique requirements for which they

 10    had needed to use B&A.

 11          Q.   Sir, do you recall which of these work streams

 12    were completed when NextEra terminated the agreement?

 13          A.   I know for certain that Work Stream 5 was not

 14    completed, because that was the work stream that

 15    included the Copilot software.            I don't recall with

 16    certainty regarding the other work streams.              I believe

 17    that many of them were completed, or at least some of

 18    them were completed at that time.

 19          Q.   And sir, if you look on Page 3, you'll see --

 20    0.5 -- well, let's start at 0.4.             It says, "The

 21    following business requirements cannot be met with FDL's

 22    existing software solutions.           Lucasys will provide

 23    custom scripts to facilitate these processes.               Lucasys

 24    will also configure these requirements within Lucasys

 25    Copilot produce and offer it to NextEra as an optional

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  1    subscription.      These requirements will be delivered as

  2    part of Work Stream 5, B&A to PowerTax conversion."

  3                      Do you see that?

  4          A.   Yes.

  5          Q.   And then, 0.5 below says, "The use of Lucasys

  6    Copilot will be subject to the Lucasys software

  7    subscription agreement."         That's Point A.       Point B was

  8    that, "Lucasys Copilot subscription charge will be

  9    waived for all NextEra users until 12/31/2020."

 10                      Do you see that?

 11          A.   I do.

 12          Q.   Why were you waiving the subscription charge

 13    for NextEra uses until 12/31/2020?

 14          A.   I don't have the full project schedule, but my

 15    recollection is that -- that the project -- we would

 16    have been completing the project in 2020, and so we were

 17    beginning, or proposed to begin, the subscription with a

 18    full calendar year.

 19          Q.   Okay.

 20                      (Exhibit 23 marked for identification.)

 21    BY MR. FAZIO:

 22          Q.   Sir, I'm handing you what has been marked as

 23    Exhibit 23.

 24          A.   (Witness examining document.)

 25          Q.   Sir, this refers to Work Stream 6.

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  1                     Do you see that?

  2          A.   I do.

  3          Q.   Well, first of all, just for the record, this

  4    is a statement of work.         It's unnumbered.       It's Lucasys

  5    RPD 0086581.

  6                     Can you tell me what this document is?

  7          A.   I believe I recall, concurrent with the

  8    existing project, there were a number of requests for

  9    additional kind of scope increases, if you will, and

 10    some of those were incorporated with the change order to

 11    the original statement of work, in particular, related

 12    to Copilot, and others were contracted separately.                And

 13    I believe this is what it represents, is that separate

 14    contract.     And I believe that that was because it was

 15    contracted through a separate subsidiary at NextEra, is

 16    my recollection.

 17          Q.   Was this work actually performed, do you

 18    recall?

 19          A.   I believe it was.

 20          Q.   Sir, I want to ask you to take a step back for

 21    a minute and tell me:        What is it that you want out of

 22    this litigation?

 23                     MR. ALLOY:      You?     That "you" issue.

 24    BY MR. FAZIO:

 25          Q.   Lucasys.     What does Lucasys's want --

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  1          A.   -- what does Lucasys want?

  2          Q.   -- out of this litigation?

  3          A.   Our goals have, from the very beginning, been

  4    to preserve our business.          I think I had mentioned

  5    before that we began this litigation because we really

  6    had no other choice.        It was a binary choice for us;

  7    either lose the last one or two customers that we had at

  8    the time, or seek help from the courts to resolve.                Now,

  9    since that time, we now know much more about PowerPlan's

 10    actions and their impact on our ability to provide

 11    technology solutions as well as services in this market,

 12    and so we're still evaluating what that means for us as

 13    a business.

 14                     We just know that as a business we can't

 15    operate the same way that we did, you know, prior to

 16    this litigation with the risk of PowerPlan's statements

 17    being made into the market.

 18          Q.   Sir, are you aware of any statement about

 19    Lucasys that's been made, quote/unquote, to the market

 20    since the beginning of 2020 -- or the beginning of 2021?

 21          A.   We believe that this litigation has been an

 22    effective deterrent to keep PowerPlan from making those

 23    statements to the market.

 24          Q.   Well, my question to you was not whether this

 25    litigation was an effective deterrent.              My question to

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  1    you was:    Are you aware of any statements that have been

  2    made since 2021?

  3          A.   We have not been made aware of any statements,

  4    to my knowledge or recollection, since 2021.

  5          Q.   And are you aware of PowerPlan taking -- taking

  6    the position that it would take action against a client

  7    or one of their customers if it worked with Lucasys?

  8    Are you aware of that, that happening any time since

  9    mid-2020 or before?

 10                     MR. ALLOY:      I'm sorry, can you say that one

 11    more time?

 12    BY MR. FAZIO:

 13          Q.   So, are you aware of PowerPlan saying to any

 14    client that they would take action against the client?

 15    I mean, you told us about, I think, one or two --

 16          A.   Uh-huh.

 17          Q.   -- conversations had.          Other than the ones that

 18    you have already told us about, are you aware of any

 19    other situation where PowerPlan said to a client,

 20    allegedly said to a client, that it would take action

 21    against the client if they used Lucasys?

 22          A.   We haven't detected that PowerPlan's position

 23    has changed.     Just because they haven't made that

 24    statement to a client while this dispute is pending, we

 25    have no indication that they wouldn't as soon as there

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  1    was not litigation.

  2          Q.   Okay.    It's fair to say that you're speculating

  3    as to what PowerPlan would do?

  4          A.   Well, I would say that based on our experience

  5    when we tried to go through a voluntary process with

  6    PowerPlan during which time they agreed not to make

  7    statements for that brief period of time, as soon as

  8    that process ended, within days or perhaps hours, they

  9    were making statements, so, my statement was based on

 10    the -- the actions that we've seen.

 11          Q.   Sir, do you think that PowerPlan has the right

 12    to protect its intellectual property?

 13                     MR. ALLOY:      Objection.

 14                     You can answer.

 15                     THE WITNESS:       I believe that a technology

 16    company generally should have the right to protect

 17    legitimate intellectual property interests subject to

 18    the requirements of law.

 19    BY MR. FAZIO:

 20          Q.   And can reasonable people disagree about what

 21    those interests are?

 22          A.   I believe that intellectual property is defined

 23    by law.    I could be wrong about that, but certainly

 24    trade secrets are.

 25          Q.   So, sir, is there anything other than -- have

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  1    you told me about all of the anti -- the allegedly

  2    anticompetitive acts that you think PowerPlan engaged

  3    vis-à-vis Lucasys in the course of our conversation

  4    today?

  5          A.   Could you repeat the question?           I'm sorry.

  6          Q.   I said, have you told me about all of the

  7    alledgedly anticompetitive acts that you believe

  8    PowerPlan engaged in against Lucasys during the course

  9    of our conversation today?

 10          A.   I'm not sure you've specifically asked me about

 11    anticompetitive acts.        I think we've been looking at

 12    individual conversations and things like that.

 13          Q.   Okay.    Are there anticompetitive acts that you

 14    think PowerPlan has engaged in against Lucasys that we

 15    haven't talked about today?

 16          A.   So, I think broadly -- I think PowerPlan has

 17    shown a willingness and eagerness to use the shield of

 18    protecting purported trade secrets or confidential

 19    information to restrict competition in the various

 20    markets that it operates in.

 21          Q.   And we talked about that today.           Is there

 22    anything else that you view that -- you view as

 23    anticompetitive that you think that PowerPlan has been

 24    engaged in?     That we haven't talked about today already.

 25                     I just want to make sure I know everything

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  1    that you're going to say down the road about what you

  2    think PowerPlan has done to wrong Lucasys?

  3          A.   Well, I think the substance of the

  4    conversations we've had today is enough to put Lucasys

  5    out of business, so I think I haven't even explored what

  6    else PowerPlan may or may not have done.             I just

  7    understand that the risk of just the fraction of items

  8    that we've talked about risks our whole business.

  9          Q.   Well, I'm asking about specific conduct of

 10    PowerPlan.     We've talked about -- you've told me about

 11    some of these sort of general issues.

 12          A.   Uh-huh.

 13          Q.   But I want to make sure that I know every

 14    specific incidence of conduct that you will claim as

 15    anticompetitive down the road so I know exactly what it

 16    is.

 17          A.   I don't know if I can give you every instance.

 18    I know, for example, that during the discovery process,

 19    we've learned of additional instances of anticompetitive

 20    behavior.

 21          Q.   Okay.

 22          A.   But I don't know what other --

 23          Q.   Well, tell me --

 24          A.   -- instances might be.

 25          Q.   -- about those.

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  1          A.   Well, I think we touched on a couple of them.

  2    I think we touched on the AVA agreement, that we saw as

  3    a tool in PowerPlan's war chest, so to speak, to prevent

  4    competitors from emerging from the services market.

  5                     I think we touched on, or at least alluded

  6    to, the communication campaign by PowerPlan as a

  7    company, and its executives, to preclude Lucasys

  8    specifically from the utility market in the U.S.

  9                     So those are two things that come to mind

 10    that were not known to us at the time we filed the

 11    initial Complaint, but have come to light since.

 12          Q.   Anything else?

 13          A.   I -- there may be others, and I'd have to maybe

 14    refresh.    I know we filed an amended complaint recently

 15    in this dispute.       I might have to refresh my

 16    recollection, but there may be others --

 17          Q.   Okay.

 18          A.   -- I'm not recalling at this moment.

 19          Q.   But as you sit here today, you've told me about

 20    everything that you know of?

 21          A.   Like I said, I think we've -- we've -- what

 22    we've known as of the amended Complaint, we've put in

 23    the amended Complaint, and we understand that -- or I

 24    understand that the discovery process is continuing.

 25          Q.   All right.

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  1                     MR. FAZIO:      That's all I have for now.

  2                     MR. ALLOY:      Thanks.      I don't have anything.

  3                     THE VIDEOGRAPHER:         All right.    This

  4    concludes the video-recorded deposition.             We're off the

  5    record at 4:58 p.m.

  6                     (Off the record.)

  7                     (Whereupon, proceedings were concluded at

  8    4:58 p.m.)

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  1                           CERTIFICATE OF REPORTER

  2

  3                     STATE OF GEORGIA)

  4                                           )

  5                     COUNTY OF DEKALB)

  6

  7                       I, TAMIKA M. BURNETTE, hereby certify

  8    that the foregoing proceedings were taken before me at

  9    the time and place therein designated; that a review of

 10    the transcript was not requested, and that the foregoing

 11    pages numbered 1 through 241 are a true and correct

 12    record of the aforesaid proceedings.

 13                           I further certify that I am not a

 14    relative, employee, attorney or counsel of any of the

 15    parties, nor am I a relative or employee of any of the

 16    parties' attorneys or counsel connected with the action,

 17    nor am I financially interested in the action.

 18

 19                       DATED this 22nd day of July, 2022.

 20                     __________________________________

 21                                 TAMIKA M. BURNETTE

 22                       CERTIFIED COURT REPORTER, RPR, CSR-2870

 23

 24

 25

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  1                       COURT REPORTER DISCLOSURE

  2

  3                       Pursuant to Article 10.B of the Rules and

  4    Regulations of the Board of Court Reporting of the

  5    Judicial Council of Georgia which states:              "Each court

  6    reporter shall tender a disclosure form at the time of

  7    the taking of the deposition stating the arrangements

  8    made for the reporting services of the certified court

  9    reporter, by the court reporter's employer, or the

 10    referral source for the deposition, with any party to

 11    the litigation, counsel to the parties or other entity.

 12    Such form shall be attached to the deposition

 13    transcript."     I make the following disclosure:

 14                       I am a Georgia Certified Court Reporter.

 15    I am here as a representative of TrustPoint.One.

 16    TrustPoint.One contacted to provide court reporting

 17    services for the deposition.           TrustPoint.One will not be

 18    taking this deposition under any contract that is

 19    prohibited by O.C.G.A. 91128 (c).

 20                     TrustPoint.One as no contract/agreement to

 21    provide court reporting services with any party to the

 22    case, any counsel in the case, or any reporter or

 23    reporting agency from whom a referral might have been

 24    made to cover this deposition.            TrustPoint.One will

 25    charge its usual and customary rates to all parties in

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  1    the case, and a financial discount will not be given to

  2    any party to this litigation.

  3

  4

  5

  6                                 Tamika M. Burnette, RPR, CCR2870.

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           Notice Date: 07/22/2022

           Deposition Date: 7/14/2022

           Deponent: Vadim Lantukh

           Case Name: Lucasys Inc. v. Powerplan, Inc.

           Page:Line             Now Reads                 Should Read

           ______ ________________________ ___________________

           ______ ________________________ ___________________

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                             CERTIFICATE OF DEPONENT

           I hereby certify that I have read and examined the

           foregoing transcript, and the same is a true and

           accurate record of the testimony given by me.

           Any additions or corrections that I feel are

           necessary, I will attach on a separate sheet of

           paper to the original transcript.



                               _________________________

                               Signature of Deponent

           I hereby certify that the individual representing

           himself/herself to be the above-named individual,

           appeared before me this _____ day of ____________,

           20__, and executed the above certificate in my

           presence.



                             ________________________


                             NOTARY PUBLIC IN AND FOR



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